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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF PUERTO RICO


MUNICIPALITY OF ARROYO,
PUERTO RICO

                Plaintiff
           v.

PURDUE PHARMA L.P., PURDUE PHARMA INC., THE
PURDUE FREDERICK COMPANY, INC., TEVA
PHARMACEUTICALS USA, INC., CEPHALON, INC.,
JOHNSON & JOHNSON, JANSSEN PHARMACEUTICALS,          CIVIL ACTION NO. ______
INC., NORAMCO, INC., ORTHO-McNEIL-JANSSEN
PHARMACEUTICALS, INC. N/K/A JANSSEN
PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICA, INC. N/K/A JANSSEN
PHARMACEUTICALS, INC., ENDO HEALTH SOLUTIONS
INC., ENDO PHARMACEUTICALS, INC., McKESSON
CORPORATION, CARDINAL HEALTH, INC.,                     COMPLAINT
AMERISOURCEBERGEN DRUG CORPORATION,
RICHARD S. SACKLER, JONATHAN D. SACKLER,
MORTIMER D.A. SACKLER, KATHE A. SACKLER,
ILENE SACKLER LEFCOURT, BEVERLY SACKLER,
THERESA SACKLER, DAVID A. SACKLER, RHODES
TECHNOLOGIES, RHODES TECHNOLOGIES, INC.,
RHODES PHARMACEUTICALS L.P, RHODES
PHARMACEUTICALS, INC., TRUST FOR THE BENEFIT
OF MEMBERS OF THE RAYMOND SACKLER FAMILY,
THE P.F. LABORATORIES, INC., STUART D. BAKER,
ALLERGAN PLC f/k/a ACTAVIS PLC, ALLERGEN
FINANCE, LLC f/k/a ACTAVIS, Inc. f/k/a WATSON
PHARMACEUTICALS, INC., WATSON LABORATORIES,
INC., ACTAVIS, LLC, ACTAVIS PHARMA, INC. f/k/a
WATSON PHARMA, INC., PAR PHARMACEUTICAL,             JURY TRIAL DEMANDED
INC., PAR PHARMACEUTICALS COMPANIES, INC.,
MALLINCKRODT PLC, MALLINCKRODT LLC, SPECGX
LLC, ANDA, INC., INSYS THERAPEUTICS, INC., H.D.
SMITH WHOLESALE DRUG COMPANY, MIAMI-LUKEN,
INC., AND OTHER CORPORATIONS ABC AND 1-100,

                Defendants.



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                                       COMPLAINT FOR DAMAGES AND
                                  FOR THE ABATEMENT OF PUBLIC NUISANCE

           Plaintiff, the Municipality of Arroyo, by and through the undersigned attorneys, for its

Complaint against Defendants assert two categories of claims:

           a.          claims against the pharmaceutical manufacturers of prescription opioid drugs that
                       engaged in a massive false marketing campaign to drastically expand the market
                       for such drugs and their own market share; and

           b.          claims against entities in the supply chain that reaped enormous financial rewards
                       by failing to monitor and restrict the improper distribution of those drugs.


INTRODUCTION

           1.          This case arises from the worst man-made epidemic in modern medical history—

the misuse, abuse, and over-prescription of opioids.1 America’s largest drug companies saturated

the country with 76 billion oxycodone and hydrocodone pain pills from 2006 through 2012 as

the nation’s deadliest drug epidemic spun out of control.2 The recently released DEA pain pill

database reveals what the companies knew about the number of pills it was shipping and

dispensing and precisely when they were aware of those volumes, year by year, town by town. In

case after case, the companies allowed the drugs to reach the streets of communities large and

small, despite persistent red flags that those pills were being sold in apparent violation of federal

law and diverted to the black market.




1
  Unless otherwise indicated, as used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.
2
  The Washington Post “Drilling into the DEA Pain Pill Database” July 20, 2019
https://www.washingtonpost.com/graphics/2019/investigations/dea-pain-pill-database/?utm_term=.ee941c36ebe1




                                                                                                                                                     2
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             2.          Americans are more likely to die from accidental opioid overdoses today than

from car crashes, according to a study released in January of 2019 from the National Safety

Council.3




             3.          The opioid crisis arose from pharmaceutical manufacturers’ deliberately deceptive

marketing strategy to expand opioid use, together with pharmaceutical distributors’ equally

deliberate efforts to evade restrictions on opioid distribution. Manufacturers and distributors

alike acted without regard for the lives that would be trammeled in pursuit of profit.

             4.          Since the push to expand prescription opioid use began in the late 1990s, the

death toll has steadily climbed, with no sign of slowing. The number of opioid overdoses in the

United States rose from 8,000 in 1999 to over 20,000 in 2009, and over 33,000 in 2015. In the

twelve months that ended in September 2017, opioid overdoses claimed 45,000 lives.




3
    https://injuryfacts.nsc.org/all-injuries/preventable-death-overview/odds-of-dying/

                                                                                                         3
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       5.      From 1999 through 2016, overdoses killed more than 350,000 Americans. Over

200,000 of them—more than were killed in the Vietnam War—died from opioids prescribed by

doctors to treat pain. These opioids include brand-name prescription medications such as

OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as well as generics like oxycodone,

hydrocodone, and fentanyl.

       6.      Most of the overdoses from non-prescription opioids are also directly related to

prescription pills. Many opioid users, having become addicted to but no longer able to obtain

prescription opioids, have turned to heroin. According to the American Society of Addiction

Medicine, 80% of people who initiated heroin use in the past decade started with prescription

opioids—which, at the molecular level and in their effect, closely resemble heroin. In fact,

people who are addicted to prescription opioids are 40 times more likely to become addicted to

heroin, and the Centers for Disease Control and Prevention (“CDC”) identifies addiction to

prescription opioids as the strongest risk factor for heroin addiction.

       7.      As a result, in part, of the proliferation of opioid pharmaceuticals between the late

1990s and 2015, the life expectancy for Americans decreased for the first time in recorded

history. Drug overdoses are now the leading cause of death for Americans under 50.

       8.      In the words of Robert Anderson, who oversees death statistics at the CDC:



                 “I don’t think we’ve ever seen anything like this.
                         Certainly not in modern times.”

       9.      On October 27, 2017, the President declared the opioid epidemic a public health

emergency.

       10.     This suit takes aim at the two primary causes of the opioid crisis:




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       a.      a marketing scheme involving the false and deceptive marketing of prescription
               opioids, which was designed to dramatically increase the demand for and sale of
               opioids and opioid prescriptions; and

       b.      a supply chain scheme, pursuant to which the various entities in the supply chain
               failed to design and operate systems to identify suspicious orders of prescription
               opioids, maintain effective controls against diversion, and halt suspicious orders
               when they were identified, thereby contributing to the oversupply of such drugs
               and fueling an illegal secondary market.

       11.     On the marketing side, the crisis was precipitated by the Defendants who

manufacture, sell, and market prescription opioid painkillers (defined below as “Manufacturer

Defendants”). Through a massive marketing campaign premised on false and incomplete

information, the Manufacturer Defendants engineered a dramatic shift in how and when opioids

are prescribed by the medical community and used by patients. The Manufacturer Defendants

relentlessly and methodically, but untruthfully, asserted that the risk of addiction was low when

opioids were used to treat chronic pain, and overstated the benefits and trivialized the risk of the

long-term use of opioids.

       12.     The Manufacturer Defendants’ goal was simple: to dramatically increase sales by

convincing doctors to prescribe opioids not only for the kind of severe pain associated with

cancer or short-term post-operative pain, but also for common chronic pains, such as back pain

and arthritis. They did this even though they knew that opioids were addictive and subject to

abuse, and that their other claims regarding the risks, benefits, and superiority of opioids for

long-term use were untrue and unfounded.

       13.     The Manufacturer Defendants’ push to increase opioid sales worked. Through

their publications and websites, endless stream of sales representatives, “education” programs,

and other means, Manufacturer Defendants dramatically increased their sales of prescription

opioids and reaped billions of dollars of profit as a result. Since 1999, the amount of prescription




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opioids sold in the U.S. nearly quadrupled. In 2016, 289 million prescriptions for opioids were

filled in the U.S.—enough to medicate every adult in America around the clock for a month.

       14.     Meanwhile, the Defendants made blockbuster profits. In 2012 alone, opioids

generated $8 billion in revenue for drug companies. By 2015, sales of opioids grew to

approximately $9.6 billion.

       15.     On the supply side, the crisis was fueled and sustained by those involved in the

supply chain of opioids, including manufacturers, distributors, and pharmacies, who failed to

maintain effective controls over the distribution of prescription opioids, and who instead have

actively sought to evade such controls. These defendants have contributed substantially to the

opioid crisis by selling and distributing far greater quantities of prescription opioids than they

know could be necessary for legitimate medical uses, while failing to report, and to take steps to

halt suspicious orders when they were identified, thereby exacerbating the oversupply of such

drugs and fueling an illegal secondary market.

       16.     From the day they made the pills to the day those pills were consumed in our

community, Manufacturer Defendants had control over the information regarding addiction they

chose to spread and emphasize as part of their massive marketing campaign. By providing

misleading information to doctors about addiction being rare and opioids being safe even in high

doses, then pressuring doctors into prescribing their products by arguing, among other things,

that no one should be in pain, Manufacturer Defendants created a population of addicted patients

who sought opioids at never-before-seen rates. The scheme worked, and through it the

Manufacturer Defendants caused their profits to soar as more and more people became

dependent on opioids. Today, as many as 1 in 4 patients who receive prescription opioids long-

term for chronic pain in a primary care setting struggles with addiction. And as of 2017,




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overdose death rates involving prescription opioids were five times higher than they were in

1999.

        17.    As millions of people became addicted to opioids, “pill mills,” self-styled as “pain

clinics,” sprouted nationwide and rogue prescribers stepped in to supply prescriptions for non-

medical use. These pill mills, typically under the auspices of licensed medical professionals,

issue high volumes of opioid prescriptions under the guise of medical treatment. Prescription

opioid pill mills and rogue prescribers cannot channel opioids for illicit use without the

negligence, willful blindness, or knowing support of those in the supply chain.

        18.    As a direct and foreseeable result of Defendants’ conduct, cities and counties

across the nation, including Plaintiff, are now swept up in what the CDC has called a “public

health epidemic” and what the U.S. Surgeon General has deemed an “urgent health crisis.” The

increased volume of opioid prescribing correlates directly to skyrocketing addiction, overdose,

and death; black markets for diverted prescription opioids; and a concomitant rise in heroin and

fentanyl abuse by individuals who could no longer legally acquire—or simply could not afford—

prescription opioids.

        19.    Thus, rather than compassionately helping patients in pain, this explosion in

opioid use—and Defendants’ enrichment—has come at the expense of patients and Plaintiff and

has caused ongoing harm and damages to Plaintiff. As the CDC director concluded in 2014:




“We know of no other medication routinely used for a nonfatal condition
                  that kills patients so frequently.”

        20.    Defendants’ conduct has had severe and far-reaching public health, social

services, and criminal justice consequences, including the fueling of addiction and overdose from


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illicit drugs such as heroin. The costs are borne directly by Plaintiff and other governmental

entities. These necessary and costly responses to the opioid crisis include, but are not limited to,

the handling of emergency responses to overdoses, providing addiction treatment, handling

opioid-related investigations, arrests, adjudications, and incarceration, treating opioid-addicted

newborns in neonatal intensive care units, burying the dead, and placing of children in foster

care.

        21.     The burdens imposed on Plaintiff are not the normal or typical burdens of

government programs and services. Rather, these are extraordinary costs and losses that are

directly caused by Defendants’ illegal actions. Defendants’ conduct has created a public nuisance

and a blight. Governmental entities, and the services they provide their citizens, have been

strained to the breaking point by this public health crisis.

        22.     Defendants have not changed their ways or corrected their past misconduct but

instead are continuing to fuel the crisis.

        23.     Within the next hour, six Americans will die from opioid overdoses; two babies

will be born dependent on opioids and begin to go through withdrawal; and drug manufacturers

will earn over $2.7 million from the sale of opioids. The Defendants have built addiction into

their business model.

        24.     And at the OxyContin launch party in the mid-nineties, top Purdue figurehead

Richard Sackler spoke of a “blizzard of prescriptions” for the potent painkiller, and added:




                               “The prescription blizzard
                         will be so deep, dense, and white…..”




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       25.     Over the next 20 years, the Sacklers made Richard’s boast come true. They

created a manmade disaster which has buried children and parents and grandparents across

Puerto Rico, and the burials continue.

       26.     The Plaintiff seeks a judgment requiring all Defendants to pay restitution,

damages, including multipliers of damages, disgorgement, civil penalties, attorney’s fees, costs,

and expenses, injunctive relief, and any other relief to which the Plaintiff may be entitled.

       27.     Plaintiff files this suit to bring the devastating march of this epidemic to a halt and

to hold Defendants responsible for the harm for which they are to blame.

JURISDICTION AND VENUE

       28.     This Complaint was filed as an original action in this District.

       29.     This voluntarily discloses the data necessary to identify with specificity the

transactions which will form the evidentiary basis for the claims asserted herein.

       30.     This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a), because the Plaintiff is a “citizen” of the Commonwealth of Puerto Rico and the named

Defendants are citizens of different states, and the amount in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs.

       31.     This Court has personal jurisdiction over Defendants because they conduct

business in the Commonwealth, purposefully direct or directed their actions toward the

Commonwealth, some or all consented to be sued in the Commonwealth by registering an agent

for service of process, they consensually submitted to the jurisdiction of the Commonwealth

when obtaining a manufacturer or distributor license, and because they have the requisite

minimum contacts with the Commonwealth necessary to constitutionally permit the Court to

exercise jurisdiction.




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          32.   This Court also has personal jurisdiction over all of the defendants under 18

U.S.C. 1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants

where the “ends of justice” require national service and Plaintiff demonstrates national contacts.

Here, the interests of justice require that Plaintiff be allowed to bring all members of the

nationwide RICO enterprise before the court in a single trial.

          33.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C.

§1965, because a substantial part of the events or omissions giving rise to the claim occurred in

this District and each Defendant transacted affairs and conducted activity that gave rise to the

claim of relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

PARTIES

I.        PLAINTIFF

          34.   Plaintiff, the Municipality of Arroyo, is a governmental entity that was formed as

a municipality within the Commonwealth of Puerto Rico in accordance with the laws of the

Commonwealth of Puerto Rico. Plaintiff is authorized to bring the causes of action brought

herein.

          35.   Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity and

mortality has created a serious public health and safety crisis, and is a public nuisance, and that

the diversion of legally produced controlled substances into the illicit market causes or

contributes to this public nuisance.

          36.   The distribution and diversion of opioids into Puerto Rico (“the

Commonwealth”), and into the municipality and surrounding areas (collectively, “Plaintiff’s

community”), created the foreseeable opioid crisis and opioid public nuisance for which Plaintiff

here seeks relief.




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        37.      Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief.

Categories of past and continuing sustained damages include, inter alia,:



              a. costs for providing medical care, additional therapeutic, and prescription drug
                 purchases, and other treatments for patients suffering from opioid-related
                 addiction or disease, including overdoses and deaths;

              b. costs for providing treatment, counseling, and rehabilitation services;

              c. costs for providing treatment of infants born with opioid-related medical
                 conditions;

              d. costs associated with law enforcement and public safety relating to the opioid
                 epidemic;

              e. the costs of treating babies born addicted and diagnosed with Neonatal
                 Abstinence Syndrome, and

              f. costs associated with providing care for children whose parents suffer from
                 opioid-related disability or incapacitation.


        38.      These damages have been suffered, and continue to be suffered directly, by the

Plaintiff.


        39.      Plaintiff also seeks the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct.

        40.      Plaintiff has standing to recover damages incurred as a result of Defendants’

actions and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia,

to bring claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons”

include entities which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have

standing).




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II.     DEFENDANTS

        A.      Manufacturer Defendants

        41.     As used herein, the term “Manufacturer Defendants” includes the Defendants

identified in this Section II(A).

        42.     At all relevant times, Manufacturer Defendants have manufactured, packaged,

distributed, supplied, sold, placed into the stream of commerce, labeled, described, marketed,

advertised, promoted, and purported to warn or purported to inform prescribers and users

regarding the benefits and risks associated with the use of the prescription opioid drugs. In

addition, the Manufacturer Defendants, at all times, have manufactured and sold prescription

opioids without fulfilling their legal duty to prevent diversion and report suspicious orders.

                1.      Purdue

        43.     Defendant Purdue Pharma L.P. (“PPLP”) is a limited partnership organized

under the laws of Delaware with its principal place of business in Stamford, Connecticut.

        44.     Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its

principal place of business in Stamford, Connecticut. It is the general partner of PPLP.

        45.     Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York

corporation with its principal place of business in Stamford, Connecticut.

        46.     Defendant Rhodes Technologies (“Rhodes Tech”) is a Delaware general

partnership formed on April 12, 2005 with its principal place of business in Coventry, R.I.

        47.     Defendant Rhodes Technologies Inc. (“Rhodes Tech Inc.”) is a Delaware

corporation formed January 28, 1999 with its principal place of business in Coventry, R.I.

Rhodes Tech Inc. is a general partner of Rhodes Tech.




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       48.     Defendant Rhodes Pharmaceuticals L.P. (“Rhodes Pharma”) is a Delaware

limited partnership formed November 9, 2007 with its principal place of business in Coventry,

R.I.

       49.     Defendant Rhodes Pharmaceuticals Inc. (“Rhodes Pharma Inc.”) is a New York

corporation formed on November 9, 2007. Rhodes Pharma Inc. is a general partner of Rhodes

Pharma.

       50.     Defendant The P.F. Laboratories, Inc. (“PF Labs”) is a New Jersey corporation

with its principal place of business located in Totowa, New Jersey.

       51.     PPLP, PPI, PFC, Rhodes Tech, Rhodes Tech Inc., Rhodes Pharma, Rhodes

Pharma Inc., and PF Labs are collectively referred to herein as “Purdue.”

       52.     Purdue Pharma, L.P. is licensed by the Puerto Rico Department of Health to

operate as a drug manufacturer and distributor. The Purdue Frederick Company is registered with

the Puerto Rico Secretary of State to do business in Puerto Rico.

       53.     At all relevant times, Purdue has been beneficially owned, managed, and

controlled by the families of Mortimer Sackler and Raymond Sackler, both of whom are now

deceased.

       54.     Defendant Richard S. Sackler is a natural person residing in Travis County,

Texas. He is a son of Raymond Sackler and, beginning in the 1990’s, served as a member of the

board of directors of Purdue and Purdue-related entities.

       55.     Defendant Jonathan D. Sackler is a natural person residing in Fairfield County,

Connecticut. He is a son of Raymond Sackler and has been a member of the board of directors of

Purdue and Purdue-related entities since the 1990s.




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       56.     Defendant Mortimer D.A. Sackler is a natural person residing in New York

County, New York. He is the son of Mortimer Sackler and has been a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       57.     Defendant Kathe A. Sackler is a natural person residing in Fairfield County,

Connecticut. She is the daughter of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       58.     Defendant Ilene Sackler Lefcourt is a natural person residing in New York

County, New York. She is the daughter of Mortimer Sackler and has served as a member of the

board of directors of Purdue and Purdue-related entities since the 1990s.

       59.     Defendant Beverly Sackler is a natural person residing in Fairfield County,

Connecticut. She is the widow of Raymond Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       60.     Defendant Theresa Sackler is a natural person residing in New York County,

New York. She is the widow of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       61.     Defendant David A. Sackler is a natural person residing in New York County,

New York. He is the son of Richard Sackler (and the grandson of Raymond Sackler) and has

served as a member of the board of directors of Purdue and Purdue-related entities since 2012.

       62.     Defendant Trust for the Benefit of Members of the Raymond Sackler Family

(the “Raymond Sackler Trust”) is a trust of which Defendants Beverly Sackler, Richard S.

Sackler, and/or Jonathan D. Sackler are trustees. It is the 50% direct or indirect beneficial owner

of Purdue and the Purdue-related entities and the recipient of 50% of the profits from the sale of

opioids by Purdue and Purdue-related entities.




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           63.        Defendant Stuart D. Baker is a natural person residing in Suffolk County, New

York. He has served as a senior executive of, and/or counsel to, Purdue, Purdue-related entities,

and members of the Sackler families since the 1990s.

           64.        Purdue engaged in the manufacture, promotion, distribution, and sale of opioids

nationally and in the Commonwealth of Illinois, including McLean County and surrounding

areas (collectively, “Plaintiff’s Community”), including branded and generic versions of the

following:

Purdue Opioids

    Drug Name                  Chemical Name                                                                 Schedule4

    OxyContin                  Oxycodone hydrochloride extended release                                      Schedule II

    MS Contin                  Morphine sulfate extended release                                             Schedule II

    Dilaudid                   Hydromorphone hydrochloride                                                   Schedule II

    Dilaudid-HP                Hydromorphone hydrochloride                                                   Schedule II

    Butrans                    Byprenorpine                                                                  Schedule III

    Hysingla ER                Hydrocodone bitrate                                                           Schedule II
                               Oxycodone hydrochloride and naloxone
    Targiniq ER                hydrochloride                                                                 Schedule II


           65.        OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national

annual sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-fold

from 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for




4
 Since passage of the Controlled Substances Act (“CSA”) in 1970, opioids have been regulated as controlled substances. As controlled
substances, they are categorized in five schedules, ranked in order of their potential for abuse, with Schedule I being the most dangerous. The
CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their medicinal value, likelihood of addiction or abuse, and
safety. Opioids generally had been categorized as Schedule II or Schedule III drugs. Schedule II drugs have a high potential for abuse, have a
currently accepted medical use, and may lead to severe psychological or physical dependence. Schedule III drugs are deemed to have a lower
potential for abuse, but their abuse still may lead to moderate or low physical dependence or high psychological dependence.

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analgesic drugs (i.e., painkillers). OxyContin went from a mere $49 million in its first full year

on the market to $1.6 billion in 2002.

       66.     In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the Unites States $635 million – at the time, one of the largest

settlements with a drug company for marketing misconduct. At the same time, Purdue executive

officers Michael Friedman (the CEO), Howard Udell (Vice President and General Counsel), and

Paul Goldenheim (Chief Medical Officer) pleaded guilty to criminal charges that they let Purdue

deceive doctors and patients about its opioids. Pursuant to its settlement, Purdue operated under a

Corporate Integrity Agreement with the Office of the Inspector General of the U.S. Department

of Health and Human Services, which required the company and its officers and directors, inter

alia, to ensure that its marketing was fair and accurate, and to monitor and report on its

compliance with the Agreement. None of this stopped Purdue. In fact, Purdue continued to create

the false perception that opioids were safe and effective for long term use, even after being

caught, by using unbranded marketing methods to circumvent the system. In short, despite the

criminal convictions and the fine, Purdue continued to deceptively market and sell billions of

dollars of opioids each year.

       67.     Purdue made thousands of payments to physicians nationwide, including in

Illinois, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

       68.     Each of Richard S. Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler, Kathe

A. Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A. Sackler,

Raymond Sackler Trust (through its trustees), and Stuart D. Baker (collectively “Purdue-Related




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Additional Defendants”) knowingly directed, aided, abetted, participated in, and benefitted from

the wrongdoing of Purdue alleged herein.

               2.      Actavis

       69.     Defendant Allergan PLC (f/k/a Actavis plc) is a public limited company

incorporated in Ireland with its principal place of business in Dublin, Ireland. Actavis plc

acquired Allergan plc in March 2015, and the combined company changed its name to Allergan

plc in June 2015. Prior to that, Watson Pharmaceuticals, Inc. acquired Actavis, Inc. in October

2012; the combined company changed its name to Actavis, Inc. in January 2013 and then to

Actavis plc in October 2013.

       70.     Shares of Allergan plc are traded on the New York Stock Exchange (symbol:

AGN). In its most recent Form 10-K filed with the SEC, Allergan plc stated that it does business

in the U.S. through its US Specialized Therapeutics and US General Medicine segments, which

generated nearly 80 percent of the company’s $15.8 billion in net revenue during the year ended

December 31, 2018. Allergan plc regularly conducts business in Illinois.

       71.     Each of these defendants and entities is owned by Defendant Allergan PLC,

which uses them to market and sell its drugs in the United States. Collectively, these Defendants

and entities are referred to as “Actavis.”

       72.     Actavis manufactures or has manufactured the following drugs as well as generic

versions of Kadian, Duragesic, and Opana nationally and in Plaintiff’s Community, including the

following:

Actavis Opioids

    Product Name        Chemical Name                                             Schedule

    Kadian              Morphine sulfate, extended release                        Schedule II

    Norco               Hydrocodone bitartate and acetaminophen                   Schedule II


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         73.   Actavis made thousands of payments to physicians nationwide, including in

Illinois, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

               3.      Cephalon

         74.   Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Whales, Illinois. Teva USA was in the

business of selling generic opioids, including a generic form of OxyContin from 2005 to 2009.

Teva USA is a wholly-owned subsidiary of Defendant Teva Pharmaceutical Industries, Ltd.

(“Teva Ltd.”), an Israeli corporation (collectively “Teva”).

         75.   Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

         76.   Teva USA and Cephalon, Inc. (collectively, “Cephalon”) work together to

manufacture, promote, distribute and sell both brand name and generic versions of opioids

nationally and in Plaintiff’s Community, including the following:

Cephalon Opioids

 Drug Name                        Chemical Name                     Schedule

 Actiq                            Fentanyl citrate                  Schedule II

 Fentora                          Fentanyl citrate                  Schedule II


         77.   Teva USA was in the business of selling generic opioids, including a generic form

of OxyContin beginning in 2005 nationally and in Plaintiff’s Community.




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       78.      From 2000 forward, Cephalon has made thousands of payments to physicians

nationwide, including in Illinois, ostensibly for activities including participating on speakers’

bureaus, providing consulting services, assisting in post-marketing safety surveillance and other

services, many of whom were not oncologists and did not treat cancer pain, but in fact to

deceptively promote and maximize the use of opioids.

       79.      Teva Pharmaceuticals USA, Inc. is registered with the Puerto Rico Secretary of

State to do business in Puerto Rico. Teva USA is licensed by the Puerto Rico Department of

Health to distribute prescription drugs and controlled substances at its facilities in Arroyo, Puerto

Rico. Teva USA is a wholly owned subsidiary of Teva Ltd. Teva USA acquired Cephalon in

October 2011.

                4.     Janssen

       80.      Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

       81.      Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is an

Illinois corporation with its principal place of business in Titusville, New Jersey, and is a wholly-

owned subsidiary of J&J. Janssen Pharmaceuticals was formerly known as Ortho-McNeil-

Janssen Pharmaceuticals, Inc., which in turn was formerly known as Janssen Pharmaceutica, Inc.

       82.      Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital.

       83.      Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now known

as Janssen Pharmaceuticals, Inc., is an Illinois corporation with its principal place of business in

Titusville, New Jersey.




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             84.        Defendant Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now known

as Janssen Pharmaceuticals, Inc., is an Illinois corporation with its principal place of business in

Titusville, New Jersey.

             85.        J&J, Janssen Pharmaceuticals, Noramco, OMP, and Janssen Pharmaceutica

(collectively, “Janssen”) are or have been engaged in the manufacture, promotion, distribution,

and sale of opioids nationally and in Plaintiff’s Community. Among the drugs Janssen

manufactures or manufactured are branded and generic versions of the following:



Janssen Opioids

    Drug Name                            Chemical Name                                  Schedule

    Duragesic                            Fentanyl                                       Schedule II

    Nucynta5                             Tapentadol extended release                    Schedule II

    Nucynta ER                           Tapentadol                                     Schedule II


             86.        Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014.

Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.

             87.        Janssen, like many other companies, has a corporate code of conduct, which

clarifies the organization’s mission, values and principles. Janssen’s employees are required to

read, understand and follow its Code of Conduct for Health Care Compliance. J&J imposes this

code of conduct on Janssen as a pharmaceutical subsidiary of J&J. Documents posted on J&J’s

and Janssen’s websites confirm J&J’s control of the development and marketing of opioids by

Janssen. Janssen’s website “Ethical Code for the Conduct of Research and Development,” names




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    Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.

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only J&J and does not mention Janssen anywhere within the document. The “Ethical Code for

the Conduct of Research and Development” posted on the Janssen website is J&J’s company-

wide Ethical Code, which it requires all of its subsidiaries to follow.

       88.     The “Every Day Health Care Compliance Code of Conduct” posted on Janssen’s

website is a J&J company-wide document that describes Janssen as one of the “Pharmaceutical

Companies of Johnson & Johnson” and as one of the “Johnson & Johnson Pharmaceutical

Affiliates.” It governs how “[a]ll employees of Johnson & Johnson Pharmaceutical Affiliates,”

including those of Janssen, “market, sell, promote, research, develop, inform and advertise

Johnson & Johnson Pharmaceutical Affiliates’ products.” All Janssen officers, directors,

employees, sales associates must certify that they have “read, understood and will abide by” the

code. The code governs all of the forms of marketing at issue in this case.

       89.     J&J controls the sale and development of Janssen’s drugs, J&J handles Jansen’s

dealings with the FDA concerning Janssen’s drugs, and Janssen’s profits inure to J&J’s benefit.

       90.     Janssen made thousands of payments to physicians nationwide, including in

Illinois, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

               5.      Endo

       91.     Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation with

its principal place of business in Malvern, Pennsylvania.

       92.     Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly-owned subsidiary of

EHS and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

       93.     Defendant Par Pharmaceutical, Inc. is a New York corporation with its

principal place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a


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wholly-owned subsidiary of Defendant Par Pharmaceutical Companies, Inc., a Delaware

corporation with its principal place of business in Chestnut Ridge, New York. Par

Pharmaceutical, Inc. and Par Pharmaceutical Companies, Inc. are referred to collectively herein

as “Par Pharmaceutical.”

       94.     EHS, EPI, and Par Pharmaceutical, and their DEA registrant subsidiaries and

affiliates (collectively, “Endo”), manufacture, promote, distribute and sell opioids nationally and

in Plaintiff’s Community, including branded and generic versions of the following:

Endo Opioids

 Drug Name          Chemical Name                                         Schedule

 Opana ER           Oxymorphone hydrochloride extended release            Schedule II

 Opana              Oxymorphone hydrochloride                             Schedule II

 Percodan           Oxymorphone hydrochloride and aspirin                 Schedule II

 Percocet           Oxymorphone hydrochloride and acetaminophen           Schedule II

 Generic            Oxycodone                                             Schedule II

 Generic            Oxymorphone                                           Schedule II

 Generic            Hydromorphone                                         Schedule II


       95.     Endo made thousands of payments to physicians nationwide, including in Illinois,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       96.     Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded revenue of $1.15

billion from 2010 to 2013. Endo also manufactures and sells generic opioids, both directly and

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through its subsidiary, Qualitest Pharmaceuticals, Inc., including generic oxycodone,

oxymorphone, hydromorphone, and hydrocodone products.

       97.     The Food and Drug Administration (“FDA”) requested that Endo remove Opana

ER from the market in June 2017. The FDA relied on post-marketing data in reaching its

conclusion based on risk of abuse.

               6.      Insys

       98.     Insys Therapeutics, Inc. is a Delaware corporation with its principal place of

business in Chandler, Arizona.

       99.     Insys is or has been engaged in the manufacture, promotion, distribution, and sale

of opioids nationally and in Plaintiff’s Community. Among the drugs Insys manufactures or

manufactured are the following:

Insys Opioids

 Product Name       Chemical Name                                         Schedule

 Subsys             Fentanyl                                              Schedule II


       100.    Insys made thousands of payments to physicians nationwide, including in Illinois,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       101.    Insys’s principal product and source of revenue is Subsys, a transmucosal

immediate-release formulation (TIRF) of fentanyl, contained in a single-dose spray device

intended for oral, under the tongue administration. Subsys was approved by the FDA solely for

the treatment of breakthrough cancer pain.




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       102.    In 2016, Insys made approximately $330 million in net revenue from Subsys.

Insys promotes, sells, and distributes Subsys throughout the United States, and in Plaintiff’s

Community.

       103.    Insys’s founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

               7.      Mallinckrodt

       104.    Defendant Mallinckrodt plc is an Irish public limited company with its

headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was

incorporated in January 2013 for the purpose of holding the pharmaceuticals business of

Covidien plc, which was fully transferred to Mallinckrodt plc in June 2013. Mallinckrodt plc also

operates under the registered business name Mallinckrodt Pharmaceuticals, with its U.S.

headquarters in Hazelwood, Missouri.

       105.    Defendant Mallinckrodt LLC is a Delaware corporation with its principal place of

business in Hazelwood, Missouri.

       106.    Defendant SpecGx LLC is a Delaware limited liability company with its principal

place of business in Clayton, Missouri and a wholly-owned subsidiary of Mallinckrodt plc.

       107.    Mallinckrodt plc, Mallinckrodt LLC, and SpecGx LLC and their DEA registrant

subsidiaries and affiliates (together, “Mallinckrodt”) manufacture, market, sell and distribute

pharmaceutical drugs throughout the United States and in Plaintiff’s Community.

       108.    Mallinckrodt is the largest U.S. supplier of opioid pain medications and among

the top ten generic pharmaceutical manufacturers in the United States based on prescriptions.




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       109.    Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt

Inc., a subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo

for treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid portfolio

in 2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition, Mallinckrodt

developed Xartemis XR, an extended-release combination of oxycodone and acetaminophen,

which the FDA approved in March 2014, and which Mallinckrodt has since discontinued.

Mallinckrodt promoted its branded opioid products with its own direct sales force.

       110.    While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

approximately 25% of the DEA’s entire annual quota for controlled substances that it

manufactures. Mallinckrodt also estimated that its generics claimed an approximately 23%

market share of DEA Schedules II and III opioid and oral solid dose medications.

       111.    Mallinckrodt operates a vertically integrated business in the United States:

(1) importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its

facility in Hobart, New York, and (3) marketing and selling its products to drug distributors,

specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

that have mail-order pharmacies, and hospital buying groups.

       112.    Among the drugs Mallinckrodt manufactures or has manufactured and distributed

nationally and in Plaintiff’s Community are the following:

Mallinckrodt Opioids

 Product Name        Chemical Name                                            Schedule

 Exalgo              Hydromorphone hydrochloride, extended release            Schedule II


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 Product Name        Chemical Name                                              Schedule

 Roxicodone          Oxycodone hydrochloride                                    Schedule II

 Xartemis XR         Oxycodone hydrochloride and acetaminophen                  Schedule II

 Methadose           Methadone hydrochloride                                    Schedule II

 Generic             Morphine sulfate, extended release                         Schedule II

 Generic             Morphine sulfate oral solution                             Schedule II

 Generic             Fentanyl transdermal system                                Schedule II

 Generic             Oral transmucosal fentanyl citrate                         Schedule II

 Generic             Oxycodone and acetaminophen                                Schedule II

 Generic             Hydrocodone bitartrate and acetaminophen                   Schedule II

 Generic             Hydromorphone hydrochloride                                Schedule II

 Generic             Hydromorphone hydrochloride, extended release              Schedule II

 Generic             Naltrexone hydrochloride                                   unscheduled

 Generic             Oxymorphone hydrochloride                                  Schedule II

 Generic             Methadone hydrochloride                                    Schedule II

 Generic             Oxycodone hydrochloride                                    Schedule II

 Generic             Buprenorphine and naloxone                                 Schedule III


       113.    Mallinckrodt made thousands of payments to physicians nationwide, including in

Illinois, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

               8.      “Manufacturer Defendants” Defined

       114.    Collectively, Purdue, Purdue-Related Additional Defendants, Actavis, Cephalon,

Janssen, Endo, Insys, and Mallinckrodt are referred to as “Manufacturer Defendants.”




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        B.      Distributor Defendants

        115.    As used herein, the term “Distributor Defendants” includes the Defendants

identified in this Section II(B).

        116.    At all relevant times, the Distributor Defendants have distributed, supplied, sold,

and placed into the stream of commerce the prescription opioids, without fulfilling the

fundamental duty of wholesale drug distributors to detect and warn of diversion of dangerous

drugs for non-medical purposes. The Distributor Defendants universally failed to comply with

federal and/or state law. The Distributor Defendants are engaged in “wholesale distribution,” as

defined under state and federal law. Plaintiff alleges the unlawful conduct by the Distributor

Defendants is a substantial cause for the excessive volume of prescription opioids plaguing

Plaintiff’s Community and of the diversion of prescription opioids into Plaintiff’s Community.

                1.      Cardinal

        117.    Cardinal Health, Inc. (“Cardinal”) is an Ohio Corporation with its principal

place of business in Dublin, Ohio.

        118.    Cardinal distributes pharmaceuticals to retail pharmacies and institutional

providers in all 50 states, including in Illinois and Plaintiff’s Community.

        119.    Cardinal describes itself as a “global, integrated health care services and products

company,” and it is the fifteenth largest company by revenue in the U.S., with annual revenue of

$121 billion in 2016.

        120.    Cardinal has been licensed as a wholesale distributor of dangerous drugs in

Illinois since at least 1990.

        121.    Currently, Cardinal Health is an Illinois licensed wholesale-controlled substance

distributor, owning current licenses, 004000961, 004000977 and controlled substance distributor,

owning current licenses 30*****34 and 30*****50.


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       122.    Based on Defendant Cardinal’s own estimates, one of every six pharmaceutical

products dispensed to United States patients travels through the Cardinal Health network.

               2.      Anda

       123.    Defendant Anda, Inc. (“Anda”), is a Florida corporation with its principal office

located in Olive Branch, Mississippi. Through its various DEA registrant subsidiaries and

affiliated entities, Anda is the fourth largest distributor of generic pharmaceuticals in the United

States. In October 2016, Defendant Teva USA acquired Anda for $500 million in cash. At all

times relevant to this Complaint, Anda distributed prescription opioids throughout the United

States, including in Illinois and Plaintiff’s Community.

       124.    Anda is an Illinois licensed wholesale distributor of controlled substances with

current licenses 004004337, 004004336, 30*****40, and 30******41

               3.      McKesson

       125.    Defendant McKesson Corporation (“McKesson”) is a Delaware corporation

with its principal place of business in San Francisco, California.

       126.    McKesson is licensed with the State of Illinois as a wholesale distributor of

controlled substances with current licenses 004001358, 30****21, 004000855 and 30****55.

       127.    McKesson is fifth on the list of Fortune 500 companies, ranking immediately after

Apple and ExxonMobil, with annual revenue of $191 billion in 2016. McKesson is a wholesaler

of pharmaceutical drugs that distributes opioids throughout the country, including Illinois and

Plaintiff’s Community.

       128.    In January 2017, McKesson paid a record $150 million to resolve an investigation

by the U.S. Department of Justice (“DOJ”) for failing to report suspicious orders of certain

drugs, including opioids. In addition to the monetary penalty, the DOJ required McKesson to

suspend sales of controlled substances from distribution centers in Ohio, Florida, Michigan and


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Colorado. The DOJ described these “staged suspensions” as “among the most severe sanctions

ever agreed to by a [DEA] registered distributor.”

               4.      AmerisourceBergen

       129.    AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is a Delaware

Corporation with its principal place of business in Chesterbrook, Illinois.

       130.    AmerisourceBergen distributes pharmaceuticals to retail pharmacies and

institutional providers in all 50 states, including in Illinois and Plaintiff’s Community.

       131.    AmerisourceBergen is currently licensed as a wholesale distributor of controlled

substances in Illinois, having the following licenses: 004000681, 30****45,

       132.    AmerisourceBergen is a wholesaler of pharmaceutical drugs that distributes

opioids throughout the country. AmerisourceBergen is the eleventh largest company by revenue

in the United States, with annual revenue of $147 billion in 2016.

       133.    AmerisourceBergen has been licensed as a wholesale distributor of dangerous

drugs in Illinois since 1988.

               5.      H.D. Smith

       134.    Defendant H.D. Smith Wholesale Drug Company (“H.D. Smith”) is a Delaware

corporation with its principal place of business in Springfield, Illinois. H.D. Smith is a privately

held independent pharmaceuticals distributor of wholesale brand, generic, and specialty

pharmaceuticals. At all times relevant to this Complaint, H.D. Smith distributed prescription

opioids throughout the United States, including in Illinois and Plaintiff’s Community.

       135.    H.D. Smith holds current Illinois wholesale distribution license for controlled

substances, namely license numbers 040003936 and 30*****94.




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               6.      Miami-Luken

       136.    Defendant Miami-Luken, Inc. (“Miami-Luken”) is an Ohio corporation with its

headquarters and principal place of business in Springboro, Ohio. At all times relevant to this

Complaint, Miami-Luken distributed prescription opioids throughout the United States,

including in Illinois and Plaintiff’s Community.

       137.    Miami-Luken holds current Illinois wholesale distribution license for controlled

substances, namely license numbers 040003936 and 30*****94.

               7.      “Distributor Defendants” Defined

       138.    Cardinal, Anda, McKesson, AmerisourceBergen, H.D. Smith, Miami-Luken, and

Dr. Perales are collectively referred to as the “Distributor Defendants.”

       C.      Agency and Authority

       139.    All of the actions described in this Complaint are part of, and in furtherance of,

the unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management

of Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.

       D.      Affiliates of Named Defendants

       140.    Defendants include the above-referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale, and/or dispensing of opioids.

FACTS COMMON TO ALL CLAIMS

I.     OPIOIDS AND THEIR EFFECTS

       141.    The term “opioid” refers to a class of drugs that bind with opioid receptors in the

brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are derived



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from the opium poppy. Generally used to treat pain, opioids produce multiple effects on the

human body, the most significant of which are analgesia, euphoria, and respiratory depression.

       142.    The medicinal properties of opioids have been recognized for millennia—as well

as their potential for abuse and addiction. The opium poppy contains various opium alkaloids,

three of which are used in the pharmaceutical industry today: morphine, codeine, and thebaine.

Early use of opium in Western medicine was with a tincture of opium and alcohol called

laudanum, which contains all of the opium alkaloids and is still available by prescription today.

Chemists first isolated the morphine and codeine alkaloids in the early 1800s.

       143.    In 1827, the pharmaceutical company Merck began large-scale production and

commercial marketing of morphine. During the American Civil War, field medics commonly

used morphine, laudanum, and opium pills to treat the wounded, and many veterans were left

with morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the

United States, and many doctors prescribed opioids solely to prevent their patients from suffering

withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in

1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our hospitals

are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

beasts who prey upon their fellows … it has become one of the most fertile causes of

unhappiness and sin in the United States.”

       144.    Pharmaceutical companies tried to develop substitutes for opium and morphine

that would provide the same analgesic effects without the addictive properties. In 1898, Bayer

Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of

morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and

cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in

the U.S. was limited to prescription only in 1914 and then banned altogether a decade later.


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       145.    Although heroin and opium became classified as illicit drugs, there is little

difference between them and prescription opioids. Prescription opioids are synthesized from the

same plant as heroin, have similar molecular structures, and bind to the same receptors in the

human brain.

       146.    Due to concerns about their addictive properties, prescription opioids have usually

been regulated at the federal level as Schedule II controlled substances by the U.S. Drug

Enforcement Administration (“DEA”) since 1970.

       147.    Throughout the twentieth century, pharmaceutical companies continued to

develop prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were

generally produced in combination with other drugs, with relatively low opioid content.

       148.    In contrast, OxyContin, the product whose launch in 1996 ushered in the modern

opioid epidemic, is pure oxycodone. Purdue initially made it available in the following strengths:

10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest OxyContin

delivers as much narcotic as the strongest Percocet, and some OxyContin tablets delivered

sixteen times that.

       149.    Medical professionals describe the strength of various opioids in terms of

morphine milligram equivalents (“MME”). According to the CDC, doses at or above 50

MME/day double the risk of overdose compared to 20 MME/day, and one study found that

patients who died of opioid overdose were prescribed an average of 98 MME/day.

       150.    Different opioids provide varying levels of MMEs. For example, just 33 mg of

oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day

threshold is nearly reached by a prescription of 15 mg twice daily. One 160 mg tablet of

OxyContin, which Purdue took off the market in 2001, delivered 240 MME.




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        151.    The wide variation in the MME strength of prescription opioids renders

misleading any effort to capture “market share” by the number of pills or prescriptions attributed

to Purdue or other manufacturers. Purdue, in particular, focuses its business on branded, highly

potent pills, causing it to be responsible for a significant percent of the total amount of MME in

circulation, even though it currently claims to have a small percent of the market share in terms

of pills or prescriptions.

        152.    Fentanyl is a synthetic opioid that is 100 times stronger than morphine and 50

times stronger than heroin. First developed in 1959, fentanyl is showing up more and more often

in the market for opioids created by Manufacturer Defendants’ promotion, with particularly

lethal consequences.

        153.    The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s

OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and

Actavis’s Kadian, are designed to be taken once or twice daily and are purported to provide

continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon’s

Actiq and Fentora, are designed to be taken in addition to long-acting opioids to address

“episodic pain” (also referred to as “breakthrough pain”) and provide fast-acting, supplemental

opioid therapy lasting approximately 4 to 6 hours. Still other short-term opioids, such as Insys’s

Subsys, are designed to be taken in addition to long-acting opioids to specifically address

breakthrough cancer pain, excruciating pain suffered by some patients with end-stage cancer.

The Manufacturer Defendants promoted the idea that pain should be treated by taking long-

acting opioids continuously and supplementing them by also taking short-acting, rapid-onset

opioids for episodic or “breakthrough” pain.

        154.    Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

tolerance increases, a patient typically requires progressively higher doses in order to obtain the


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same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

“high.” However, opioids depress respiration, and at very high doses can, and often do, arrest

respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

       155.    Discontinuing opioids after more than just a few weeks of therapy will cause most

patients to experience withdrawal symptoms. These withdrawal symptoms include: severe

anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium,

pain, and other serious symptoms, which may persist for months after a complete withdrawal

from opioids, depending on how long the opioids were used.

       156.    As a leading pain specialist doctor put it, the widespread, long-term use of opioids

“was a de facto experiment on the population of the United States. It wasn’t randomized, it

wasn’t controlled, and no data was collected until they started gathering death statistics.”

II.    THE RESURGENCE OF OPIOID USE IN THE UNITED STATES

       A.      The Sackler Family Integrated Advertising and Medicine

       157.    Given the history of opioid abuse in the U.S. and the medical profession’s

resulting wariness, the commercial success of the Manufacturer Defendants’ prescription opioids

would not have been possible without a fundamental shift in prescribers’ perception of the risks

and benefits of long-term opioid use.

       158.    As it turned out, Purdue was uniquely positioned to execute just such a maneuver,

thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole owner of

Purdue and one of the wealthiest families in America, with an estimated net worth of $13 billion

as of 2016. All of Purdue’s profits go to Sackler family trusts and entities and, through them, to

members of the Sackler families.




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       159.    Arthur Sackler was both a psychiatrist and a marketing executive, and, by many

accounts, a brilliant and driven man. He pursued two careers simultaneously, as a psychiatrist at

Creedmoor State Hospital in New York and the president of an advertising agency called

William Douglas McAdams. He pioneered both print advertising in medical journals and

promotion through physician “education” in the form of seminars and continuing medical

education (“CME”) courses. He also understood the persuasive power of recommendations from

fellow physicians and did not hesitate to manipulate information when necessary. For example,

one promotional brochure produced by his firm for Pfizer showed business cards of physicians

from various cities as if they were testimonials for the drug, but when a journalist tried to contact

these doctors, he discovered that they did not exist.

       160.    Arthur Sackler revolutionized medical marketing in the 1950’s and 60’s by

creating the very marketing ploys his family later used to perpetuate the massive fraud alleged in

this action. In striving to make Pfizer (with its blockbuster drug, valium) a household name

among physicians, Arthur Sackler recognized that “selling new drugs requires a seduction of not

just the patient but the doctor who writes the prescription,” and he maximized influence over

physician prescribing by developing the following marketing ploys to disseminate

pharmaceutical messaging under the guise of science and truth:

           a. contacting prescribers directly with a variety of perks, benefits and even job

               offers;

           b. publishing seemingly neutral articles in medical journals, citing scientific studies

               (frequently underwritten by the pharmaceutical companies whose products he was

               marketing);




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           c. marketing illnesses (i.e., lamenting and marketing the under treatment of

               purported illnesses and the corresponding under-utilization of drugs he was

               promoting);

           d. paying prominent physicians to endorse his products; and

           e. funding CMEs, controlling the messaging of key opinion leaders, and maximizing

               influence over physician prescribing practices.

       161.    In the 1960s Arthur Sackler made Valium into the first $100-million drug, so

popular it became known as “Mother’s Little Helper.” His expertise as a psychiatrist was one of

the keys to his success. When Arthur’s client, Roche, developed Valium, it already had a similar

drug, Librium, another benzodiazepine, on the market for treatment of anxiety. So, Arthur

invented a condition he called “psychic tension”—essentially stress—and pitched Valium as the

solution. The campaign, for which Arthur was compensated based on volume of pills sold, was a

remarkable success.

       162.    Arthur Sackler created not only the advertising for his clients but also the vehicle

to bring their advertisements to doctors—a biweekly newspaper called the Medical Tribune,

which was distributed for free to doctors nationwide. Arthur also co-founded a company called

IMS Health (“IMS”) (which is now part of IQVIA), which monitors prescribing practices of

every doctor in the U.S. and sells the data to pharmaceutical companies like Manufacturer

Defendants, who utilize it to target and tailor their sales pitches to individual physicians.

       163.    In marketing tranquilizers Librium and Valium, Arthur Sackler broadened his

customer base to potentially include everyone. For example, one campaign encouraged doctors

to prescribe Valium to people with no psychiatric symptoms whatsoever, urging doctors to

“consider the usefulness of Valium” in patients with no demonstrable pathology. Such marketing




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led one physician, writing in the journal Psychosomatics in 1965, to ask, “When do we not use

this drug?’”

       164.    As the line between medical education and medical marketing became

deliberately blurred, Valium became the pharmaceutical industry’s first hundred-million-dollar,

and then billion-dollar, drug. For his design and creation of these medical marketing strategies,

he was posthumously inducted into the Medical Advertising Hall of Fame, but, as succinctly put

by Allen Frances, the former chair of psychiatry at Duke University School of Medicine: “Most

of the questionable practices that propelled the pharmaceutical industry into the scourge it is

today can be attributed to Arthur Sackler.”

       165.    In other precursors of the current crisis, Arthur Sackler promoted these drugs

despite the lack of any studies of their addictive potential. Additionally, he started Medical

Tribune, despite concerns that a pharmaceutical advertiser should not be publishing a medical

periodical directed at doctors. He paid Key Opinion Leaders (“KOLs”), including for example,

Henry Welch (then chief of FDA’s antibiotics division), almost $300,000 in exchange for his

help in promoting pharmaceutical drugs. By the 1970’s, doctors were prescribing more than 100

million tranquilizer prescriptions annually, creating what Sen. Edward Kennedy called “a

nightmare of dependence and addiction.”

       B.      Purdue and the Development of OxyContin

       166.    In 1952, Arthur Sackler and his two brothers Mortimer Sackler and Raymond

Sackler—purchased what was then a small patent-medicine company called the Purdue

Frederick Company (“PF Co.”).

       167.    PF Co. had been formed in 1892 by Dr. John Purdue Gray and George Frederick

Bingham and incorporated in New York on June 29, 1911.




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       168.    After Arthur’s death, Mortimer and Raymond bought out his share. Since that

time, PF Co. and all Purdue-related companies have all been owned and controlled by the

Raymond Sackler Family and the Mortimer Sackler Family.

       169.    PF Co. is no longer an active New York corporation, having been merged into

Defendant PF Labs on May 7, 2004.

       170.    At all relevant times, PF Co. and PF Labs have been beneficially owned by the

Sackler Families and controlled by them through Defendant Sackler Family members.

       171.    After the Sacklers acquired PF Co. in 1952, they sold products ranging from

earwax remover to antiseptic, and it became a profitable business. As an advertising executive,

Arthur Sackler was not involved, on paper at least, in running the family business, which would

have been a conflict of interest. Raymond Sackler became Purdue’s head executive, while

Mortimer Sackler ran Purdue’s UK affiliate.

       172.    Beginning in the 1980s PF Co. and its associated companies engaged in the

business of designing, testing, manufacturing, labeling, advertising, promoting, marketing,

selling or distributing opioids throughout the United States.

       173.    In the 1980s, the Sacklers, through a UK company they owned, acquired a

Scottish drug producer that had developed a sustained-release technology suitable for morphine.

They marketed this extended-release morphine as MS Contin, and it quickly became their

bestseller. As the patent expiration for MS Contin loomed, they searched for a drug to replace it.

Around that time, Raymond’s oldest son, Defendant Richard Sackler, who was also a trained

physician, became more involved in the management of the family business. Richard had grand

ambitions for the company. According to a long-time Purdue sales representative, “Richard

really wanted Purdue to be big—I mean really big.” Richard believed Purdue should develop

another use for its “Contin” timed-release system.


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       174.    OxyContin was created by PF Co., but responsibility for designing, testing,

manufacturing, labeling, advertising, promoting, marketing, selling, and distributing OxyContin

and other opioid products was shared among PF Co., Purdue, PF Labs, and other Purdue-related

companies.

       175.    At relevant times, OxyContin was manufactured by PF Labs.

       176.    In 1990, Purdue’s vice president of clinical research, Robert Kaiko, sent a memo

to Richard and other executives recommending that the company work on a pill containing

oxycodone. At the time, oxycodone was perceived as less potent than morphine, largely because

it was most commonly prescribed as Percocet, a relatively weak oxycodone-acetaminophen

combination pill, or Percodan, where it was blended with aspirin. By contrast, the oxycodone pill

developed by Purdue—OxyContin—was pure oxycodone in a time-release formula similar to

MS Contin, and it was more potent than morphine. Purdue also decided to produce pills with as

much as 160 milligrams of oxycodone, far in excess of any other prescription opioid.

       177.    MS Contin was not only approaching patent expiration but had always been

limited by the stigma associated with morphine. Oxycodone did not have that problem, and

what’s more, it was sometimes mistakenly called “oxycodeine,” which also contributed to the

perception of relatively lower potency, because codeine is weaker than morphine. Purdue

acknowledged using this false perception to its advantage when it later pled guilty to criminal

charges of “misbranding” in 2007, admitting that it was “well aware of the incorrect view held

by many physicians that oxycodone was weaker than morphine” and “did not want to do

anything ‘to make physicians think that oxycodone was stronger or equal to morphine’ or to

‘take any steps … that would affect the unique position that OxyContin’” held among

physicians.




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       178.    Even though oxycodone did not have the same stigma as morphine, in focus

groups conducted before OxyContin’s release, Purdue learned that doctors were concerned about

the abuse potential of opioids. The focus group concluded that the perceived abuse potential of

opioids was the “‘biggest negative’ that might prevent widespread use of the drug.”

       179.    For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives

in March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase. As described

below, Purdue did not have any such evidence, but this did not stop Purdue from making that

claim regardless.

       180.    Armed with this and other misrepresentations about the risks and benefits of its

new drug, Purdue was able to open an enormous untapped market: patients with non-end-of-life,

non-acute, everyday aches and pains. As Dr. David Haddox (“Dr. Haddox”), a Senior Medical

Director at Purdue, declared, “[t]here are 50 million patients in this country who have chronic

pain that’s not being managed appropriately every single day. OxyContin is one of the choices

that doctors have available to them to treat that.”

       181.    In pursuit of those 50 million potential customers, Purdue poured resources into

OxyContin’s sales force and advertising, particularly to a far broader audience of primary care

physicians who treated patients with chronic pain complaints. The graph below shows how

promotional spending in the first six years following OxyContin’s launch dwarfed Purdue’s

spending on MS Contin or Defendant Janssen’s spending on its opioid product Duragesic:




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       182.    Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners.

       183.    In the two decades following OxyContin’s launch, Purdue continued to devote

substantial resources to its promotional efforts.

       184.    Purdue has generated estimated sales of more than $35 billion from opioids since

1996, raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued to

climb even after a period of media attention and government inquiries regarding OxyContin

abuse in the early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue

proved itself skilled at evading full responsibility and continuing to sell through the controversy.

The company’s annual opioid sales of $3 billion in 2015 represent a four-fold increase from its

2006 sales of $800 million.

       185.    One might imagine that Richard Sackler’s ambitions have been realized. But in

the best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater profits.

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Under the name of Mundipharma, the Sacklers are looking to new markets for their opioids—

employing the exact same playbook in South America, China, and India as they did in the United

States.

          186.   In May 2017, a dozen members of Congress sent a letter to the World Health

Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

through Mundipharma:

          We write to warn the international community of the deceptive and dangerous
          practices of Mundipharma International—an arm of Purdue Pharmaceuticals. The
          greed and recklessness of one company and its partners helped spark a public
          health crisis in the United States that will take generations to fully repair. We urge
          the World Health Organization (WHO) to do everything in its power to avoid
          allowing the same people to begin a worldwide opioid epidemic. Please learn
          from our experience and do not allow Mundipharma to carry on Purdue’s deadly
          legacy on a global stage. . ..

          Internal documents revealed in court proceedings now tell us that since the early
          development of OxyContin, Purdue was aware of the high risk of addiction it
          carried. Combined with the misleading and aggressive marketing of the drug by
          its partner, Abbott Laboratories, Purdue began the opioid crisis that has
          devastated American communities since the end of the 1990s. Today,
          Mundipharma is using many of the same deceptive and reckless practices to sell
          OxyContin abroad. . ..

          In response to the growing scrutiny and diminished U.S. sales, the Sacklers have
          simply moved on. On December 18, the Los Angeles Times published an
          extremely troubling report detailing how in spite of the scores of lawsuits against
          Purdue for its role in the U.S. opioid crisis, and tens of thousands of overdose
          deaths, Mundipharma now aggressively markets OxyContin internationally. In
          fact, Mundipharma uses many of the same tactics that caused the opioid epidemic
          to flourish in the U.S., though now in countries with far fewer resources to devote
          to the fallout.

          187.   Purdue’s recent pivot to untapped markets—after extracting substantial profits

from American communities and leaving local governments to address the devastating and still

growing damage the company caused—only serves to underscore that Purdue’s actions have

been knowing, intentional, and motivated by profits throughout this entire story.




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       C.      Other Manufacturer Defendants Leapt at the Opioid Opportunity

       188.    Purdue created a market for the use of opioids for a range of common aches and

pains by misrepresenting the risks and benefits of its opioids, but it was not alone. The other

Manufacturer Defendants—already manufacturers of prescription opioids—positioned

themselves to take advantage of the opportunity Purdue created, developing both branded and

generic opioids to compete with OxyContin, while, together with Purdue and each other,

misrepresenting the safety and efficacy of their products. These misrepresentations are described

in detail in Section D below.

       189.    Endo, which already sold Percocet and Percodan, was the first to apply for a

generic extended-release oxycodone to compete with OxyContin. At the same time, Endo

sought FDA approval for another potent opioid, immediate-release and extended-release

oxymorphone, branded as Opana and Opana ER. Oxymorphone, like OxyContin’s active

ingredient oxycodone, is not a new drug; it was first synthesized in Germany in 1914 and sold in

the U.S. by Endo beginning in 1959 under the trade name Numorphan. But Numorphan tablets

proved highly susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills,

Numorphan provoked, according to some users, a more euphoric high than heroin. As the

National Institute on Drug Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,”

Numorphan was extremely popular among addicts for its quick and sustained effect. Endo

withdrew oral Numorphan from the market in 1979.

       190.    Two decades later, however, as communities around the U.S. were first sounding

the alarm about prescription opioids and Purdue executives were being called to testify before

Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

off a product it had previously shelved after widespread abuse, and reintroduced it into the

marketplace with a new trade name, Opana.


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       191.    The clinical trials submitted with Endo’s first application for approval of Opana

were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials, in which

trial subjects who do not respond to the drug are excluded from the trial and obtained approval.

Endo began marketing Opana and Opana ER, an extended release formulation, in 2006.

       192.    Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017,

the FDA sought removal of Opana ER. In its press release, the FDA indicated that this is the

first time the agency has taken steps to remove a currently marketed opioid pain medication from

sale due to the public health consequences of abuse. On July 6, 2017, Endo agreed to withdraw

Opana ER from the market.

       193.    Janssen, which already marketed the Duragesic (fentanyl) patch for severe pain,

also joined Purdue in pursuit of the broader chronic pain market. It sought to expand the use of

Duragesic through, for example, advertisements proclaiming, “It’s not just for end stage cancer

anymore!” This claim earned Janssen a warning letter from the FDA, for representing that

Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”

       194.    Janssen also developed a new opioid compound called Tapentadol in 2009,

marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the

extended-release version, Nucynta ER, for treatment of chronic pain in 2011.

       195.    By adding additional opioids or expanding the use of their existing opioid

products, the other Manufacturer Defendants took advantage of the market created by Purdue’s

aggressive promotion of OxyContin and reaped enormous profits. For example, Opana ER alone

generated more than $1 billion in revenue for Endo in 2010 and again in 2013. Janssen also

passed the $1 billion mark in sales of Duragesic in 2009.


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III.   DEFENDANTS’ CONDUCT CREATED AN ABATABLE PUBLIC NUISANCE

       196.    Defendants’ conduct created a public health crisis and a public nuisance.

       197.    The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm and inconvenience

can be abated by, inter alia, (a) educating prescribers (especially primary care physicians and the

most prolific prescribers of opioids) and patients regarding the true risks and benefits of opioids,

including the risk of addiction, in order to prevent the next cycle of addiction; (b) providing

addiction treatment to patients who are already addicted to opioids; and (c) making naloxone

widely available so that overdoses are less frequently fatal.

       198.    Defendants have the ability to act to abate the public nuisance, and the law

recognizes that they are uniquely well positioned to do so. The manufacturer of a drug has a

duty to assure the safety and efficacy of the drug and the appropriateness of the drug’s labeling,

marketing, and promotion. All companies in the supply chain of a controlled substance have a

duty to ensure that such drugs are only distributed and dispensed to appropriate patients and not

diverted. These duties exist independent of any federal or state statute or regulation. As

registered manufacturers and distributors of controlled substances, Defendants occupy a position

of special trust and responsibility and are uniquely positioned, based on their knowledge of

prescribers and orders, to act as a first line of defense against the harm that opioids can cause.



IV.    THE MANUFACTURER DEFENDANTS’ MULTI-PRONGED SCHEME TO CHANGE
       PRESCRIBER HABITS AND PUBLIC PERCEPTION AND INCREASE DEMAND FOR OPIOIDS

       199.    In order to accomplish the fundamental shift in perception that was key to

successfully marketing their opioids, the Manufacturer Defendants designed and implemented a

sophisticated and deceptive marketing strategy. Lacking legitimate scientific research to support

their claims, the Manufacturer Defendants turned to the marketing techniques first pioneered by

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Arthur Sackler to create a series of misperceptions in the medical community and ultimately

reverse the long-settled understanding of the relative risks and benefits of opioids.

       200.      The Manufacturer Defendants promoted, and profited from, their

misrepresentations about the risks and benefits of opioids for chronic pain even though they

knew that their marketing was false and misleading. The history of opioids, as well as research

and clinical experience over the last 20 years, established that opioids were highly addictive and

responsible for a long list of very serious adverse outcomes. The FDA and other regulators

warned Manufacturer Defendants of these risks. The Manufacturer Defendants had access to

scientific studies, detailed prescription data, and reports of adverse events, including reports of

addiction, hospitalization, and deaths—all of which made clear the harms from long-term opioid

use and that patients are suffering from addiction, overdoses, and death in alarming numbers.

More recently, the FDA and CDC issued pronouncements based on existing medical evidence

that conclusively expose the known falsity of these Defendants’ misrepresentations.

       201.      The marketing scheme to increase opioid prescriptions centered around nine

categories of misrepresentations, which are discussed in detail below. The Manufacturer

Defendants disseminated these misrepresentations through various channels, including through

advertising, sales representatives, purportedly independent organizations these defendants funded

and controlled (“Front Groups”), KOLs, and CME programs discussed below.

       A.        The Manufacturer Defendants Promoted Multiple Falsehoods about Opioids

       202.      The Manufacturer Defendants’ misrepresentations fall into the following nine

categories:

              a. The risk of addiction from chronic opioid therapy is low

              b. To the extent there is a risk of addiction, it can be easily identified and managed

              c. Signs of addictive behavior are “pseudo addiction,” requiring more opioids


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           d. Opioid withdrawal can be avoided by tapering

           e. Opioid doses can be increased without limit or greater risks

           f. Long-term opioid use improves functioning

           g. Alternative forms of pain relief pose greater risks than opioids

           h. OxyContin provides twelve hours of pain relief

           i. New formulations of certain opioids successfully deter abuse

       203.    Each of these propositions was false. The Manufacturer Defendants knew this,

but they nonetheless set out to convince physicians, patients, and the public at large of the truth

of each of these propositions in order to expand the market for their opioids.

       204.    The foregoing categories of misrepresentations are offered to organize the

numerous statements the Manufacturer Defendants made and to explain their role in the overall

marketing effort, not as a checklist for assessing each Manufacturing Defendant’s liability.

While each Manufacturing Defendant deceptively promoted their opioids specifically, and,

together with other Manufacturer Defendants, opioids generally, not every Manufacturing

Defendant propagated (or needed to propagate) each misrepresentation. Each Manufacturing

Defendant’s conduct, and each misrepresentation, contributed to an overall narrative that aimed

to—and did—mislead doctors, patients, and payors about the risks and benefits of opioids.

While this Complaint endeavors to document examples of each Manufacturing Defendant’s

misrepresentations and the manner in which they were disseminated, they are just that—

examples. The Complaint is not, especially prior to discovery, an exhaustive catalog of the

nature and manner of each deceptive statement by each Manufacturing Defendant.

               1.      Falsehood #1: The risk of addiction from chronic opioid therapy is low

       205.    Central to the Manufacturer Defendants’ promotional scheme was the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their


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marketing efforts, the Manufacturer Defendants advanced the idea that the risk of addiction is

low when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led

to the expected and intended result that doctors prescribed more opioids to more patients—

thereby enriching the Manufacturer Defendants and substantially contributing to the opioid

epidemic.

       206.    Each of the Manufacturer Defendants claimed that the potential for addiction

from its opioids was relatively small or non-existent, even though there was no scientific

evidence to support those claims. None of them have acknowledged, retracted, or corrected their

false statements.

       207.    In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, “even at

recommended dose,” and the risk substantially increases with more than three months of use. As

the CDC Guideline states, “[o]pioid pain medication use presents serious risks, including

overdose and opioid use disorder” (a diagnostic term for addiction).

               a. Purdue’s misrepresentations regarding addiction risk

       208.    When it launched OxyContin, Purdue knew it would need data to overcome

decades of wariness regarding opioid use. It needed some sort of research to back up its

messaging. But Purdue had not conducted any studies about abuse potential or addiction risk as

part of its application for FDA approval for OxyContin. Purdue (and, later, the other Defendants)

found this “research” in the form of a one-paragraph letter to the editor published in the New

England Journal of Medicine (NEJM) in 1980.

       209.    This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of

addiction “rare” for patients treated with opioids. They had analyzed a database of hospitalized

patients who were given opioids in a controlled setting to ease suffering from acute pain. Porter


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and Jick considered a patient not addicted if there was no sign of addiction noted in patients’

records.




       210.     As Dr. Jick explained to a journalist years later, he submitted the statistics to

NEJM as a letter because the data were not robust enough to be published as a study.

       211.     Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper. Citation of the letter, which was

largely ignored for more than a decade, significantly increased after the introduction of

OxyContin. While first Purdue and then other Manufacturer Defendants used it to assert that


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their opioids were not addictive, “that’s not in any shape or form what we suggested in our

letter,” according to Dr. Jick.

        212.    Purdue specifically used the Porter and Jick letter in its 1998 promotional video “I

got my life back,” in which Dr. Alan Spanos says, “In fact, the rate of addiction amongst pain

patients who are treated by doctors is much less than 1%.” Purdue trained its sales

representatives to tell prescribers that fewer than 1% of patients who took OxyContin became

addicted. In 1999, a Purdue-funded study of patients who used OxyContin for headaches found

that the addiction rate was thirteen per cent, but that finding was not included by Purdue in any

of its advertising, marketing, or promotional or sales material; nor was it otherwise provided by

Purdue to physicians.

        213.    Other Defendants relied on and disseminated the same distorted messaging. The

enormous impact of Defendants’ misleading amplification of this letter was well documented in

another letter published in the NEJM on June 1, 2017, describing the way the one-paragraph

1980 letter had been irresponsibly cited and, in some cases, “grossly misrepresented.” In

particular, the authors of this letter explained:

        [W]e found that a five-sentence letter published in the Journal in 1980 was
        heavily and uncritically cited as evidence that addiction was rare with long-term
        opioid therapy. We believe that this citation pattern contributed to the North
        American opioid crisis by helping to shape a narrative that allayed prescribers’
        concerns about the risk of addiction associated with long-term opioid therapy . . .

        214.    “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the

University of Toronto, who led the analysis. “It was the key bit of literature that helped the

opiate manufacturers convince front-line doctors that addiction is not a concern.”

        215.    Alongside its use of the Porter and Jick letter, Purdue also crafted its own

materials and spread its deceptive message through numerous additional channels. In its 1996




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press release announcing the release of OxyContin, for example, Purdue declared, “The fear of

addiction is exaggerated.”

       216.    At a hearing before the House of Representatives’ Subcommittee on Oversight

and Investigations of the Committee on Energy and Commerce in August 2001, Purdue

emphasized “legitimate” treatment, dismissing cases of overdose and death as something that

would not befall “legitimate” patients: “Virtually all of these reports involve people who are

abusing the medication, not patients with legitimate medical needs under the treatment of a

healthcare professional.”

       217.    Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question “Aren’t opioid pain medications like

OxyContin Tablets ‘addicting’?” Purdue claimed that there was no need to worry about addiction

if taking opioids for legitimate, “medical” purposes:

       Drug addiction means using a drug to get “high” rather than to relieve pain. You
       are taking opioid pain medication for medical purposes. The medical purposes are
       clear, and the effects are beneficial, not harmful.

       218.    Sales representatives marketed OxyContin as a product “to start with and to stay

with.” Sales representatives also received training in overcoming doctors’ concerns about

addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!”

According to the memo, the target is physician resistance based on concern about addiction:

“The physician wants pain relief for these patients without addicting them to an opioid.”

       219.    Through its unbranded website, Partners Against Pain, Purdue stated the

following: “Current Myth: Opioid addiction (psychological dependence) is an important clinical


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problem in patients with moderate to severe pain treated with opioids. Fact: Fears about

psychological dependence are exaggerated when treating appropriate pain patients with opioids.”

“Addiction risk also appears to be low when opioids are dosed properly for chronic, noncancer

pain.”

         220.   Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist how he and his coworkers were trained to overcome doctors’

objections to prescribing opioids. The most common objection he heard about prescribing

OxyContin was that “it’s just too addictive.” May and his coworkers were trained to “refocus”

doctors on “legitimate” pain patients, and to represent that “legitimate” patients would not

become addicted. In addition, they were trained to say that the 12-hour dosing made the

extended-release opioids less “habit-forming” than painkillers than need to be taken every four

hours.

         221.   According to interviews with prescribers and former Purdue sales representatives,

Purdue has continued to distort or omit the risk of addiction while failing to correct its earlier

misrepresentations, leaving many doctors with the false impression that pain patients will only

rarely become addicted to opioids.

         222.   With regard to addiction, Purdue’s label for OxyContin has not sufficiently

disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is

increased in patients with a personal or family history of substance abuse.”

         223.   However, the FDA made clear to Purdue as early as 2001 that the disclosures in

its OxyContin label were insufficient.

         224.   In 2001, Purdue revised the indication and warnings for OxyContin. In the

United States, Purdue ceased distributing the 160 mg tablet of OxyContin.


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       225.     In the end, Purdue narrowed the recommended use of OxyContin to situations

when “a continuous, around-the-clock analgesic is needed for an extended period of time” and

added a warning that “[t]aking broken, chewed, or crushed OxyContin tablets” could lead to a

“potentially fatal dose.” However, Purdue did not, until 2014, change the label to indicate that

OxyContin should not be the first therapy, or even the first opioid, used, and did not disclose the

incidence or risk of overdose and death even when OxyContin was not abused. Purdue

announced the label changes in a letter to health care providers.

       226.     Purdue was aware that there was a perception that oxycodone is safer than

morphine but did not attempt to correct that misunderstanding and instead exploited it.

                b. Endo’s misrepresentations regarding addiction risk

       227.     Endo also falsely represented that addiction is rare in patients who are prescribed

opioids.

       228.     Until April 2012, Endo’s website for Opana, www.opana.com, stated that “[m]ost

healthcare providers who treat patients with pain agree that patients treated with prolonged

opioid medicines usually do not become addicted.”

       229.     Endo improperly instructed its sales representatives to diminish and distort the

risk of addiction associated with Opana ER. Endo’s training materials for its sales

representatives in 2011 also prompted sales representatives to answer “true” to the statement that

addiction to opioids is not common.

       230.     One of the Front Groups with which Endo worked most closely was the American

Pain Foundation (“APF”), described more fully below. Endo provided substantial assistance to,

and exercised editorial control, over the deceptive and misleading messages that APF conveyed

through its National Initiative on Pain Control (“NIPC”) and its website Painknowledge.com,

which claimed that “[p]eople who take opioids as prescribed usually do not become addicted.”


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        231.    Endo was one of the APF’s biggest financial supporters, providing more than half

of the $10 million APF received from opioid manufacturers during its lifespan. Endo was the

sole funder of NIPC and selected APF to manage NIPC. Endo was responsible for NIPC

curriculum development, web posting, and workshops, developed and reviewed NIPC content,

and took a substantial role in distributing NIPC and APF materials. Endo projected that it would

be able to reach tens of thousands of prescribers nationwide through the distribution of NIPC

materials.

        232.    Another Endo website, PainAction.com, stated: “Did you know? Most chronic

pain patients do not become addicted to the opioid medications that are prescribed for them.”

        233.    A brochure available on Painknowledge.com titled “Pain: Opioid Facts,” Endo-

sponsored NIPC stated that “people who have no history of drug abuse, including tobacco, and

use their opioid medication as directed will probably not become addicted.” In numerous patient

education pamphlets, Endo repeated this deceptive message.

        234.    In a patient education pamphlet titled “Understanding Your Pain: Taking Oral

Opioid Analgesics,” Endo answers the hypothetical patient question— “What should I know

about opioids and addiction?”—by focusing on explaining what addiction is (“a chronic brain

disease”) and what it is not (“taking opioids for pain relief”). It goes on to explain that “[a]ddicts

take opioids for other reasons, such as unbearable emotional problems. Taking opioids as

prescribed for pain relief is not addiction.” This publication is still available online.

        235.    An Endo publication, Living with Someone with Chronic Pain, stated, “Most

health care providers who treat people with pain agree that most people do not develop an

addiction problem.” A similar statement appeared on the Endo website, www.opana.com, until at

least April 2012.




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       236.    In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded

by Endo and posted on Painknowledge.com, omitted addiction from the “common risks” of

opioids, as shown below:




               c. Janssen’s misrepresentations regarding addiction risk

       237.    Janssen likewise misrepresented the addiction risk of opioids. One website, Let’s

Talk Pain, states, among other things, that “the stigma of drug addiction and abuse” associated

with the use of opioids stemmed from a “lack of understanding about addiction.” The website

carried Janssen’s trademark and was copy approved and controlled by Janssen.

       238.    The Let’s Talk Pain website also perpetuated the concept of pseudo addiction,

associating patient behaviors such as “drug seeking,” “clock watching,” and “even illicit drug

use or deception” with undertreated pain which can be resolved with “effective pain

management.”

       239.    A Janssen unbranded website, PrescribeResponsibly.com, states that concerns

about opioid addiction are “overestimated” and that “true addiction occurs only in a small

percentage of patients.”

       240.    Janssen reviewed, edited, approved, and distributed a patient education guide

entitled Finding Relief: Pain Management for Older Adults, which, as seen below, described as a

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“myth” the claim that opioids are addictive, and asserted as “fact” that “[m]any studies show that

opioids are rarely addictive when used properly for the management of chronic pain.” Until

recently, this guide was still available online.




       241.    Janssen’s website for Duragesic included a section addressing “Your Right to

Pain Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug addict.” The

website’s response: “Addiction is relatively rare when patients take opioids appropriately.”

               d. Cephalon’s misrepresentations regarding addiction risk.

       242.    Cephalon sponsored and facilitated the development of a guidebook, Opioid

Medications and REMS: A Patient’s Guide, which included claims that “patients without a

history of abuse or a family history of abuse do not commonly become addicted to opioids.”

Similarly, Cephalon sponsored APF’s Treatment Options: A Guide for People Living with Pain

(2007), which taught that addiction is rare and limited to extreme cases of unauthorized dose

escalations, obtaining opioids from multiple sources, or theft.

       243.    For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

Management of Breakthrough or Incident Pain, posted on Medscape in February 2003, teaches:

       [C]hronic pain is often undertreated, particularly in the noncancer patient
       population …. The continued stigmatization of opioids and their prescription,
       coupled with often unfounded and self-imposed physician fear of dealing with the
       highly regulated distribution system for opioid analgesics, remains a barrier to
       effective pain management and must be addressed. Clinicians intimately involved

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       with the treatment of patients with chronic pain recognize that the majority of
       suffering patients lack interest in substance abuse. In fact, patient fears of
       developing substance abuse behaviors such as addiction often lead to
       undertreatment of pain. The concern about patients with chronic pain becoming
       addicted to opioids during long-term opioid therapy may stem from confusion
       between physical dependence (tolerance) and psychological dependence
       (addiction) that manifests as drug abuse.

               e. Actavis’s misrepresentations regarding addiction risk.

       244.    Through its “Learn More about customized pain control with Kadian,” material,

Actavis claimed that it is possible to become addicted to morphine-based drugs like Kadian, but

that it is “less likely” to happen in those who “have never had an addiction problem.” The piece

goes on to advise that a need for a “dose adjustment” is the result of tolerance, and “not

addiction.”

       245.    Training for Actavis sales representatives deceptively minimizes the risk of

addiction by: (i) attributing addiction to “predisposing factors” like family history of addiction or

psychiatric disorders; (ii) repeatedly emphasizing the difference between substance dependence

and substance abuse; and (iii) using the term pseudo addiction, which, as described below,

dismisses evidence of addiction as the undertreatment of pain and, dangerously, counsels doctors

to respond to its signs with more opioids.

       246.    Actavis conducted a market study on takeaways from prescribers’ interactions

with Kadian sales representatives. The doctors had a strong recollection of the sales

representatives’ discussion of the low-abuse potential. Actavis’ sales representatives’

misstatements on the low-abuse potential was considered an important factor to doctors and was

most likely repeated and reinforced to their patients. Additionally, doctors reviewed visual aids

that the Kadian sales representatives use during the visits, and Actavis noted that doctors

associate Kadian with less abuse and no highs, in comparison to other opioids. Numerous

marketing surveys of doctors in 2010 and 2012, for example, confirmed Actavis’s messaging


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about Kadian’s purported low addiction potential, and that it had less abuse potential than other

similar opioids.

       247.    A guide for prescribers under Actavis’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. The guide includes the

following statements: (i) “unique pharmaceutical formulation of KADIAN may offer some

protection from extraction of morphine sulfate for intravenous use by illicit users,” and (ii)

KADIAN may be less likely to be abused by health care providers and illicit users” because of

“Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to

trough plasma levels of morphine at steady state.” These statements falsely convey both that (i)

Kadian does not cause euphoria and therefore is less addictive and that (ii) Kadian is less prone

to tampering and abuse, even though Kadian was not approved by the FDA as abuse deterrent,

and Actavis had no studies to suggest it was.

               f. Mallinckrodt’s misrepresentations regarding addiction risk

       248.    As described below, Mallinckrodt promoted its branded opioids Exalgo and

Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

communications distributed through C.A.R.E.S. Alliance.

       249.    Mallinckrodt in 2010 created the C.A.R.E.S. Alliance (the initials stand for

“Collaborating and Acting Responsibly to Ensure Safety”), which it describes as “a coalition of

national patient safety, provider and drug diversion organizations that are focused on reducing

opioid pain medication abuse and increasing responsible prescribing habits.” “C.A.R.E.S.

Alliance” is a service mark of Mallinckrodt LLC (and was previously a service mark of

Mallinckrodt, Inc.) copyrighted and registered as a trademark by Covidien, its former parent


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company. Materials distributed by the C.A.R.E.S. Alliance, however, include unbranded

publications that do not disclose a link to Mallinckrodt.

       250.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book

titled Defeat Chronic Pain Now! This book is still available online. The false claims and

misrepresentations in this book include the following statements:

           a. “Only rarely does opioid medication cause a true addiction when prescribed
              appropriately to a chronic pain patient who does not have a prior history of
              addiction.”

           b. “It is currently recommended that every chronic pain patient suffering from
              moderate to severe pain be viewed as a potential candidate for opioid therapy.”

           c. “When chronic pain patients take opioids to treat their pain, they rarely develop a
              true addiction and drug craving.”

           d. “Only a minority of chronic pain patients who are taking long-term opioids
              develop tolerance.”

           e. “The bottom line: Only rarely does opioid medication cause a true addiction
              when prescribed appropriately to a chronic pain patient who does not have a prior
              history of addiction.”

           f. “Here are the facts. It is very uncommon for a person with chronic pain to
              become ‘addicted’ to narcotics IF (1) he doesn’t have a prior history of any
              addiction and (2) he only takes the medication to treat pain.”

           g. “Studies have shown that many chronic pain patients can experience significant
              pain relief with tolerable side effects from opioid narcotic medication when taken
              daily and no addiction.”


       251.    In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt

stated that, “[s]adly, even today, pain frequently remains undiagnosed and either untreated or

undertreated” and cites to a report that concludes that “the majority of people with pain use their

prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied

access because of the misdeeds or carelessness of others.”


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       252.    Manufacturer Defendants’ suggestions that the opioid epidemic is the result of

bad patients who manipulate doctors to obtain opioids illicitly helped further their marketing

scheme but are at odds with the facts. While there are certainly patients who unlawfully obtain

opioids, they are a small minority. For example, patients who “doctor-shop”—i.e., visit multiple

prescribers to obtain opioid prescriptions—are responsible for roughly 2% of opioid

prescriptions. The epidemic of opioid addiction and abuse is overwhelmingly a problem of false

marketing and irresponsible distribution of the drugs.

               2.      Falsehood #2: To the extent there is a risk of addiction, it can be easily
                       identified and managed

       253.    While continuing to maintain that most patients can safely take opioids long-term

for chronic pain without becoming addicted, the Manufacturer Defendants asserted that to the

extent that some patients are at risk of opioid addiction, doctors can effectively identify and

manage that risk by using screening tools or questionnaires. In materials they produced,

sponsored, or controlled, Defendants instructed patients and prescribers that screening tools can

identify patients predisposed to addiction, thus making doctors feel more comfortable prescribing

opioids to their patients and patients more comfortable starting opioid therapy for chronic pain.

These tools, they say, identify those with higher addiction risks (stemming from personal or

family histories of substance use, mental illness, trauma, or abuse) so that doctors can then more

closely monitor those patients.

       254.    Purdue provided to prescribers its Partners Against Pain “Pain Management Kit,”

which contains several screening tools, and catalogues of Purdue materials, which included these

tools. Janssen, on its website PrescribeResponsibly.com, states that the risk of opioid addiction

“can usually be managed” through tools such as opioid agreements between patients and doctors.

The website, which directly provides screening tools to prescribers for risk assessments, includes



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a “[f]our question screener” to purportedly help physicians identify and address possible opioid

misuse.

       255.     Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for

People Living with Pain (2007), which also falsely reassured patients that opioid agreements

between doctors and patients can “ensure that you take the opioid as prescribed.”

       256.     Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, a KOL discussed

below, entitled Managing Patient’s Opioid Use: Balancing the Need and Risk. This publication

misleadingly taught prescribers that screening tools, urine tests, and patient agreements have the

effect of preventing “overuse of prescriptions” and “overdose deaths.”

       257.     Purdue sponsored a 2011 CME program titled Managing Patient’s Opioid Use:

Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

tools, patient agreements, and urine tests prevented “overuse of prescriptions” and “overdose

deaths.”

       258.     Purdue also funded a 2012 CME program called Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed prescribers that, through the use of screening tools, more frequent refills,

and other techniques, even high-risk patients showing signs of addiction could be treated with

opioids.

       259.     Endo paid for a 2007 supplement available for continuing education credit in the

Journal of Family Practice written by a doctor who became a member of Endo’s speaker’s

bureau in 2010. This publication, entitled Pain Management Dilemmas in Primary Care: Use of

Opioids, (i) recommended screening patients using tools like (a) the Opioid Risk Tool (“ORT”)

created by Dr. Webster and linked to Janssen or (b) the Screener and Opioid Assessment for

Patients with Pain, and (ii) taught that patients at high risk of addiction could safely receive


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chronic opioid therapy using a “maximally structured approach” involving toxicology screens

and pill counts. The ORT was linked to by Endo-supported websites.

       260.    There are three fundamental flaws in the Manufacturer Defendants’

representations that doctors can consistently identify and manage the risk of addiction. First,

there is no reliable scientific evidence that doctors can depend on the screening tools currently

available to materially limit the risk of addiction. Second, there is no reliable scientific evidence

that high-risk patients identified through screening can take opioids long-term without triggering

addiction, even with enhanced monitoring. Third, there is no reliable scientific evidence that

patients who are not identified through such screening can take opioids long-term without

significant danger of addiction.

               3.      Falsehood #3: Signs of addictive behavior are “pseudo addiction,”
                       requiring more opioids

       261.    The Manufacturer Defendants instructed patients and prescribers that signs of

addiction are actually indications of untreated pain, such that the appropriate response is to

prescribe even more opioids. In 1989, Dr. Haddox, who later became a Senior Medical Director

for Purdue, coined the term “pseudo addiction,” which he described as “the iatrogenic syndrome

of abnormal behavior developing as a direct consequence of inadequate pain management.” In

plain English, the notion underlying “pseudo addiction” is that people on prescription opioids

who exhibit classic signs of addiction—for example, asking for more and higher doses of

opioids, self-escalating their doses, or claiming to have lost prescriptions in order to get more

opioids—are not “addicted,” but rather are simply suffering from undertreatment of their pain,

which calls for more opioids.

       262.    In the materials and outreach they produced, sponsored, or controlled, Defendants

made each of these misrepresentations and omissions, and have never acknowledged, retracted,

or corrected them.

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       263.    Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards’

(“FSMB”) Responsible Opioid Prescribing (2007) written by Dr. Scott Fishman (“Dr.

Fishman”), a KOL discussed below, which taught that behaviors such as “requesting drugs by

name,” “demanding or manipulative behavior,” seeing more than one doctor to obtain opioids,

and hoarding, which are signs of genuine addiction, are all really signs of “pseudo addiction.”

       264.    Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

Prescribing on its website, PartnersAgainstPain.com, in 2005, and circulated this pamphlet

through at least 2007 and on its website through at least 2013. The pamphlet listed conduct

including “illicit drug use and deception” that it claimed was not evidence of true addiction but

“pseudo addiction” caused by untreated pain.

       265.    Purdue sales representatives were trained and tested on the meaning of pseudo

addiction, which they in turn communicated to prescribers.

       266.    Purdue’s Pain Management Kit endorses the concept of pseudo addiction by

claiming that “pain-relief seeking behavior can be mistaken for drug-seeking behavior.” The kit

was in use from roughly 2011 through at least June 2016.

       267.    Similarly, Endo trained its sales representatives to promote the concept of pseudo

addiction. A training module taught sales representative that addiction and pseudo addiction

were commonly confused. The module went on to state that: “The physician can differentiate

addiction from pseudo addiction by speaking to the patient about his/her pain and increasing the

patient’s opioid dose to increase pain relief.”

       268.    Endo also sponsored a NIPC CME program in 2009 titled Chronic Opioid

Therapy: Understanding Risk While Maximizing Analgesia, which promoted pseudo addiction

and listed “[d]ifferentiation among states of physical dependence, tolerance, pseudo addiction,

and addiction” as an element to be considered in awarding grants to CME providers.


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       269.    The pseudo addiction concept has never been empirically validated and in fact has

been abandoned by some of its proponents. The New York Attorney General, in a 2016

settlement with Endo, reported that “Endo’s Vice President for Pharmacovigilance and Risk

Management testified to [the NY AG] that he was not aware of any research validating the

‘pseudo addiction’ concept” and acknowledged the difficulty in distinguishing “between

addiction and ‘pseudo addiction.’” Endo thereafter agreed not to “use the term ‘pseudo

addiction’ in any training or marketing” in New York.

       270.    Janssen sponsored, funded, and edited a website called Let’s Talk Pain, which in

2009 stated “pseudo addiction … refers to patient behaviors that may occur when pain is

undertreated …. Pseudo addiction is different from true addiction because such behaviors can

be resolved with effective pain management.” This website was accessible online until at least

May 2012.

       271.    Janssen also currently runs a website, Prescriberesponsibly.com, which claims

that concerns about opioid addiction are “overestimated,” and describes pseudo addiction as “a

syndrome that causes patients to seek additional medications due to inadequate pharmacotherapy

being prescribed. Typically, when the pain is treated appropriately the inappropriate behavior

ceases.”

       272.    The CDC Guideline nowhere recommends attempting to provide more opioids to

patients exhibiting symptoms of addiction. Dr. Webster admitted that pseudo addiction “is

already something we are debunking as a concept” and became “too much of an excuse to give

patients more medication. It led us down a path that caused harm.”

               4.     Falsehood #4: Opioid withdrawal can be avoided by tapering

       273.    In an effort to downplay the risk and impact of addiction, the Manufacturer

Defendants falsely claimed that, while patients become physically dependent on opioids,


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physical dependence is not the same as addiction and can be easily addressed, if and when pain

relief is no longer desired, by gradually tapering patients’ dose to avoid the adverse effects of

withdrawal. Defendants fail to disclose the extremely difficult and painful effects that patients

can experience when they are removed from opioids—adverse effects that also make it less

likely that patients will be able to stop using the drugs. Defendants also failed to disclose how

difficult it is for patients to stop using opioids after they have used them for a prolonged period.

       274.    A non-credit educational program sponsored by Endo, Persistent Pain in the

Older Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop

using opioids, could be avoided by simply tapering a patient’s opioid dose over ten days.

However, this claim is at odds with the experience of patients addicted to opioids. Most patients

who have been taking opioids regularly will, upon stopping treatment, experience withdrawal,

characterized by intense physical and psychological effects, including anxiety, nausea,

headaches, and delirium, among others. The painful and arduous struggle to terminate use can

leave many patients unwilling or unable to give up opioids and heightens the risk of addiction.

       275.    Purdue sponsored the American Pain Foundation’s (“APF”) A Policymaker’s

Guide to Understanding Pain & Its Management, which taught that “Symptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation,” but the guide did not disclose the significant hardships that often accompany

cessation of use.

       276.    To this day, the Manufacturer Defendants have not corrected or retracted their

misrepresentations regarding tapering as a solution to opioid withdrawal.

               5.      Falsehood #5: Opioid doses can be increased without limit or greater
                       risks

       277.    In materials they produced, sponsored or controlled, Manufacturer Defendants

instructed prescribers that they could safely increase patients’ dose to achieve pain relief. Each

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of the Manufacturer Defendants’ claims was deceptive in that it omitted warnings of increased

adverse effects that occur at higher doses, effects confirmed by scientific evidence.

        278.    These misrepresentations were integral to the Manufacturer Defendants’

promotion of prescription opioids. As discussed above, patients develop a tolerance to opioids’

analgesic effects, so that achieving long-term pain relief requires constantly increasing the dose.

        279.    In a 1996 sales memo regarding OxyContin, for example, a regional manager for

Purdue instructed sales representatives to inform physicians that there is “no [] upward limit” for

dosing and ask “if there are any reservations in using a dose of 240mg-320mg of OxyContin.”

        280.    Purdue sales representatives aggressively pushed doctors to prescribe stronger

doses of opioids. For example, one Purdue sales representative wrote about how his regional

manager would drill the sales team on their upselling tactics:

        It went something like this. “Doctor, what is the highest dose of OxyContin you
        have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells you their pain
        score is still high you can increase the dose 100% to 40mg Q12h, will you do
        that?” “Okay.” “Doctor, what if that patient them came back and said their pain
        score was still high, did you know that you could increase the OxyContin dose to
        80mg Q12h, would you do that?” “I don’t know, maybe.” “Doctor, but you do
        agree that you would at least Rx the 40mg dose, right?” “Yes.”

        The next week the rep would see that same doctor and go through the same
        discussion with the goal of selling higher and higher doses of OxyContin.

        281.    These misrepresentations were particularly dangerous. As noted above, opioid

doses at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg every twelve hours

is ten times that.

        282.    In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

however, Purdue does not address the increased risk of respiratory depression and death from

increasing dose, and instead advises prescribers that “dose adjustments may be made every 1-2

days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

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increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

until they are under control, then resume upward titration.”

       283.    Endo sponsored a website, Painknowledge.com, which claimed that opioids may

be increased until “you are on the right dose of medication for your pain,” at which point further

dose increases would not be required.

       284.    Endo also published on its website a patient education pamphlet entitled

Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked, “If I take

the opioid now, will it work later when I really need it?” The response is, “The dose can be

increased …. You won’t ‘run out’ of pain relief.”

       285.    Purdue and Cephalon sponsored APF’s Treatment Options: A Guide for People

Living with Pain (2007), which taught patients that opioids have “no ceiling dose” and therefore

are safer than NSAIDs.

       286.    Manufacturer Defendants were aware of the greater dangers high dose opioids

posed. In 2013, the FDA acknowledged “that the available data do suggest a relationship

between increasing opioid dose and risk of certain adverse events” and that studies “appear to

credibly suggest a positive association between high-dose opioid use and the risk of overdose

and/or overdose mortality.” A study of the Veterans Health Administration from 2004 to 2008

found the rate of overdose deaths is directly related to maximum daily dose.

               6.      Falsehood #6: Long-term opioid use improves functioning

       287.    Despite the lack of evidence of improved function and the existence of evidence

to the contrary, the Manufacturer Defendants consistently promoted opioids as capable of

improving patients’ function and quality of life because they viewed those claims as a critical

part of their marketing strategies. In recalibrating the risk-benefit analysis for opioids, increasing

the perceived benefits of treatment was necessary to overcome its risks.


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       288.    Janssen, for example, promoted Duragesic as improving patients’ functioning and

work productivity through an ad campaign that included the following statements: “[w]ork,

uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,” “[c]hronic pain relief that

supports functionality,” and “[i]mprove[s] … physical and social functioning.”

       289.    Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

       Janssen has been stressing decreased side effects, especially constipation, as well
       as patient quality of life, as supported by patient rating compared to sustained
       release morphine…We do not have such data to support OxyContin promotion.
       … In addition, Janssen has been using the “life uninterrupted” message in
       promotion of Duragesic for non-cancer pain, stressing that Duragesic “helps
       patients think less about their pain.” This is a competitive advantage based on our
       inability to make any quality of life claims.

       290.    Despite its acknowledgment that “[w]e do not have such data to support

OxyContin promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American

Medical Association, proclaiming, “There Can Be Life With Relief,” and showing a man happily

fly-fishing alongside his grandson, implying that OxyContin would help users’ function. This ad

earned a warning letter from the FDA, which admonished, “It is particularly disturbing that your

November ad would tout ‘Life With Relief’ yet fail to warn that patients can die from taking

OxyContin.”

       291.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which claimed that “multiple clinical studies” have shown that opioids are

effective in improving daily function, psychological health, and health-related quality of life for

chronic pain patients. But the article cited as support for this in fact stated the contrary, noting

the absence of long-term studies and concluding, “[f]or functional outcomes, the other analgesics

were significantly more effective than were opioids.”




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       292.    A series of medical journal advertisements for OxyContin in 2012 presented

“Pain Vignettes”—case studies featuring patients with pain conditions persisting over several

months—that implied functional improvement. For example, one advertisement described a

“writer with osteoarthritis of the hands” and implied that OxyContin would help him work more

effectively.

       293.    Similarly, since at least May of 2011, Endo has distributed and made available on

its website, opana.com, a pamphlet promoting Opana ER with photographs depicting patients

with physically demanding jobs like those of a construction worker or chef, misleadingly

implying that the drug would provide long-term pain relief and functional improvement.

       294.    As noted above, Janssen sponsored and edited a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009), which states as “a fact” that “opioids

may make it easier for people to live normally.” This guide features a man playing golf on the

cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

“[u]sed properly, opioid medications can make it possible for people with chronic pain to ‘return

to normal.’” Similarly, Responsible Opioid Prescribing (2007), sponsored and distributed by

Teva, Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients’

function. The book remains for sale online.

       295.    In addition, Janssen’s Let’s Talk Pain, website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to “continue

to function,” falsely implying that her experience would be representative.

       296.    The APF’s Treatment Options: A Guide for People Living with Pain (2007),

sponsored by Purdue and Cephalon, counseled patients that opioids “give [pain patients] a

quality of life we deserve.” The guide was available online until APF shut its doors in May 2012.


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       297.    Endo’s NIPC website Painknowledge.com claimed that with opioids, “your level

of function should improve; you may find you are now able to participate in activities of daily

living, such as work and hobbies, that you were not able to enjoy when your pain was worse.” In

addition to “improved function,” the website touted improved quality of life as a benefit of

opioid therapy. The grant request that Endo approved for this project specifically indicated

NIPC’s intent to make claims of functional improvement.

       298.    Endo was the sponsor, through NIPC, of a series of CMEs titled Persistent Pain

in the Older Patient, which claimed that chronic opioid therapy has been “shown to reduce pain

and improve depressive symptoms and cognitive functioning.” The CME was disseminated via

webcast.

       299.    Mallinckrodt’s website, in a section on responsible use of opioids, claims that

“[t]he effective pain management offered by our medicines helps enable patients to stay in the

workplace, enjoy interactions with family and friends, and remain an active member of society.”

       300.    The Manufacturer Defendants’ claims that long-term use of opioids improves

patient function and quality of life are unsupported by clinical evidence. There are no controlled

studies of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve

patients’ pain and function long term. The FDA, for years, has made clear through warning

letters to manufacturers the lack of evidence for claims that the use of opioids for chronic pain

improves patients’ function and quality of life. Based upon a review of the existing scientific

evidence, the CDC Guideline concluded that “there is no good evidence that opioids improve

pain or function with long-term use.”

       301.    Consistent with the CDC’s findings, substantial evidence exists demonstrating

that opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health.

For example, a 2006 study-of-studies found that opioids as a class did not demonstrate


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improvement in functional outcomes over other non-addicting treatments. The few longer-term

studies of opioid use had “consistently poor results,” and “several studies have showed that

opioids for chronic pain may actually worsen pain and functioning …” along with general health,

mental health, and social function. Over time, even high doses of potent opioids often fail to

control pain, and patients exposed to such doses are unable to function normally.

          302.   The available evidence indicates opioids may worsen patients’ health and pain.

Increased duration of opioid use is strongly associated with increased prevalence of mental

health disorders (depression, anxiety, post-traumatic stress disorder, and substance abuse),

increased psychological distress, and greater health care utilization. The CDC Guideline

concluded that “[w]hile benefits for pain relief, function and quality of life with long-term opioid

use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and

significant.” According to the CDC, “for the vast majority of patients, the known, serious, and

too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for chronic

pain].”

          303.   As one pain specialist observed, “opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control pain, and

these patients are unable to function normally.” In fact, research such as a 2008 study in the

journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that

made them more likely to be disabled and unable to work. Another study demonstrated that

injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain on work disability a year later than

workers with similar injuries who received no opioids at all. Moreover, the first randomized

clinical trial designed to make head-to-head comparisons between opioids and other kinds of


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pain medications was published on March 6, 2018, in the Journal of the American Medical

Association. The study reported that “[t]here was no significant difference in pain-related

function between the 2 groups”—those whose pain was treated with opioids and those whose

pain was treated with non-opioids, including acetaminophen and other non-steroidal anti-

inflammatory drugs (“NSAIDs”) like ibuprofen. Accordingly, the study concluded: “Treatment

with opioids was not superior to treatment with nonopioid medications for improving pain-

related function over 12 months.”

               7.      Falsehood #7: Alternative forms of pain relief pose greater risks than
                       opioids

       304.    In materials they produced, sponsored or controlled, the Manufacturer Defendants

omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of

competing products so that prescribers and patients would favor opioids over other therapies

such as over-the-counter acetaminophen or over-the-counter or prescription NSAIDs.

       305.    For example, in addition to failing to disclose in promotional materials the risks of

addiction, overdose, and death, the Manufacturer Defendants routinely ignored the risks of

hyperalgesia (a “known serious risk associated with chronic opioid analgesic therapy in which

the patient becomes more sensitive to certain painful stimuli over time”); hormonal dysfunction;

decline in immune function; mental clouding, confusion, and dizziness; increased falls and

fractures in the elderly; neonatal abstinence syndrome (when an infant exposed to opioids

prenatally suffers withdrawal after birth); and potentially fatal interactions with alcohol or with

benzodiazepines (which are used to treat anxiety and may be co-prescribed with opioids,

particularly to veterans suffering from pain).

       306.    The APF’s Treatment Options: A Guide for People Living with Pain, sponsored

by Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for more than a period



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of months,” with no corresponding warning about opioids. The publication falsely attributed

10,000 to 20,000 deaths annually to NSAID overdose, when the figure is closer to 3,200.

       307.     Janssen sponsored Finding Relief: Pain Management for Older Adults (2009),

that listed dose limitations as “disadvantages” of other pain medicines but omitted any discussion

of risks of increased doses from opioids. Finding Relief described the advantages and

disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The

disadvantages of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or

liver damage if taken at high doses or for a long time,” “adverse reactions in people with

asthma,” and “can increase the risk of heart attack and stroke.” The only adverse effects of

opioids listed are “upset stomach or sleepiness” (which the brochure claims will go away) and

constipation.

       308.     Endo’s NIPC website, Painknowledge.com, contained a flyer called “Pain:

Opioid Therapy.” This publication listed opioids’ adverse effects but with significant omissions,

including hyperalgesia, immune and hormone dysfunction, cognitive impairment, tolerance,

dependence, addiction, and death.

       309.     The Endo-sponsored CME put on by NIPC, Persistent Pain in the Older Adult,

discussed above, counseled that acetaminophen should be used only short-term and includes five

slides on the FDA’s restrictions on acetaminophen and its adverse effects, including severe liver

injury and anaphylaxis (shock). In contrast, the CME downplays the risk of opioids, claiming

opioids have “possibly less potential for abuse than in younger patients,” and does not list

overdose among the adverse effects. Some of those misrepresentations are described above;

others are laid out below.




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       310.    In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for Chronic

Pain.” The article asserted:

       Opioids represent a highly effective but controversial and often misunderstood
       class of analgesic medications for controlling both chronic and acute pain. The
       phenomenon of tolerance to opioids – the gradual waning of relief at a given dose
       – and fears of abuse, diversion, and misuse of these medications by patients have
       led many clinicians to be wary of prescribing these drugs, and/or to restrict
       dosages to levels that may be insufficient to provide meaningful relief.

       311.    To help allay these prescriber concerns, Endo emphasized the risks of NSAIDs as

an alternative to opioids. The article included a case study that focused on the danger of extended

use of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal

bleed believed to have resulted from his protracted NSAID use. In contrast, the article did not

provide the same detail concerning the serious side effects associated with opioids.

       312.    Additionally, Purdue acting with Endo sponsored Overview of Management

Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

unsafe at high doses.

       313.    As a result of the Manufacturer Defendants’ deceptive promotion of opioids over

safer and more effective drugs, opioid prescriptions increased even as the percentage of patients

visiting a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000

and 2010 found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.

               8.       Falsehood #8: OxyContin provides twelve hours of pain relief

       314.    Purdue also dangerously misled doctors and patients about OxyContin’s duration

and onset of action, making the knowingly false claim that OxyContin would provide 12 hours of

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pain relief for most patients. As laid out below, Purdue made this claim for two reasons. First, it

provides the basis for both Purdue’s patent and its market niche, allowing it to both protect and

differentiate itself from competitors. Second, it allowed Purdue to imply or state outright that

OxyContin had a more even, stable release mechanism that avoided peaks and valleys and

therefore the rush that fostered addiction and attracted abusers.

        315.    Purdue promotes OxyContin as an extended-release opioid, but the oxycodone

does not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

oxycodone into the body upon administration, and the release gradually tapers, as illustrated in

the following chart, which was apparently adapted from Purdue’s own sales materials:




        316.    The reduced release of the drug over time means that the oxycodone no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

the twelve hours for which Purdue promotes it—a fact that Purdue has known at all times

relevant to this action.


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           317.   OxyContin tablets provide an initial absorption of approximately 40% of the

active medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful

opioid triggers a powerful psychological response. OxyContin thus behaves more like an

immediate release opioid, which Purdue itself once claimed was more addicting in its original

1995 FDA-approved drug label. Second, the initial burst of oxycodone means that there is less of

the drug at the end of the dosing period, which results in the drug not lasting for a full twelve

hours and precipitates withdrawal symptoms in patients, a phenomenon known as “end of dose”

failure.

           318.   The FDA has found that a “substantial number” of chronic pain patients will

experience end-of-dose failure with OxyContin.

           319.   End-of-dose failure renders OxyContin particularly dangerous because patients

begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

cycle that fuels a craving for OxyContin. For this reason, Dr. Theodore Cicero, a

neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

OxyContin’s 12-hour dosing “the perfect recipe for addiction.” Many patients will exacerbate

this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

opioid, increasing the overall number of opioids they are taking.

           320.   It was Purdue’s decision to submit OxyContin for approval with 12-hour dosing.

While the OxyContin label indicates that “[t]here are no well-controlled clinical studies

evaluating the safety and efficacy with dosing more frequently than every 12 hours,” that is

because Purdue has conducted no such studies.

           321.   Purdue falsely promoted OxyContin as if it were effective for a full twelve hours.

Its advertising in 2000 included claims that OxyContin provides “Consistent Plasma Levels Over

12 Hours.” That claim was accompanied by a doctored version of the chart on the previous page.


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The doctored version deceptively minimized the rate of end-of-dose failure by depicting 10 mg

in the table’s y-axis as if it were half of 100 mg. That chart, shown below, depicts the same

information as the chart above, but does so in a way that makes the absorption rate appear more

consistent:




       322.    Purdue’s 12-hour messaging was key to its competitive advantage over short-

acting opioids that required patients to wake in the middle of the night to take their pills. Purdue

advertisements also emphasized “Q12h” dosing. These include an advertisement in the February

2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

stated that “OxyContin’s positioning statement is ‘all of the analgesic efficacy of immediate-

release oxycodone, with convenient q12h dosing,’” and further that “[t]he convenience of q12h

dosing was emphasized as the most important benefit.”




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        323.    Purdue executives maintained the messaging of twelve-hour dosing even when

many reports surfaced that OxyContin did not, in fact, last twelve hours. Instead of

acknowledging a need for more frequent dosing, Purdue instructed its representatives to push

higher-strength pills, even though higher dosing carries its own risks, as noted above. It also

means that patients will experience higher highs and lower lows, increasing their craving for

their next pill. Nationwide, based on an analysis by the Los Angeles Times, more than 52% of

patients taking OxyContin longer than three months are on doses greater than 60 milligrams per

day—which converts to the 90 MED that the CDC Guideline urges prescribers to “avoid” or

“carefully justify.”

        324.    The information that OxyContin did not provide pain relief for a full twelve hours

was known to Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s

knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day instead

of two was set out in Purdue’s internal documents as early as 1999 and is apparent from

MEDWATCH Adverse Event reports for OxyContin.

        325.    Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

referring to “real” 12-hour dosing.

        326.    For example, in a 1996 sales strategy memo from a Purdue regional manager, the

manager emphasized that representatives should “convinc[e] the physician that there is no need”

for prescribing OxyContin in shorter intervals than the recommended 12-hour interval, and

instead the solution is prescribing higher doses.” One sales manager instructed her team that

anything shorter than 12-hour dosing “needs to be nipped in the bud. NOW!!”


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       327.    Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers were misinformed about the advantages of OxyContin in a manner that preserved

Purdue’s competitive advantage and profits, at the expense of patients, who were placed at

greater risk of overdose, addiction, and other adverse effects.

               9.      Falsehood #9: New formulations of certain opioids successfully deter
                       abuse

       328.    Rather than take the widespread abuse of and addiction to opioids as reason to

cease their untruthful marketing efforts, Manufacturer Defendants Purdue and Endo seized them

as a competitive opportunity. These companies developed and oversold “abuse-deterrent

formulations” (“ADF”) opioids as a solution to opioid abuse and as a reason that doctors could

continue to safely prescribe their opioids, as well as an advantage of these expensive branded

drugs over other opioids. These Defendants’ false and misleading marketing of the benefits of

their ADF opioids preserved and expanded their sales and falsely reassured prescribers thereby

prolonging the opioid epidemic. Other Manufacturer Defendants, including Actavis and

Mallinckrodt, also promoted their branded opioids as formulated to be less addictive or less

subject to abuse than other opioids.

       329.    The CDC Guideline confirms that “[n]o studies” support the notion that “abuse-

deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” noting

that the technologies “do not prevent opioid abuse through oral intake, the most common route of

opioid abuse, and can still be abused by non-oral routes.” Tom Frieden, the former Director of

the CDC, reported that his staff could not find “any evidence showing the updated opioids [ADF

opioids] actually reduce rates of addiction, overdoses, or death.”

                    a. Purdue’s deceptive marketing of reformulated OxyContin and Hysingla
                       ER




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         330.   Reformulated ADF OxyContin was approved by the FDA in April 2010. It was

not until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference

to the abuse-deterrent properties in its label. When Hysingla ER (extended-release hydrocodone)

launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of

abuse.

         331.   This reformulated OxyContin was introduced shortly before generic versions of

OxyContin were to become available, threatening to erode Purdue’s market share and the price it

could charge. Purdue, however, touted its introduction of ADF opioids as evidence of its good

corporate citizenship and commitment to address the problem of opioid abuse.

         332.   Despite its self-proclaimed good intention, Purdue merely incorporated its

generally deceptive tactics with respect to ADF. Purdue sales representatives regularly

overstated and misstated the evidence for and impact of the abuse-deterrent features of these

opioids. Specifically, Purdue sales representatives falsely:

            a. claimed that Purdue’s ADF opioids prevent tampering and that its ADFs could not
               be crushed or snorted;

            b. claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

            c. asserted or suggested that its ADF opioids are non-addictive or less addictive,

            d. asserted or suggested that Purdue’s ADF opioids are safer than other opioids,
               could not be abused or tampered with, and were not sought out for diversion; and

            e. failed to disclose that Purdue’s ADF opioids do not impact oral abuse or misuse.


         333.   If pressed, Purdue acknowledged that perhaps some “extreme” patients might still

abuse the drug but claimed the ADF features protect the majority of patients. These



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misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels, Purdue’s

own information, and publicly available data.

         334.   Purdue knew or should have known that reformulated OxyContin is not more

tamper-resistant than the original OxyContin and is still regularly tampered with and abused.

         335.   In 2009, the FDA noted, in permitting ADF labeling, that “the tamper-resistant

properties will have no effect on abuse by the oral route (the most common mode of abuse).” In

the 2012 medical office review of Purdue’s application to include an abuse-deterrence claim in

its label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to

OxyContin were associated with oral consumption and only 2% of deaths were associated with

recent injection and only 0.2% with snorting the drug.

         336.   The FDA’s Director of the Division of Epidemiology stated in September 2015

that no data that she had seen suggested the reformulation of OxyContin “actually made a

reduction in abuse,” between continued oral abuse, shifts to injection of other drugs (including

heroin), and defeat of the ADF mechanism. Even Purdue’s own funded research shows that half

of OxyContin abusers continued to do so orally after the reformulation rather than shift to other

drugs.

         337.   A 2013 article presented by Purdue employees based on review of data from

poison control centers, concluded that ADF OxyContin can reduce abuse, it but ignored

important negative findings. The study revealed that abuse merely shifted to other drugs and

that, when the actual incidence of harmful exposures was calculated, there were more harmful

exposures to opioids after the reformulation of OxyContin. In short, the article deceptively

emphasized the advantages and ignored the disadvantages of ADF OxyContin.

         338.   Websites and message boards used by drug abusers, such as bluelight.org and

reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER, including


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through grinding, microwaving then freezing, or drinking soda or fruit juice in which a tablet is

dissolved. Purdue has been aware of these methods of abuse for more than a decade.

       339.    One-third of the patients in a 2015 study defeated the ADF mechanism and were

able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue’s ADF

opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many users

simply shifted to other opioids such as heroin.

       340.    In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

supplemental new drug application related to reformulated OxyContin one day before FDA staff

was to release its assessment of the application. The staff review preceded an FDA advisory

committee meeting related to new studies by Purdue “evaluating the misuse and/or abuse of

reformulated OxyContin” and whether those studies “have demonstrated that the reformulated

product has a meaningful impact on abuse.” Upon information and belief, Purdue never

presented the data to the FDA because the data would not have supported claims that

OxyContin’s ADF properties reduced abuse or misuse.

       341.    Despite its own evidence of abuse, and the lack of evidence regarding the benefit

of Purdue’s ADF opioids in reducing abuse, Dr. Haddox, the Vice President of Health Policy for

Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s ADF opioids are

being abused in large numbers. Purdue’s recent advertisements in national newspapers also

continues to claim its ADF opioids as evidence of its efforts to reduce opioid abuse, continuing

to mislead prescribers, patients, payors, and the public about the efficacy of its actions.

               b. Endo’s deceptive marketing of reformulated Opana ER

       342.    As the expiration of its patent exclusivity for Opana ER neared, Endo also made

abuse-deterrence a key to its marketing strategy.




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       343.    Opana ER was particularly likely to be tampered with and abused. That is because

Opana ER has lower “bioavailability” than other opioids, meaning that the active pharmaceutical

ingredient (the “API” or opioid) does not absorb into the bloodstream as rapidly as other opioids

when taken orally. Additionally, when swallowed whole, the extended-release mechanism

remains intact, so that only 10% of Opana ER’s API is released into the patient’s bloodstream

relative to injection; when it is taken intranasally, that rate increases to 43%. The larger gap

between bioavailability when consumed orally versus snorting or injection, the greater the

incentive for users to manipulate the drug’s means of administration.

       344.    Endo knew by July 2011 that “some newer statistics around abuse and diversion

are not favorable to our product.”

       345.    In December 2011, Endo obtained approval for a new formulation of Opana ER

that added a hard coating that the company claimed made it crush-resistant.

       346.    Even prior to its approval, the FDA had advised Endo that it could not market the

new Opana ER as abuse-deterrent. The FDA found that such promotional claims “may provide a

false sense of security since the product may be chewed and ground for subsequent abuse.” In

other words, Opana ER was still crushable. Indeed, Endo’s own studies dating from 2009 and

2010 showed that Opana ER could be crushed and ground, and, in its correspondence with the

FDA, Endo admitted that “[i]t has not been established that this new formulation of Opana ER is

less subject to misuse, abuse, diversion, overdose, or addiction.”

       347.    Further, a January 4, 2011 FDA Discipline Review letter made clear to Endo that

“[t]he totality of these claims and presentations suggest that, as a result of its new formulation,

Opana ER offers a therapeutic advantage over the original formulation when this has not been

demonstrated by substantial evidence or substantial clinical experience. In addition, these claims

misleadingly minimize the risks associated with Opana ER by suggesting that the new


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formulation’s “INTAC” technology confers some form of abuse-deterrence properties when this

has not been demonstrated by substantial evidence.” The FDA acknowledged that while there is

“evidence to support some limited improvement” provided by the new coating but would not let

Endo promote any benefit because “there are several limitations to this data.” Also, Endo was

required to add language to its label specifically indicating that “Opana ER tablets may be

abused by crushing, chewing, snorting, or injecting the product. These practices will result in less

controlled delivery of the opioid and pose a significant risk to the abuser that could result in

overdose and death.”

       348.    The FDA expressed similar concerns in nearly identical language in a May 7,

2012 letter to Endo responding to a February 2, 2012, “request … for comments on a launch

Draft Professional Detail Aid … for Opana ER.” The FDA’s May 2012 letter also includes a full

two pages of comments regarding “Omissions of material facts” that Endo left out of the

promotional materials.

       349.    Endo consciously chose not to do any post-approval studies that might satisfy the

FDA. According to internal documents, the company decided, by the time its studies would be

done, generics would be on the market and “any advantages for commercials will have

disappeared. However, this lack of evidence did not deter Endo from marketing Opana ER as

ADF while its commercial window remained open.

       350.    Nonetheless, in August of 2012, Endo submitted a citizen petition asking the FDA

for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it

was less able to be crushed and snorted and that it was resistant injection by syringe. Borrowing

a page from Purdue’s playbook, Endo announced it would withdraw original Opana ER from the

market and sought a determination that its decision was made for safety reasons (its lack of

abuse-deterrence), which would prevent generic copies of original Opana ER.


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       351.    Endo then sued the FDA, seeking to force expedited consideration of its citizen

petition. The court filings confirmed Endo’s true motives: in a declaration submitted with its

lawsuit, Endo’s chief operating officer indicated that a generic version of Opana ER would

decrease the company’s revenue by up to $135 million per year. Endo also claimed that if the

FDA did not block generic competition, $125 million, which Endo spent on developing the

reformulated drug to “promote the public welfare” would be lost. The FDA responded that:

“Endo's true interest in expedited FDA consideration stems from business concerns rather than

protection of the public health.”

       352.    Despite Endo’s purported concern with public safety, not only did Endo continue

to distribute original, admittedly unsafe Opana ER for nine months after the reformulated version

became available, it declined to recall original Opana ER despite its dangers. In fact, Endo

claimed in September 2012 to be “proud” that “almost all remaining inventory” of the original

Opana ER had “been utilized.”

       353.    In its citizen petition, Endo asserted that redesigned Opana ER had “safety

advantages.” Endo even relied on its rejected assertion that Opana was less crushable to argue

that it developed Opana ER for patient safety reasons and that the new formulation would help,

for example, “where children unintentionally chew the tablets prior to an accidental ingestion.”

       354.    However, in rejecting the petition in a 2013 decision, the FDA found that “study

data show that the reformulated version's extended-release features can be compromised when

subjected to ... cutting, grinding, or chewing.” The FDA also determined that “reformulated

Opana ER” could also be “readily prepared for injections and more easily injected[.]” In fact, the

FDA warned that preliminary data—including in Endo’s own studies—suggested that a higher

percentage of reformulated Opana ER abuse is via injection than was the case with the original

formulation.


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        355.   Meanwhile, in 2012, an internal memorandum to Endo account executives noted

that abuse of Opana ER had “increased significantly” in the wake of the purportedly abuse-

deterrent formulation. In February 2013, Endo received abuse data regarding Opana ER from

Inflexxion, Inc., which gathers information from substance abusers entering treatment and

reviews abuse-focused internet discussions, that confirmed continued abuse, particularly by

injection.

        356.   In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

reformulation, injection of Opana ER increased by more than 500%. Endo’s own data, presented

in 2014, found between October 2012 and March 2014, 64% of abusers of Opana ER did so by

injection, compared with 36% for the old formulation. The transition into injection of Opana ER

made the drug even less safe than the original formulation. Injection carries risks of HIV,

Hepatitis C, and, in reformulated Opana ER’s specific case, the blood-clotting disorder

thrombotic thrombocytopenic purpura (TTP), which can cause kidney failure.

        357.   Publicly, Endo sought to marginalize the problem. On a 2013 call with investors,

when asked about an outbreak of TTP in Tennessee from injecting Opana ER, Endo sought to

limit its import by assigning it to “a very, very distinct area of the country.”

        358.   Despite its knowledge that Opana ER was widely abused and injected, Endo

marketed the drug as tamper-resistant and abuse-deterrent. Upon information and belief, based

on the company’s detailing elsewhere, Endo sales representatives informed doctors that Opana

ER was abuse-deterrent, could not be tampered with, and was safe. In addition, sales

representatives did not disclose evidence that Opana was easier to abuse intravenously and, if

pressed by prescribers, claimed that while outlier patients might find a way to abuse the drug,

most would be protected.




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       359.    A review of national surveys of prescribers regarding their “take-aways” from

pharmaceutical detailing confirms that prescribers remember being told Opana ER was tamper-

resistant. Endo also tracked messages that doctors took from its in-person marketing. Among the

advantages of Opana ER, according to participating doctors, was its “low abuse potential.” An

internal Endo document also notes that market research showed that, “[l]ow abuse potential

continues as the primary factor influencing physicians’ anticipated increase in use of Opana ER

over the next 6 months.”

       360.    In its written materials, Endo marketed Opana ER as having been designed to be

crush-resistant, knowing that this would (falsely) imply that Opana ER actually was crush-

resistant and that this crush-resistant quality would make Opana ER less likely to be abused. For

example, a June 14, 2012 Endo press release announced, “the completion of the company’s

transition of its Opana ER franchise to the new formulation designed to be crush resistant.”

       361.    The press release further stated that: “We firmly believe that the new formulation

of Opana ER, coupled with our long-term commitment to awareness and education around

appropriate use of opioids will benefit patients, physicians and payers. The press release

described the old formulation of Opana as subject to abuse and misuse but failed to disclose the

absence of evidence that reformulated Opana was any better. In September 2012, another Endo

press release stressed that reformulated Opana ER employed “INTAC Technology” and

continued to describe the drug as “designed to be crush-resistant.”

       362.    Similarly, journal advertisements that appeared in April 2013 stated Opana ER

was “designed to be crush resistant.” A January 2013 article in Pain Medicine News, based in

part on an Endo press release, described Opana ER as “crush-resistant.” This article was posted

on the Pain Medicine News website, which was accessible to patients and prescribers.




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       363.    In March 2017, because Opana ER could be “readily prepared for injection” and

was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that Opana

be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017. Endo

announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.

However, by this point, the damage had been done. Even then, Endo continued to insist, falsely,

that it “has taken significant steps over the years to combat misuse and abuse.”

               c. Other Manufacturer Defendants’ misrepresentations regarding abuse
                  deterrence

       364.    A guide for prescribers under Actavis’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. The guide declares that

“unique pharmaceutical formulation of KADIAN may offer some protection from extraction of

morphine sulfate for intravenous use by illicit users,” and “KADIAN may be less likely to be

abused by health care providers and illicit users” because of its “[s]low onset of action.” Kadian,

however, was not approved by the FDA as abuse deterrent, and, upon information and belief,

Actavis had no studies to suggest it was.

       365.    Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and

Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

example, Mallinckrodt’s promotional materials stated that “the physical properties of EXALGO

may make it difficult to extract the active ingredient using common forms of physical and

chemical tampering, including chewing, crushing and dissolving.” One member of the FDA’s

Controlled Substance Staff, however, noted in 2010 that hydromorphone has “a high abuse

potential comparable to oxycodone” and further stated that “we predict that Exalgo will have

high levels of abuse and diversion.”

       366.    With respect to Xartemis XR, Mallinckrodt’s promotional materials stated that

“XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

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active ingredient from the large quantity of inactive and deterrent ingredients.” In anticipation of

Xartemis XR’s approval, Mallinckrodt added 150-200 sales representatives to promote it, and

CEO Mark Trudeau said the drug could generate “hundreds of millions in revenue.”

       367.    While Manufacturer Defendants promote patented technology as the solution to

opioid abuse and addiction, none of their “technology” addresses the most common form of

abuse—oral ingestion—and their statements regarding abuse-deterrent formulations give the

misleading impression that these reformulated opioids can be prescribed safely.

       368.    In sum, each of the nine categories of misrepresentations discussed above

regarding the use of opioids to treat chronic pain was not supported by or was contrary to the

scientific evidence. In addition, the misrepresentations and omissions set forth above and

elsewhere in this Complaint are misleading and contrary to the Manufacturer Defendants’

products’ labels.

       B.      The Manufacturer Defendants Disseminated Their Misleading Messages
               About Opioids Through Multiple Channels

       369.    The Manufacturer Defendants’ false marketing campaign not only targeted the

medical community who had to treat chronic pain, but also patients who experience chronic pain.

       370.    The Manufacturer Defendants utilized various channels to carry out their

marketing scheme of targeting the medical community and patients with deceptive information

about opioids: (1)Front Groups with the false appearance of independence from the

Manufacturer Defendants; (2) KOLs, that is, doctors who were paid by the Manufacturer

Defendants to promote their pro-opioid message; (3) CME programs controlled and/or funded by

the Manufacturer Defendants; (4) branded advertising; (5) unbranded advertising; (6)

publications; (7) direct, targeted communications with prescribers by sales representatives; and

(8) speakers bureaus and programs.



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               1.       The Manufacturer Defendants Directed Front Groups to Deceptively
                        Promote Opioid Use

       371.    Patient advocacy groups and professional associations also became vehicles to

reach prescribers, patients, and policymakers. Manufacturer Defendants exerted influence and

effective control over the messaging by these groups by providing major funding directly to

them, as well as through KOLs who served on their boards. These Front Groups put out patient

education materials, treatment guidelines and CMEs that supported the use of opioids for chronic

pain, overstated their benefits, and understated their risks. Defendants funded these Front

Groups in order to ensure supportive messages from these seemingly neutral and credible third

parties, and their funding did, in fact, ensure such supportive messages—often at the expense of

their own constituencies.

       372.    Patient advocacy organizations and professional societies like the Front Groups

play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public. Even small organizations—with

their large numbers and credibility with policymakers and the public—have extensive influence

in specific disease areas. Larger organizations with extensive funding and outreach capabilities

likely have a substantial effect on policies relevant to their industry sponsors.

       373.    The Manufacturer Defendants made millions of dollars’ worth of contributions to

various Front Groups.

       374.    The Manufacturer Defendants also “made substantial payments to individual

group executives, staff members, board members, and advisory board members” affiliated with

the Front Groups.

       375.    The Front Groups amplified or issued messages that reinforced industry efforts to

promote opioid prescription and use, including guidelines and policies minimizing the risk of

addiction and promoting opioids for chronic pain. They also lobbied to change laws directed at

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curbing opioid use, strongly criticized landmark CDC guidelines on opioid prescribing, and

challenged legal efforts to hold physicians and industry executives responsible for over

prescription and misbranding.

        376.   The Manufacturer Defendants took an active role in guiding, reviewing, and

approving many of the false and misleading statements issued by the Front Groups, ensuring that

Defendants were consistently in control of their content. By funding, directing, editing,

approving, and distributing these materials, Defendants exercised control over and adopted their

false and deceptive messages and acted in concert with the Front Groups and through the Front

Groups, with each other to deceptively promote the use of opioids for the treatment of chronic

pain.

                   a. American Pain Foundation

        377.   The most prominent of the Front Groups was the American Pain Foundation

(“APF”). While APF held itself out as an independent patient advocacy organization, in reality it

received 90% of its funding in 2010 from the drug and medical-device industry, including from

defendants Purdue, Endo, Janssen and Cephalon. APF received more than $10 million in funding

from opioid manufacturers from 2007 until it closed its doors in May 2012. By 2011, APF was

entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and others to

avoid using its line of credit. Endo was APF’s largest donor and provided more than half of its

$10 million in funding from 2007 to 2012.

        378.   For example, APF published a guide sponsored by Cephalon and Purdue titled

Treatment Options: A Guide for People Living with Pain and distributed 17,200 copies of this

guide in one year alone, according to its 2007 annual report. This guide contains multiple

misrepresentations regarding opioid use, which are discussed below.




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        379.    APF also developed the National Initiative on Pain Control (“NIPC”), which ran a

facially unaffiliated website, www.painknowledge.com. NIPC promoted itself as an education

initiative led by its expert leadership team, including purported experts in the pain management

field. NIPC published unaccredited prescriber education programs (accredited programs are

reviewed by a third party and must meet certain requirements of independence from

pharmaceutical companies), including a series of “dinner dialogues.” But Endo substantially

controlled NIPC, by funding NIPC projects, developing, specifying, and reviewing its content,

and distributing NIPC materials. Endo’s control of NIPC was such that Endo listed it as one of

its “professional education initiative[s]” in a plan Endo submitted to the FDA. Yet, Endo’s

involvement in NIPC was nowhere disclosed on the website pages describing NIPC or

www.painknowledge.org. Endo estimated it would reach 60,000 prescribers through NIPC.

        380.    APF was often called upon to provide “patient representatives” for the

Manufacturer Defendants’ promotional activities, including for Purdue’s “Partners Against Pain”

and Janssen’s “Let’s Talk Pain.” Although APF presented itself as a patient advocacy

organization, it functioned largely as an advocate for the interests of the Manufacturer

Defendants, not patients. As Purdue told APF in 2001, the basis of a grant to the organization

was Purdue’s desire to strategically align its investments in nonprofit organizations that share

[its] business interests.

        381.    In practice, APF operated in close collaboration with Defendants, submitting

grant proposals seeking to fund activities and publications suggested by Defendants and assisting

in marketing projects for Defendants.

        382.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered

into a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave


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Purdue substantial rights to control APF’s work related to a specific promotional project.

Moreover, based on the assignment of particular Purdue “contacts” for each project and APF’s

periodic reporting on their progress, the agreement enabled Purdue to be regularly aware of the

misrepresentations APF was disseminating regarding the use of opioids to treat chronic pain in

connection with that project. The agreement gave Purdue—but not APF—the right to end the

project (and, thus, APF’s funding) for any reason. Even for projects not produced during the

terms of this Agreement, the Agreement demonstrates APF’s lack of independence and

willingness to harness itself to Purdue’s control and commercial interests, which would have

carried across all of APF’s work.

       383.    APF’s Board of Directors was largely comprised of doctors who were on the

Manufacturer Defendants’ payrolls, either as consultants or speakers at medical events. The

close relationship between APF and the Manufacturer Defendants demonstrates APF’s clear lack

of independence in its finances, management, and mission and its willingness to allow

Manufacturer Defendants to control its activities and messages supports an inference that each

Defendant that worked with it was able to exercise editorial control over its publications—even

when Defendants’ messages contradicted APF’s internal conclusions. For example, a roundtable

convened by APF and funded by Endo also acknowledged the lack of evidence to support

chronic opioid therapy. APF’s formal summary of the meeting notes concluded that: “[An]

important barrier [] to appropriate opioid management [is] the lack of confirmatory data about

the long-term safety and efficacy of opioids in non-cancer chronic pain, amid cumulative clinical

evidence.”

       384.    In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s board voted


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to dissolve the organization “due to irreparable economic circumstances.” APF then “cease[d] to

exist, effective immediately.” Without support from Manufacturer Defendants, to whom APF

could no longer be helpful, APF was no longer financially viable.

               b. American Academy of Pain Medicine and the American Pain Society

       385.    The American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial funding

from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus” statement that

endorsed opioids to treat chronic pain and claimed that the risk that patients would become

addicted to opioids was low. The Chair of the committee that issued the statement, Dr. Haddox,

was at the time a paid speaker for Purdue. The sole consultant to the committee was Dr. Russell

Portenoy (“Dr. Portenoy”), who was also a spokesperson for Purdue. The consensus statement,

which also formed the foundation of the 1998 Guidelines, was published on the AAPM’s

website.

       386.    AAPM’s corporate council includes Purdue, Depomed, Teva, and other

pharmaceutical companies. AAPM’s past presidents include Dr. Haddox (1998), Dr. Fishman

(2005), Dr. Perry G. Fine (“Dr. Fine”) (a KOL discussed below) (2011) and Dr. Webster (2013),

all of whose connections to the opioid manufacturers are well-documented as set forth below.

       387.    Fishman, who also served as a KOL for Manufacturer Defendants, stated that he

would place the organization “at the forefront” of teaching that “the risks of addiction are …

small and can be managed.”

       388.    AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000

per year (on top of other funding) to participate. The benefits included allowing members to




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present educational programs at off-site dinner symposia in connection with AAPM’s marquee

event – its annual meeting held in Palm Springs, California, or other resort locations.

       389.    AAPM describes the annual event as an “exclusive venue” for offering CMEs to

doctors. Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings. Defendants

Endo, Purdue, and Cephalon were members of the council and presented deceptive programs to

doctors who attended this annual event. The conferences sponsored by AAPM heavily

emphasized CME sessions on opioids – 37 out of roughly 40 at one conference alone.

       390.    AAPM’s staff understood that they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and

regular funding and the leadership of pro-opioid KOLs within the organization.

       391.    AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”).

AAPM, with the assistance, prompting, involvement, and funding of Defendants, issued the

treatment guidelines discussed herein, and continued to recommend the use of opioids to treat

chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines, including

KOL Dr. Fine, received support from Defendants Janssen, Cephalon, Endo, and Purdue. Of

these individuals, six received support from Purdue, eight from Teva, nine from Janssen, and

nine from Endo.

       392.    One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the guidelines were influenced by contributions that drug

companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations

and committee members.




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       393.     Dr. Gilbert Fanciullo now retired as a professor at Dartmouth College’s Geisel

School of Medicine, who also served on the AAPM/APS Guidelines panel, has since described

them as “skewed” by drug companies and “biased in many important respects,” including the

high presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and

claims of a low risk of addiction.

       394.     The 2009 Guidelines have been a particularly effective channel of deception.

They have influenced not only treating physicians, but also the scientific literature on opioids;

they were reprinted in the Journal of Pain, have been cited hundreds of times in academic

literature, were disseminated during the relevant time period, and were and are available online.

Treatment guidelines are especially influential with primary care physicians and family doctors

to whom Manufacturer Defendants promoted opioids, whose lack of specialized training in pain

management and opioids makes them more reliant on, and less able to evaluate, these guidelines.

For that reason, the CDC has recognized that treatment guidelines can “change prescribing

practices.”

       395.     The 2009 Guidelines are relied upon by doctors, especially general practitioners

and family doctors who have no specific training in treating chronic pain.

       396.     The Manufacturer Defendants widely cited and promoted the 2009 Guidelines

without disclosing the lack of evidence to support their conclusions, their involvement in the

development of the Guidelines, or their financial backing of the authors of these Guidelines. For

example, a speaker presentation prepared by Endo in 2009 titled The Role of Opana ER in the

Management of Moderate to Severe Chronic Pain relies on the AAPM/APS Guidelines while

omitting their disclaimer regarding the lack of evidence for recommending the use of opioids for

chronic pain.

                c. Federation of State Medical Boards


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       397.    The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that comprise

the FSMB membership have the power to license doctors, investigate complaints, and discipline

physicians.

       398.    The FSMB finances opioid- and pain-specific programs through grants from

Defendants.

       399.    Since 1998, the FSMB has been developing treatment guidelines for the use of

opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with

pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

author taught not that opioids could be appropriate in only limited cases after other treatments

had failed, but that opioids were “essential” for treatment of chronic pain, including as a first

prescription option.

       400.    A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

online and were available to and intended to reach physicians nationwide, including in Plaintiff’s

Community.

       401.    FSMB’s 2007 publication Responsible Opioid Prescribing was backed largely by

drug manufacturers, including Purdue, Endo and Cephalon. The publication also received

support from the American Pain Foundation and the AAPM. The publication was written by

Dr. Fishman, and Dr. Fine served on the Board of Advisors. In all, 163,131 copies of

Responsible Opioid Prescribing were distributed by state medical boards (and through the

boards, to practicing doctors). The FSMB website describes the book as “the leading continuing

medical education (CME) activity for prescribers of opioid medications.” This publication


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asserted that opioid therapy to relieve pain and improve function is a legitimate medical practice

for acute and chronic pain of both cancer and non-cancer origins; that pain is under-treated, and

that patients should not be denied opioid medications except in light of clear evidence that such

medications are harmful to the patient.

       402.    The Manufacturer Defendants relied on the 1998 Guidelines to convey the

alarming message that “under-treatment of pain” would result in official discipline, but no

discipline would result if opioids were prescribed as part of an ongoing patient relationship and

prescription decisions were documented. FSMB turned doctors’ fear of discipline on its head:

doctors, who used to believe that they would be disciplined if their patients became addicted to

opioids, were taught instead that they would be punished if they failed to prescribe opioids to

their patients with chronic pain.

               d. The Alliance for Patient Access

       403.    Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

patient advocacy and health professional organization that styles itself as “a national network of

physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

care.” It is run by Woodberry Associates LLC, a lobbying firm that was also established in 2006.

As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The list

includes J&J (parent of Janssen), Endo, Mallinckrodt, Purdue, and Cephalon. References herein

to APA include two affiliated groups: The Global Alliance for Patient Access and the Institute

for Patient Access.

       404.    APA’s board members have also directly received substantial funding from

pharmaceutical companies. For instance, board vice president Dr. Srinivas Nalamachu (“Dr.

Nalamachu”), who practices in Kansas, received more than $800,000 from 2013 through 2015

from pharmaceutical companies—nearly all of it from manufacturers of opioids or drugs that


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treat opioids’ side effects, including from defendants Endo, Insys, Purdue, and Cephalon. Dr.

Nalamachu’s clinic was raided by FBI agents in connection with an investigation of Insys and its

payment of kickbacks to physicians who prescribed Subsys. Other board members include

Dr. Robert A. Yapundich from North Carolina, who received $215,000 from 2013 through 2015

from pharmaceutical companies, including payments by defendants Cephalon and Mallinckrodt;

Dr. Jack D. Schim from California, who received more than $240,000 between 2013 and 2015

from pharmaceutical companies, including defendants Endo, Mallinckrodt and Cephalon;

Dr. Howard Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from

pharmaceutical companies, including defendants Endo, Purdue, Insys, Mallinckrodt and

Cephalon; and Dr. Robin K. Dore from California, who received $700,000 between 2013 and

2015 from pharmaceutical companies.

       405.    Among its activities, APA issued a “white paper” titled “Prescription Pain

Medication: Preserving Patient Access While Curbing Abuse.” Among other things, the white

paper criticizes prescription monitoring programs, purporting to express concern that they are

burdensome, not user friendly, and of questionable efficacy:

       Prescription monitoring programs that are difficult to use and cumbersome can
       place substantial burdens on physicians and their staff, ultimately leading many to
       stop prescribing pain medications altogether. This forces patients to seek pain
       relief medications elsewhere, which may be much less convenient and familiar
       and may even be dangerous or illegal.

       ….

       In some states, physicians who fail to consult prescription monitoring databases
       before prescribing pain medications for their patients are subject to fines; those
       who repeatedly fail to consult the databases face loss of their professional
       licensure. Such penalties seem excessive and may inadvertently target older
       physicians in rural areas who may not be facile with computers and may not have
       the requisite office staff. Moreover, threatening and fining physicians in an
       attempt to induce compliance with prescription monitoring programs represents a
       system based on punishment as opposed to incentives ….




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       We cannot merely assume that these programs will reduce prescription pain
       medication use and abuse.

       406.    The white paper also purports to express concern about policies that have been

enacted in response to the prevalence of pill mills:

       Although well intentioned, many of the policies designed to address this problem
       have made it difficult for legitimate pain management centers to operate. For
       instance, in some states, [pain management centers] must be owned by physicians
       or professional corporations, must have a Board-certified medical director, may
       need to pay for annual inspections, and are subject to increased record keeping
       and reporting requirements …. [I]t is not even certain that the regulations are
       helping prevent abuses.

       407.    In addition, in an echo of earlier industry efforts to push back against what they

termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

pain medication:

       Both pain patients and physicians can face negative perceptions and outright
       stigma. When patients with chronic pain can’t get their prescriptions for pain
       medication filled at a pharmacy, they may feel like they are doing something
       wrong—or even criminal …. Physicians can face similar stigma from peers.
       Physicians in non-pain specialty areas often look down on those who specialize in
       pain management—a situation fueled by the numerous regulations and fines that
       surround prescription pain medications.

       408.    In conclusion, the white paper states that “[p]rescription pain medications, and

specifically the opioids, can provide substantial relief for people who are recovering from

surgery, afflicted by chronic painful diseases, or experiencing pain associated with other

conditions that does not adequately respond to over-the-counter drugs.”

       409.    The APA also issues “Patient Access Champion” financial awards to members of

Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation

from unnamed donors. While the awards are ostensibly given for protecting patients’ access to

Medicare and are thus touted by their recipients as demonstrating a commitment to protecting the

rights of senior citizens and the middle class, they appear to be given to provide cover to and

reward members of Congress who have supported the APA’s agenda.

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       410.    The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing

the “suspicious orders” provision of the Comprehensive Drug Abuse Prevention and Control Act

of 1970, 21 U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”). The AAPM is also a

signatory to this letter. An internal U.S. Department of Justice (“DOJ”) memo stated that the

proposed bill “‘could actually result in increased diversion, abuse, and public health and safety

consequences’” and, according to DEA chief administrative law judge John J. Mulrooney

(“Mulrooney”), the law would make it “all but logically impossible” to prosecute manufacturers

and distributors, like the defendants here, in the federal courts. The law passed both houses of

Congress and was signed into law in 2016.

               e. The U.S. Pain Foundation

       411.    The U.S. Pain Foundation (“USPF”) was another Front Group with systematic

connections and interpersonal relationships with the Manufacturer Defendants. The USPF was

one of the largest recipients of contributions from the Manufacturer Defendants, collecting

nearly $3 million in payments between 2012 and 2015 alone. The USPF was also a critical

component of the Manufacturer Defendants’ lobbying efforts to reduce the limits on over-

prescription. The U.S. Pain Foundation advertises its ties to the Manufacturer Defendants,

listing opioid manufacturers like Pfizer, Teva, Depomed, Endo, Purdue, McNeil (i.e. Janssen),

and Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate members. Industry Front

Groups like the American Academy of Pain Management, the AAPM, the APS, and PhRMA are

also members of varying levels in the USPF.

               f. American Geriatrics Society

       412.    The American Geriatrics Society (“AGS”) was another Front Group with

systematic connections and interpersonal relationships with the Manufacturer Defendants. The


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AGS was a large recipient of contributions from the Manufacturer Defendants, including Endo,

Purdue and Janssen. AGS contracted with Purdue, Endo and Janssen to disseminate guidelines

regarding the use of opioids for chronic pain in 2002 (The Management of Persistent Pain in

Older Persons, hereinafter “2002 AGS Guidelines”) and 2009 (Pharmacological Management of

Persistent Pain in Older Persons, hereinafter “2009 AGS Guidelines”). According to news

reports, AGS has received at least $344,000 in funding from opioid manufacturers since 2009.

AGS’s complicity in the common purpose with the Manufacturer Defendants is evidenced by the

fact that AGS internal discussions in August 2009 reveal that it did not want to receive-up front

funding from drug companies, which would suggest drug company influence, but would instead

accept commercial support to disseminate pro-opioid publications.

       413.    The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

severe pain … should be considered for opioid therapy.” The panel made “strong

recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

addiction is manageable for patients, even with a prior history of drug abuse. These Guidelines

further recommended that “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse.” These recommendations are not supported by any

study or other reliable scientific evidence. Nevertheless, they have been cited over 1,833 times

in Google Scholar (which allows users to search scholarly publications that would be have been

relied on by researchers and prescribers) since their 2009 publication and as recently as this year.

       414.    Representatives of the Manufacturer Defendants, often at informal meetings at

conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS

then submitted grant proposals seeking to fund these activities and publications, knowing that

drug companies would support projects conceived as a result of these communications.




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       415.    Members of AGS Board of Directors were doctors who were on the Manufacturer

Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

many of the KOLs also served in leadership positions within the AGS.

               2.      The Manufacturer Defendants Paid KOLs to Deceptively Promote
                       Opioid Use

       416.    To falsely promote their opioids, the Manufacturer Defendants paid and cultivated

a select circle of doctors who were chosen and sponsored by the Manufacturer Defendants for

their supportive messages. As set forth below, pro-opioid doctors have been at the hub of the

Manufacturer Defendants’ well-funded, pervasive marketing scheme since its inception and were

used to create the grave misperception science and legitimate medical professionals favored the

wider and broader use of opioids. These doctors include Dr. Portenoy and Dr. Webster, as set

forth in this section, as well as Dr. Fine and Dr. Fishman, as set forth further below.

       417.    Although these KOLs were funded by the Manufacturer Defendants, the KOLs

were used extensively to present the appearance that unbiased and reliable medical research

supporting the broad use of opioid therapy for chronic pain had been conducted and was being

reported on by independent medical professionals.

       418.    As the Manufacturer Defendants’ false marketing scheme picked up steam, these

pro-opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and

gave speeches and CMEs supportive of opioid therapy for chronic pain. They served on

committees that developed treatment guidelines that strongly encouraged the use of opioids to

treat chronic pain and they were placed on boards of pro-opioid advocacy groups and

professional societies that develop, select, and present CMEs.

       419.    Through use of their KOLs and strategic placement of these KOLs throughout

every critical distribution channel of information within the medical community, the



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Manufacturer Defendants were able to exert control of each of these modalities through which

doctors receive their information.

       420.    In return for their pro-opioid advocacy, the Manufacturer Defendants’ KOLs

received money, prestige, recognition, research funding, and avenues to publish. For example,

Dr. Webster has received funding from Endo, Purdue, and Cephalon. Dr. Fine has received

funding from Janssen, Cephalon, Endo, and Purdue.

       421.    The Manufacturer Defendants carefully vetted their KOLs to ensure that they

were likely to remain on-message and supportive of the Manufacturer Defendants’ agenda. The

Manufacturer Defendants also kept close tabs on the content of the materials published by these

KOLs. And, of course, the Manufacturer Defendants kept these KOLs well-funded to enable

them to push the Manufacturer Defendants’ deceptive message out to the medical community.

       422.    Once the Manufacturer Defendants identified and funded KOLs and those KOLs

began to publish “scientific” papers supporting the Manufacturer Defendants’ false position that

opioids were safe and effective for treatment of chronic pain, the Manufacturer Defendants

poured significant funds and resources into a marketing machine that widely cited and promoted

their KOLs and studies or articles by their KOLs to drive prescription of opioids for chronic

pain. The Manufacturer Defendants cited to, distributed, and marketed these studies and articles

by their KOLs as if they were independent medical literature so that it would be well-received by

the medical community. By contrast, the Manufacturer Defendants did not support,

acknowledge, or disseminate the truly independent publications of doctors critical of the use of

chronic opioid therapy.

       423.    In their promotion of the use of opioids to treat chronic pain, the Manufacturer

Defendants’ KOLs knew that their statements were false and misleading, or they recklessly




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disregarded the truth in doing so, but they continued to publish their misstatements to benefit

themselves and the Manufacturer Defendants.

                   a. Dr. Portenoy

       424.    In 1986, Dr. Portenoy, who later became Chairman of the Department of Pain

Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same time

serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

substantial gains in employment or social function could be attributed to the institution of opioid

therapy.”

       425.    Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

dangers of long-term use of opioids:

       The traditional approach to chronic non-malignant pain does not accept the long-
       term administration of opioid drugs. This perspective has been justified by the
       perceived likelihood of tolerance, which would attenuate any beneficial effects
       over time, and the potential for side effects, worsening disability, and addiction.
       According to conventional thinking, the initial response to an opioid drug may
       appear favorable, with partial analgesia and salutary mood changes, but adverse
       effects inevitably occur thereafter. It is assumed that the motivation to improve
       function will cease as mental clouding occurs and the belief takes hold that the
       drug can, by itself, return the patient to a normal life. Serious management
       problems are anticipated, including difficulty in discontinuing a problematic
       therapy and the development of drug seeking behavior induced by the desire to
       maintain analgesic effects, avoid withdrawal, and perpetuate reinforcing psychic
       effects. There is an implicit assumption that little separates these outcomes from
       the highly aberrant behaviors associated with addiction.

(emphasis added). According to Dr. Portenoy, the foregoing problems could constitute

“compelling reasons to reject long-term opioid administration as a therapeutic strategy in all but

the most desperate cases of chronic nonmalignant pain.”

       426.    Despite having taken this position on long-term opioid treatment, Dr. Portenoy

ended up becoming a spokesperson for Purdue and other Manufacturer Defendants, promoting

the use of prescription opioids and minimizing their risks. A respected leader in the field of pain

treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians

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for Responsible Opioid Prescribing, described him “lecturing around the country as a religious-

like figure. The megaphone for Portenoy is Purdue, which flies in people to resorts to hear him

speak. It was a compelling message: ‘Docs have been letting patients suffer; nobody really gets

addicted; it’s been studied.’”

       427.    As one organizer of CME seminars who worked with Dr. Portenoy and Purdue

pointed out, “had Portenoy not had Purdue’s money behind him, he would have published some

papers, made some speeches, and his influence would have been minor. With Purdue’s millions

behind him, his message, which dovetailed with their marketing plans, was hugely magnified.”

       428.    Dr. Portenoy was also a critical component of the Manufacturer Defendants’

control over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the

APF. He was also the President of the APS.

       429.    In recent years, some of the Manufacturer Defendants’ KOLs have conceded that

many of their past claims in support of opioid use lacked evidence or support in the scientific

literature. Dr. Portenoy has now admitted that he minimized the risks of opioids, and that he

“gave innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.” He

mused, “Did I teach about pain management, specifically about opioid therapy, in a way that

reflects misinformation? Well, against the standards of 2012, I guess I did ….”

       430.    In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

Portenoy stated that his earlier work purposefully relied on evidence that was not “real” and left

real evidence behind:

       I gave so many lectures to primary care audiences in which the Porter and Jick
       article was just one piece of data that I would then cite, and I would cite six,
       seven, maybe ten different avenues of thought or avenues of evidence, none of
       which represented real evidence, and yet what I was trying to do was to create a
       narrative so that the primary care audience would look at this information in
       [total] and feel more comfortable about opioids in a way they hadn’t before. In
       essence this was education to destigmatize [opioids], and because the primary
       goal was to destigmatize, we often left evidence behind.

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       431.    Several years earlier, when interviewed by journalist Barry Meier for his 2003

book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to

have always to live with that one.”

               b. Dr. Webster

       432.    Another KOL, Dr. Webster was the co-founder and Chief Medical Director of the

Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was President in

2013 and is a current board member of AAPM, a Front Group that ardently supports chronic

opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published Endo’s

special advertising supplements touting Opana ER. Dr. Webster was the author of numerous

CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving

significant funding from Defendants (including nearly $2 million from Cephalon).

       433.    Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-

sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool (“ORT”) appear on,

or are linked to, websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via

webinar, a program sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the

Need and the Risk. Dr. Webster recommended use of risk screening tools, urine testing, and

patient agreements to prevent “overuse of prescriptions” and “overdose deaths.” This webinar

was available to and was intended to reach doctors in Cuyahoga County.

       434.    Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree

Clinic were investigated by the DEA for overprescribing opioids after twenty patients died from


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overdoses. In keeping with the Manufacturer Defendants’ promotional messages, Dr. Webster

apparently believed the solution to patients’ tolerance or addictive behaviors was more opioids:

he prescribed staggering quantities of pills.

        435.   At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

sponsored a presentation by Dr. Webster and others titled, “Open-label study of fentanyl

effervescent buccal tablets in patients with chronic pain and breakthrough pain: Interim safety

results.” The presentation’s agenda description states: “Most patients with chronic pain

experience episodes of breakthrough pain, yet no currently available pharmacologic agent is

ideal for its treatment.” The presentation purports to cover a study analyzing the safety of a new

form of fentanyl buccal tablets in the chronic pain setting and promises to show the “[i]nterim

results of this study suggest that FEBT is safe and well-tolerated in patients with chronic pain

and BTP.” This CME effectively amounted to off-label promotion of Cephalon’s opioids—the

only drugs in this category—for chronic pain, even though they were approved only for cancer

pain.

        436.   Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid

Treatment for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007 through

December 15, 2008. The CME taught that non-opioid analgesics and combination opioids

containing non-opioids such as aspirin and acetaminophen are less effective at treating

breakthrough pain because of dose limitations on the non-opioid component.

               c. Dr. Fine

        437.   Dr. Fine’s ties to the Manufacturer Defendants have been well documented. He

has authored articles and testified in court cases and before state and federal committees, and he,

too, has argued against legislation restricting high-dose opioid prescription for non-cancer

patients. He has served on Purdue’s advisory board, provided medical legal consulting for


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Janssen, and participated in CME activities for Endo, along with serving in these capacities for

several other drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as

treasurer of the AAPM from 2007 to 2010 and as president of that group from 2011 to 2013, and

was also on the board of directors of APF.

       438.    Multiple videos feature Fine delivering educational talks about prescription

opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

Smith for pain did not make her an addict before her death of a drug overdose.

       439.    He has also acknowledged having failed to disclose numerous conflicts of

interest. For example, Dr. Fine failed to fully disclose payments received as required by his

employer, the University of Utah—telling the university that he had received under $5,000 in

2010 from J&J for providing “educational” services, but J&J’s website states that the company

paid him $32,017 for consulting, promotional talks, meals and travel that year.

       440.    Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia, in

which they downplayed the risks of opioid treatment, such as respiratory depression and

addiction:

       At clinically appropriate doses … respiratory rate typically does not decline.
       Tolerance to the respiratory effects usually develops quickly, and doses can be
       steadily increased without risk.

       Overall, the literature provides evidence that the outcomes of drug abuse and
       addiction are rare among patients who receive opioids for a short period (i.e., for
       acute pain) and among those with no history of abuse who receive long-term
       therapy for medical indications.

       441.    In November 2010, Dr. Fine and others published an article presenting the results

of another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl

Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

Pain: An 18-Month Study.” In that article, Dr. Fine explained that the 18-month “open-label”

study “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP

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in a large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for

noncancer pain.” The article acknowledged that: (a) “[t]here has been a steady increase in the use

of opioids for the management of chronic noncancer pain over the past two decades”; (b) the

“widespread acceptance” had led to the publishing of practice guidelines “to provide evidence-

and consensus-based recommendations for the optimal use of opioids in the management of

chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits and harms

of opioid therapy for chronic pain.”

        442.    The article concluded: “[T]he safety and tolerability profile of FBT in this study

was generally typical of a potent opioid. The [adverse events] observed were, in most cases,

predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

events was “small.”

        443.    Multiple videos feature Dr. Fine delivering educational talks about the drugs. In

one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic

Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not only

for cancer patients, but for non-cancer patients, and suggests it may take four or five switches

over a person’s “lifetime” to manage pain. He states the “goal is to improve effectiveness which

is different from efficacy and safety.” Rather, for chronic pain patients, effectiveness “is a

balance of therapeutic good and adverse events over the course of years.” The entire program

assumes that opioids are appropriate treatment over a “protracted period of time” and even over a

patient’s entire “lifetime.” He even suggests that opioids can be used to treat sleep apnea. He

further states that the associated risks of addiction and abuse can be managed by doctors and

evaluated with “tools,” but leaves that for “a whole other lecture.”

                d. Dr. Fishman




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       444.    Dr. Fishman is a physician whose ties to the opioid drug industry are legion. He

has served as an APF board member and as president of the AAPM and has participated yearly

in numerous CME activities for which he received “market rate honoraria.” As discussed below,

he has authored publications, including the seminal guides on opioid prescribing, which were

funded by the Manufacturer Defendants. He has also worked to oppose legislation requiring

doctors and others to consult pain specialists before prescribing high doses of opioids to non-

cancer patients. He has himself acknowledged his failure to disclose all potential conflicts of

interest in a letter in the Journal of the American Medical Association titled “Incomplete

Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion.”

       445.    Dr. Fishman authored a physician’s guide on the use of opioids to treat chronic

pain titled “Responsible Opioid Prescribing,” in 2007 which promoted the notion that long-term

opioid treatment was a viable and safe option for treating chronic pain.

       446.    In 2012, Dr. Fishman updated the guide and continued emphasizing the

“catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:

       Given the magnitude of the problems related to opioid analgesics, it can be
       tempting to resort to draconian solutions: clinicians may simply stop prescribing
       opioids, or legislation intended to improve pharmacovigilance may inadvertently
       curtail patient access to care. As we work to reduce diversion and misuse of
       prescription opioids, it’s critical to remember that the problem of unrelieved pain
       remains as urgent as ever.

       447.    The updated guide still assures that “[o]pioid therapy to relieve pain and improve

function is legitimate medical practice for acute and chronic pain of both cancer and noncancer

origins.”

       448.    In another guide by Dr. Fishman, he continues to downplay the risk of addiction:

“I believe clinicians must be very careful with the label ‘addict.’ I draw a distinction between a

‘chemical coper’ and an addict.” The guide also continues to present symptoms of addiction as

symptoms of “pseudo addiction.”

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               3.      The Manufacturer Defendants Disseminated Their Misrepresentations
                       Through Continuing Medical Education

       449.    Once the Manufacturer Defendants had assembled a group of physician promoters

and built a false body of “literature,” they needed to make sure their false marketing message

was widely distributed. One way the Manufacturer Defendants did so was through CMEs.

       450.    A CME is a professional education program provided to doctors. Doctors are

required to attend a certain number and, often, type of CME programs each year as a condition of

their licensure. These programs are delivered in person, often in connection with professional

organizations’ conferences, online, and through written publications. Doctors rely on CMEs not

only to satisfy licensing requirements, but also to get information on new developments in

medicine or to deepen their knowledge in specific areas of practice. Because CMEs typically are

taught by KOLs who are highly respected in their fields, and are thought to reflect these

physicians’ medical expertise, they can be especially influential with doctors.

       451.    The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Defendants aimed to reach general practitioners, whose broad area of practice and lack of

expertise and specialized training in pain management made them particularly dependent upon

CMEs and, as a result, especially susceptible to the Manufacturer Defendants’ deceptions.

       452.    The Manufacturer Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

biased messages described in this Complaint. These CMEs, while often generically titled to

relate to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments,

inflate the benefits of opioids, and frequently omit or downplay their risks and adverse effects.




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       453.    Cephalon sponsored numerous CME programs, which were made widely

available through organizations like Medscape, LLC (“Medscape”) and which disseminated false

and misleading information to physicians across the country.

       454.    Another Cephalon-sponsored CME presentation titled Breakthrough Pain:

Treatment Rationale with Opioids was available on Medscape starting September 16, 2003 and

was given by a self-professed pain management doctor who “previously operated back, complex

pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a

non-time-dependent continuum that requires a balanced analgesia approach using “targeted

pharmacotherapeutics to affect multiple points in the pain-signaling pathway.” The doctor lists

fentanyl as one of the most effective opioids available for treating breakthrough pain, describing

its use as an expected and normal part of the pain management process. Nowhere in the CME is

cancer or cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be

limited to cancer-related pain.

       455.    Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or

noncancer-related has limited utility” and recommended Actiq and Fentora for patients with

chronic pain. The CME is still available online.

       456.    Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva. The

FSMB website described it as the “leading continuing medical education (CME) activity for

prescribers of opioid medications.” Endo sales representatives distributed copies of Responsible

Opioid Prescribing with a special introductory letter from Dr. Fishman.

       457.    In all, more than 163,000 copies of Responsible Opioid Prescribing were

distributed nationally.


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       458.    The American Medical Association (“AMA”) recognized the impropriety that

pharmaceutical company-funded CMEs creates; stating that support from drug companies with a

financial interest in the content being promoted “creates conditions in which external interests

could influence the availability and/or content” of the programs and urges that “[w]hen possible,

CME[s] should be provided without such support or the participation of individuals who have

financial interests in the education subject matter.”

       459.    Physicians attended or reviewed CMEs sponsored by the Manufacturer

Defendants during the relevant time period and were misled by them.

       460.    By sponsoring CME programs put on by Front Groups like APF, AAPM, and

others, the Manufacturer Defendants could expect instructors to deliver messages favorable to

them, as these organizations were dependent on the Manufacturer Defendants for other projects.

The sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that

supported chronic opioid therapy. Manufacturing Defendant-driven content in these CMEs had a

direct and immediate effect on prescribers’ views on opioids. Producers of CMEs and the

Manufacturer Defendants both measure the effects of CMEs on prescribers’ views on opioids

and their absorption of specific messages, confirming the strategic marketing purpose in

supporting them.

               4.      The Manufacturer Defendants Used “Branded” Advertising to Promote
                       their Products to Doctors and Consumers

       461.    The Manufacturer Defendants engaged in widespread advertising campaigns

touting the benefits of their branded drugs. The Manufacturer Defendants published print

advertisements in a broad array of medical journals, ranging from those aimed at specialists, such

as the Journal of Pain and Clinical Journal of Pain, to journals with wider medical audiences,

such as the Journal of the American Medical Association. The Manufacturer Defendants

collectively spent more than $14 million on the medical journal advertising of opioids in 2011,

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nearly triple what they spent in 2001. The 2011 total includes $8.3 million by Purdue, $4.9

million by Janssen, and $1.1 million by Endo.

       462.    The Manufacturer Defendants also targeted consumers in their advertising. They

knew that physicians are more likely to prescribe a drug if a patient specifically requests it. They

also knew that this willingness to acquiesce to such patient requests holds true even for opioids

and for conditions for which they are not approved. Endo’s research, for example, also found

that such communications resulted in greater patient “brand loyalty,” with longer durations of

Opana ER therapy and fewer discontinuations. The Manufacturer Defendants thus increasingly

took their opioid sales campaigns directly to consumers, including through patient-focused

“education and support” materials in the form of pamphlets, videos, or other publications that

patients could view in their physician’s office.

               5.      The Manufacturer Defendants Used “Unbranded” Advertising To
                       Promote Opioid Use For Chronic Pain Without FDA Review

       463.    The Manufacturer Defendants also aggressively promoted opioids through

“unbranded advertising” to generally tout the benefits of opioids without specifically naming a

particular brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

without promoting a specific product and, therefore, without providing balanced disclosures

about the product’s limits and risks. In contrast, a pharmaceutical company’s “branded”

advertisement that identifies a specific medication and its indication (i.e., the condition which the

drug is approved to treat) must also include possible side effects and contraindications—what the

FDA Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is

also subject to FDA review for consistency with the drug’s FDA-approved label. Through

unbranded materials, the Manufacturer Defendants expanded the overall acceptance of and



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demand for chronic opioid therapy without the restrictions imposed by regulations on branded

advertising.

       464.    Many of the Manufacturer Defendants utilized unbranded websites to promote

opioid use without promoting a specific branded drug, such as Purdue’s pain-management

website, www.inthefaceofpain.com. The website contained testimonials from several dozen

“advocates,” including health care providers, urging more pain treatment. The website presented

the advocates as neutral and unbiased, but an investigation by the New York Attorney General

later revealed that Purdue paid the advocates hundreds of thousands of dollars.

               6.      The Manufacturer Defendants Funded, Edited and Distributed
                       Publications That Supported Their Misrepresentations

       465.    The Manufacturer Defendants created a body of false, misleading, and

unsupported medical and popular literature about opioids that (a) understated the risks and

overstated the benefits of long-term use; (b) appeared to be the result of independent, objective

research; and (c) was likely to shape the perceptions of prescribers, patients, and payors. This

literature served marketing goals, rather than scientific standards, and was intended to persuade

doctors and consumers that the benefits of long-term opioid use outweighed the risks.

       466.    To accomplish their goal, the Manufacturer Defendants—sometimes through

third-party consultants and/or Front Groups—commissioned, edited, and arranged for the

placement of favorable articles in academic journals.

       467.    The Manufacturer Defendants’ plans for these materials did not originate in the

departments with the organizations that were responsible for research, development, or any other

area that would have specialized knowledge about the drugs and their effects on patients; rather,

they originated in the Manufacturer Defendants’ marketing departments.

       468.    The Manufacturer Defendants made sure that favorable articles were disseminated

and cited widely in the medical literature, even when the Manufacturer Defendants knew that the

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articles distorted the significance or meaning of the underlying study, as with the Porter & Jick

letter. The Manufacturer Defendants also frequently relied on unpublished data or posters,

neither of which are subject to peer review, but were presented as valid scientific evidence.

       469.    The Manufacturer Defendants published or commissioned deceptive review

articles, letters to the editor, commentaries, case-study reports, and newsletters aimed at

discrediting or suppressing negative information that contradicted their claims or raised concerns

about chronic opioid therapy.

       470.    For example, in 2007 Cephalon sponsored the publication of an article titled

“Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer Pain:

Patient Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,” published

in the nationally circulated journal Pain Medicine, to support its effort to expand the use of its

branded fentanyl products. The article’s authors (including Dr. Webster) stated that the “OTFC

[fentanyl] has been shown to relieve BTP more rapidly than conventional oral, normal-release, or

‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a qualitative

evaluation of the effect of BTP on the [quality of life] of noncancer pain patients.” The number-

one-diagnosed cause of chronic pain in the patients studied was back pain (44%), followed by

musculoskeletal pain (12%) and head pain (7%). The article cites Dr. Portenoy and recommends

fentanyl for non-cancer BTP patients:

       In summary, BTP appears to be a clinically important condition in patients with
       chronic noncancer pain and is associated with an adverse impact on QoL. This
       qualitative study on the negative impact of BTP and the potential benefits of BTP-
       specific therapy suggests several domains that may be helpful in developing BTP-
       specific, QoL assessment tools.

               7.      The Manufacturer Defendants Used Sales Representatives to Directly
                       Disseminate Their Misrepresentations to Prescribers

       471.    The Manufacturer Defendants’ sales representatives executed carefully crafted

marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

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doctors with centrally orchestrated messages. The Manufacturer Defendants’ sales

representatives also distributed third-party marketing material to their target audience that was

deceptive.

       472.    Each Manufacturing Defendant promoted opioids through sales representatives

(also called “detailers”) and, upon information and belief, small group speaker programs to reach

out to individual prescribers. By establishing close relationships with doctors, the Manufacturer

Defendants were able to disseminate their misrepresentations in targeted, one-on-one settings

that allowed them to promote their opioids and to allay individual prescribers’ concerns about

prescribing opioids for chronic pain.

       473.    In accordance with common industry practice, the Manufacturer Defendants

purchase and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare

data collection, management and analytics corporation. This data allows them to track precisely

the rates of initial and renewal prescribing by individual doctors, which allows them to target and

tailor their appeals. Sales representatives visited hundreds of thousands of doctors and

disseminated the misinformation and materials described above.

       474.    Manufacturer Defendants devoted and continue to devote massive resources to

direct sales contacts with doctors. In 2014 alone, Manufacturer Defendants spent $166 million on

detailing branded opioids to doctors. This amount is twice as much as Manufacturer Defendants

spent on detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by

Janssen, $13 million by Teva, and $10 million by Endo.

       475.    Cephalon’s quarterly spending steadily climbed from below $1 million in 2000 to

more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

with the launch of Fentora, of more than $27 million in 2007, as shown below:




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       476.    Endo’s quarterly spending went from the $2 million to $4 million range in 2000-

2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than

$38 million for the year in 2007) and more than $8 million coinciding with the launch of a

reformulated version in 2012 (and nearly $34 million for the year):




       477.    Janssen’s quarterly spending dramatically rose from less than $5 million in 2000

to more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly

spending at $142 million for 2011), as shown below:



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       478.    Purdue’s quarterly spending notably decreased from 2000 to 2007—as Purdue

came under investigation by the Department of Justice—but, as shown in the chart below, its

spending increased dramatically after it settled with the DOJ in 2007, pleaded guilty to

misleading doctors and patients about opioids, and paid a fine:




       479.    For its opioid, Actiq, Cephalon also engaged in direct marketing in direct

contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

patients and by oncologists and pain management doctors experienced in treating cancer pain.

       480.    Thousands of prescribers attended Cephalon speaking programs.
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               8.       Manufacturer Defendants Used Speakers’ Bureaus and Programs to
                        Spread Their Deceptive Messages

       481.    In addition to making sales calls, Marketing defendants’ sales representatives also

identified doctors to serve, for payment, on their speakers’ bureaus and to attend programs with

speakers and meals paid for by the Manufacturer Defendants. These speaker programs and

associated speaker trainings serve three purposes: they provide an incentive to doctors to

prescribe, or increase their prescriptions of, a particular drug; to qualify to be selected a forum in

which to further market to the speaker himself or herself; and an opportunity to market to the

speaker’s peers. The Manufacturer Defendants grade their speakers, and future opportunities are

based on speaking performance, post-program sales, and product usage. Purdue, Janssen, Endo,

Cephalon, and Mallinckrodt each made thousands of payments to physicians nationwide, for

activities including participating on speakers’ bureaus, providing consulting services, and other

services.

       482.    As detailed below, Insys paid prescribers for fake speakers’ programs in exchange

for prescribing its product, Subsys. Insys’s schemes resulted in countless speakers’ programs at

which the designated speaker did not speak, and, on many occasions, speaker programs at which

the only attendees at the events were the speaker and an Insys sales representative. It was a pay-

to-prescribe program.

       483.    Insys used speakers’ programs as a front to pay for prescriptions and paid to push

opioids onto patients who did not need them.

       C.      The Manufacturer Defendants Targeted Vulnerable Populations

       484.    The Manufacturer Defendants specifically targeted their marketing at two

vulnerable populations—the elderly and veterans.




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       485.    Elderly patients taking opioids have been found to be exposed to elevated fracture

risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression which occurs more frequently in elderly patients.

       486.    The Manufacturer Defendants promoted the notion—without adequate scientific

foundation—that the elderly is particularly unlikely to become addicted to opioids. The AGS

2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the risk of

addiction as “exceedingly low in older patients with no current or past history of substance

abuse.” (emphasis added). As another example, an Endo-sponsored CME put on by NIPC,

Persistent Pain in the Older Adult, taught that prescribing opioids to older patients carried

“possibly less potential for abuse than in younger patients.” Contrary to these assertions,

however, a 2010 study examining overdoses among long-term opioid users found that patients 65

or older were among those with the largest number of serious overdoses.

       487.    Similarly, Endo targeted marketing of Opana ER towards patients over 55 years

old. Such documents show Endo treated Medicare part D patients among the “most valuable

customer segments.” However, in 2013, one pharmaceutical benefits management company

recommended against the use of Opana ER for elderly patients and unequivocally concluded:

“[f]or patients 65 and older these medications are not safe, so consult your doctor.”

       488.    According to a study published in the 2013 Journal of American Medicine,

veterans returning from Iraq and Afghanistan who were prescribed opioids have a higher

incidence of adverse clinical outcomes, such as overdoses and self-inflicted and accidental

injuries. A 2008 survey showed that prescription drug misuse among military personnel doubled

from 2002 to 2005, and then nearly tripled again over the next three years. Veterans are twice as

likely as non-veterans to die from an opioid overdose.




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       489.    Yet the Manufacturer Defendants deliberately targeted veterans with deceptive

marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen, and

distributed by APF with grants from Janssen and Endo, was written as a personal narrative of

one veteran but was in fact another vehicle for opioid promotion. Called Exit Wounds, the

publication describes opioids as “underused” and the “gold standard of pain medications” while

failing to disclose significant risks of opioid use, including the risks of fatal interactions with

benzodiazepines. According to a VA Office of Inspector General Report, 92.6% of veterans who

were prescribed opioid drugs were also prescribed benzodiazepines, despite the increased danger

of respiratory depression from the two drugs together.

       490.    Opioid prescriptions have dramatically increased for veterans and the elderly.

Since 2007, prescriptions for the elderly have grown at twice the rate of prescriptions for adults

between the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million prescriptions for

narcotic pain pills—four times as many as they did in 2001.

       D.      Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes to
               Promote Subsys

       491.    Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief. It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl

(“TIRF”).

       492.    To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

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and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.” Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

       493.    Since its launch, Subsys has been an extremely expensive medication, and its

price continues to rise each year. Depending on a patient’s dose strength and frequency of use, a

month’s supply of Subsys could cost in the thousands of dollars.

       494.    Due to its high cost, in most instances prescribers must submit Subsys

prescriptions to insurance companies or health benefit payors for prior authorization to determine

whether they will pay for the drug prior to the patient attempting to fill the prescription.

According to the U.S. Senate Homeland Security and Governmental Affairs Committee Minority

Staff Report (“Staff Report”), the prior authorization process includes “confirmation that the

patient had an active cancer diagnosis, was being treated by an opioid (and, thus, was opioid

tolerant), and was being prescribed Subsys to treat breakthrough pain that the other opioid could

not eliminate. If any one of these factors was not present, the prior authorization would be

denied ….”

       495.    These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical

histories of patients, falsely claiming that patients had cancer, and providing misleading

information to insurers and payors regarding patients’ diagnoses and medical conditions.




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       496.    Subsys has proved to be extremely profitable for Insys. Insys made

approximately $330 million in net revenue from Subsys last year. Between 2013 and 2016, the

value of Insys stock rose 296%.

       497.    Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through

its sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe

and appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses and misrepresented the appropriateness of Subsys for treatment those

conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers’

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes

had the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

       498.    Insys incentivized its sales force to engage in illegal and fraudulent conduct.

Many of the Insys sales representatives were new to the pharmaceutical industry and their base

salaries were low compared to industry standard. The compensation structure was heavily

weighted toward commissions and rewarded reps more for selling higher (and more expensive)

doses of Subsys, a “highly unusual” practice because most companies consider dosing a patient-

specific decision that should be made by a doctor.

       499.    The Insys “speakers’ program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers’ program was “in the words of his then supervisor Alec Burlakoff, ‘to get money

in the doctor’s pocket.’” Furchak went on to explain that “[t]he catch … was that doctors who

increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800

micrograms instead of 200 micrograms), would receive the invitations to the program—and the

checks.” It was a pay-to-prescribe program.


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       500.    Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.

       501.    In May of 2015, two Alabama pain specialists were arrested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers

of Subsys, though neither were oncologists. According to prosecutors, the doctors received

illegal kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat

neck, back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to

conspiracy to commit health care fraud, including engaging in a kickback scheme in order to

induce one of these doctors to prescribe Subsys. The plea agreement states that nearly all the

Subsys prescriptions written by the doctor were off-label to non-cancer patients. In May of

2017, one of the doctors was sentenced to 20 years in prison.

       502.    In June of 2015, a nurse practitioner in Connecticut described as the state’s

highest Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from

Insys for prescribing Subsys. Most of her patients were prescribed the drug for chronic pain.

Insys paid the nurse as a speaker for more than 70 dinner programs at approximately $1,000 per

event; however, she did not give any presentations. In her guilty plea, the nurse admitted

receiving the speaker fees in exchange for writing prescriptions for Subsys.

       503.    In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.




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       504.    In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of

opioid drugs instead of to oncologists whose patients experienced the breakthrough cancer pain

for which the drug is indicated. The Illinois Complaint also details how Insys used its speaker

program to pay high volume prescribers to prescribe Subsys. The speaker events took place at

upscale restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging

from $700 to $5,100, and they could order as much food and alcohol as they wanted. At most of

the events, the “speaker” being paid by Insys did not speak, and, on many occasions, the only

attendees at the events were the speaker and an Insys sales representative.

       505.    In December of 2016, six Insys executives and managers were indicted and then,

in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis.” A Drug Enforcement

Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

companies whose products include controlled medications that can lead to addiction and

overdose have a special obligation to operate in a trustworthy, transparent manner, because their

customers’ health and safety and, indeed, very lives depend on it.”




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       E.      The Manufacturer Defendants’ Scheme Succeeded, Creating a Public Health
               Epidemic

               1.      The Manufacturer Defendants dramatically expanded opioid prescribing
                       and use

       506.    The Manufacturer Defendants necessarily expected a return on the enormous

investment they made in their deceptive marketing scheme and worked to measure and expand

their success. Their own documents show that they knew they were influencing prescribers and

increasing prescriptions. Studies also show that in doing so, they fueled an epidemic of

addiction and abuse.

       507.    Endo, for example directed the majority of its marketing budget to sales

representatives—with good results: 84% of its prescriptions were from the doctors they detailed.

Moreover, as of 2008, cancer and post-operative pain accounted for only 10% of Opana ER’s

uses; virtually all of Endo’s opioid sales—and profits—were from a market that did not exist ten

years earlier. Internal emails from Endo staff attributed increases in Opana ER sales to the

aggressiveness and persistence of sales representatives.

       508.    Cephalon also recognized the return of its efforts to market Actiq and Fentora off-

label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

increased by 92%, which Cephalon attributed to “a dedicated sales force for ACTIQ” and

“ongoing changes to [its] marketing approach including hiring additional sales representatives

and targeting our marketing efforts to pain specialists.” Actiq became Cephalon’s second best-

selling drug. By the end of 2006, Actiq’s sales had exceeded $500 million. Only 1% of the

187,076 prescriptions for Actiq filled at retail pharmacies during the first six months of 2006

were prescribed by oncologists. One measure suggested that “more than 80 percent of patients

who use[d] the drug don’t have cancer.”




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       509.    Upon information and belief, each of the Manufacturer Defendants tracked the

impact of their marketing efforts to measure their impact in changing doctors’ perceptions and

prescribing of their drugs. They purchased prescribing and survey data that allowed them to

closely monitor these trends, and they did actively monitor them. For instance, they monitored

doctors’ prescribing before and after detailing visits, and at various levels of detailing intensity,

and before and after speaker programs. Defendants invested in their aggressive and deceptive

marketing for one reason: it worked. As described in this Complaint, both in specific instances

and more generally, Defendants’ marketing changed prescribers’ willingness to prescribe

opioids, led them to prescribe more of their opioids, and persuaded them to continue prescribing

opioids or to switch to supposedly “safer” opioids, such as ADF.

       510.    This success would have come as no surprise. Drug company marketing

materially impacts doctors’ prescribing behavior. The effects of sales calls on prescribers’

behavior is well documented in the literature, including a 2017 study that found that physicians

ordered fewer promoted brand-name medications and prescribed more cost-effective generic

versions if they worked in hospitals that instituted rules about when and how pharmaceutical

sales representatives were allowed to detail prescribers. The changes in prescribing behavior

appeared strongest at hospitals that implemented the strictest detailing policies and included

enforcement measures. Another study examined four practices, including visits by sales

representatives, medical journal advertisements, direct-to-consumer advertising, and pricing, and

found that sales representatives have the strongest effect on drug utilization. An additional study

found that doctor meetings with sales representatives are related to changes in both prescribing

practices and requests by physicians to add the drugs to hospitals’ formularies.

       511.    Manufacturer Defendants spent millions of dollars to market their drugs to

prescribers and patients and meticulously tracked their return on that investment. In one recent


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survey published by the AMA, even though nine in ten general practitioners reported

prescription drug abuse to be a moderate to large problem in their communities, 88% of the

respondents said they were confident in their prescribing skills, and nearly half were comfortable

using opioids for chronic non-cancer pain. These results are directly due to the Manufacturer

Defendants’ fraudulent marketing campaign focused on several misrepresentations.

       512.    Thus, both independent studies and Manufacturer Defendants’ own behavior

confirm that Defendants’ marketing scheme dramatically increased their sales.

               2.      Manufacturer Defendants’ deception in expanding their market created
                       and fueled the opioid epidemic

       513.    Independent research demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.” It has been

estimated that 60% of the opioids that are abused come, directly or indirectly, through

physicians’ prescriptions.

       514.    There is a parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes. The opioid epidemic is “directly related to the increasingly

widespread misuse of powerful opioid pain medications.”

       515.    In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons,

the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical

“to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”




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V.     DEFENDANTS THROUGHOUT THE SUPPLY CHAIN DELIBERATELY DISREGARDED THEIR
       DUTIES TO MAINTAIN EFFECTIVE CONTROLS AND TO IDENTIFY, REPORT, AND TAKE
       STEPS TO HALT SUSPICIOUS ORDERS

       516.    The Manufacturer Defendants created a vastly and dangerously larger market for

opioids. They and the Distributor Defendants compounded this harm by facilitating the supply

of far more opioids that could have been justified to serve that market. The failure of the

Defendants to maintain effective controls, and to investigate, report, and take steps halt orders

that they knew or should have known were suspicious breached both their statutory and common

law duties.

       517.    Manufacturer Defendants’ scheme was resoundingly successful. Chronic opioid

therapy—the prescribing of opioids long-term to treat chronic pain—has become a

commonplace, and often first-line, treatment. Manufacturing Defendants’ deceptive marketing

caused prescribing not only of their opioids, but of opioids as a class, to skyrocket. According to

the CDC opioid prescriptions, as measured by number of prescriptions and morphine milligram

equivalent (“MME”) per person, tripled from 1999 to 2015. In 2015, on an average day, more

than 650,000 opioid prescriptions were dispensed in the U.S. While previously a small minority

of opioid sales, today between 80% and 90% of opioids (measured by weight) used are for

chronic pain. Approximately 20% of the population between the ages of 30 and 44, and nearly

30% of the population over 45, have used opioids. Opioids are the most common treatment for

chronic pain, and 20% of office visits now include the prescription of an opioid.

       518.    In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons,

the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical

“to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”


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        519.      As the Manufacturer Defendants increased the demand for opioids, all the

Defendants aggressively sought to bolster their revenue, increase profit, and grow their share of

the prescription painkiller market by unlawfully and surreptitiously increasing the volume of

opioids they sold. However, Defendants are not permitted to engage in a limitless expansion of

their sales through the unlawful sales of regulated painkillers. Rather, as described below,

Defendants are subject to various duties to report the quantity of Schedule II controlled

substances in order to monitor such substances and prevent oversupply and diversion into the

illicit market.

        A.        Manufacturer Defendants and Distributor Defendants Have a Duty to
                  Report Suspicious Orders and Not to Ship Those Orders Unless Due
                  Diligence Disproves Their Suspicions

        520.      Opioids are a Schedule II controlled substance under Puerto Rico law. See 24

L.P.R.A. § 2202. Opioids are categorized as “Schedule II” drugs because they have a “high

potential for abuse” and “abuse may lead to severe psychic or physical dependence.” 24 L.P.R.A.

§ 2202 (b)(2)(A),(C); 21 U.S.C. § 812(b)(2)(A),(C).

        521.      As wholesale drug distributors, each Defendant was required under Puerto Rico

law to be licensed by the Puerto Rico Department of Health. 24 L.P.R.A. § 2202 (a). To receive

and maintain this license, each of the Defendant Wholesale Distributors assumed a duty to

comply with all applicable federal, state and Commonwealth laws and regulations and all

applicable DEA, State, Commonwealth and local regulations. 24 L.P.R.A. § 2203 (b).

        522.      The Puerto Rico Department of Health may revoke, suspend, limit or refuse to

issue a license to a distributor for engaging in conduct which is harmful to the public health,

safety or welfare. 24 L.P.R.A. § 2204 (e).

        523.      Each Defendant was also required to be registered with the Puerto Rico Secretary

of Health. 24 L.P.R.A. § 2202 (a); 24 L.P.R.A. § 2203 (b).


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       524.    Each Distributor Defendant was further required to register with the DEA,

pursuant to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100.

Each Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution

of Schedule II controlled substances with a duty to comply with all security requirements

imposed under that statutory scheme.

       525.    Each Distributor Defendant has an affirmative duty under federal and Puerto Rico

law to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous

opioid drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must

maintain “effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Puerto Rico law

requires that Distributors and others maintaining stocks or having controlled substances in

production areas or on hand for distribution shall provide effective controls and procedures to

guard against theft and diversion of the substances. 24 L.P.R.A. § 2309

       526.    Puerto Rico law also requires Distributors to ensure that prescription drugs are

distributed only for lawful purposes. Licensed distributors must follow written policies and

procedures for the receipt, security, storage, inventory and distribution of prescription drugs,

including policies and procedures for identifying, recording and reporting losses or thefts. See 24

L.P.R.A. § 2309.

       527.    The Puerto Rico Controlled Substance Act prohibits the manufacture, delivery, or

possession with intent to manufacture or deliver, a controlled substance by a person not

registered under the Act, or a practitioner not registered or licensed by the appropriate

Commonwealth board. See 24 L.P.R.A. § 2401 (a).Violation of this provision as to a Schedule II

narcotic is a felony. 24 L.P.R.A. § 2401 (b).




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       528.    The Act also prohibits the dissemination or publication of any false or materially

misleading advertisement. See 24 L.P.R.A. § 2305 (a). Puerto Rico law further prohibits the

furnishing of false or fraudulent material information in, or omission of any material information

from any application, report, or other document required to be kept or filed under the Act, or any

record required to be kept by the Act. See 24 L.P.R.A. § 2306 (b); 24 L.P.R.A. § 2305 (a), (b).

       529.    Puerto Rico has declared that Puerto Rico consumers of prescription drugs will be

better assured of safe and effective prescription drug products if the Commonwealth joins with

other jurisdictions to require the licensure of all persons who operate facilities from which they

engage in the wholesale distribution of prescription drugs. Further, the legislature has declared

that it is the further intent of the General Assembly to promote the safety and effectiveness of

prescription drug products by requiring all persons who operate facilities within this

Commonwealth from which they engage in the wholesale distribution of prescription drugs to

secure a license and meet minimum quality assurance and operational standards as required by

the Act.

       530.    Federal regulations impose a non-delegable duty upon wholesale drug distributors

to “design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor] shall inform the Field Division Office of the

Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

       531.    At all relevant times, the Distributor Defendants purchased prescription opioid

drugs from manufacturers, and sold them to pharmacies and other health care providers in

Illinois and Plaintiff’s Community.




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       532.    The Distributor Defendants dominate 85% of the market share for the distribution

of prescription opioids. On information and belief, most or neatly all the prescription opioids

that were sold to health care providers within Illinois and Plaintiff’s Community were purchased

from the Distributor Defendants.

       533.    The PSCA tracks and incorporates federal regulations that require the Distributor

Defendants to “design and operate a system to disclose . . . suspicious orders of controlled

substances . . . Suspicious orders include orders of unusual size, orders deviating substantially

from a normal pattern, and orders of unusual frequency.” 35 P.S. § 780-112(c) (incorporating 21

C.F.R. § 1301.74(b)).

       534.    Recognizing a need for greater scrutiny over controlled substances due to their

potential for abuse and danger to public health and safety, the United States Congress enacted the

Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

system of distribution for all controlled substances and listed chemicals. Congress specifically

designed the closed chain of distribution to prevent the diversion of legally produced controlled

substances into the illicit market. Congress was concerned with the diversion of drugs out of

legitimate channels of distribution and acted to halt the “widespread diversion of [controlled

substances] out of legitimate channels into the illegal market.” Moreover, the closed-system was

specifically designed to ensure that there are multiple ways of identifying and preventing

diversion through active participation by registrants within the drug delivery chain. All

registrants – which includes all manufacturers and distributors of controlled substances—must

adhere to the specific security, recordkeeping, monitoring and reporting requirements that are

designed to identify or prevent diversion. When registrants at any level fail to fulfill their

obligations, the necessary checks and balances collapse. The result is the scourge of addiction

that has occurred.


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       535.    The CSA requires manufacturers and distributors of Schedule II substances like

opioids to: (a) limit sales within a quota set by the DEA for the overall production of Schedule II

substances like opioids; (b) register to manufacture or distribute opioids; (c) maintain effective

controls against diversion of the controlled substances that they manufacturer or distribute; and

(d) design and operate a system to identify suspicious orders of controlled substances, halt such

unlawful sales, and report them to the DEA.

       536.    Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade”

by controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.” When

evaluating production quotas, the DEA was instructed to consider the following information:

           a. Information provided by the Department of Health and Human Services;

           b. Total net disposal of the basic class of each drug by all manufacturers;

           c. Trends in the national rate of disposal of the basic class of drug;

           d. An applicant’s production cycle and current inventory position;

           e. Total actual or estimated inventories of the class of drug and of all substances
              manufactured from the class and trends in inventory accumulation; and

           f. Other factors such as: changes in the currently accepted medical use of substances
              manufactured for a basic class; the economic and physical availability of raw
              materials; yield and sustainability issues; potential disruptions to production; and
              unforeseen emergencies.


       537.    It is unlawful to manufacture a controlled substance in Schedule II, like

prescription opioids, in excess of a quota assigned to that class of controlled substances by the

DEA.



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       538.      To ensure that even drugs produced within quota are not diverted, federal

regulations issued under the CSA mandate that all registrants, manufacturers and distributors

alike, “design and operate a system to disclose to the registrant suspicious orders of controlled

substances.” 21 C.F.R. § 1301.74(b). Registrants are not entitled to be passive observers, but

rather “shall inform the Field Division Office of the Administration in his area of suspicious

orders when discovered by the registrant.” Id. Suspicious orders include orders of unusual size,

orders deviating substantially from a normal pattern, and orders of unusual frequency. Id. Other

red flags may include, for example, “[o]rdering the same controlled substance from multiple

distributors.”

       539.      These criteria are disjunctive and are not all inclusive. For example, if an order

deviates substantially from a normal pattern, the size of the order does not matter, and the order

should be reported as suspicious. Likewise, a distributor or manufacturer need not wait for a

normal pattern to develop over time before determining whether a particular order is suspicious.

The size of an order alone, regardless of whether it deviates from a normal pattern, is enough to

trigger the responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer but also

on the patterns of the entirety of the customer base and the patterns throughout the relevant

segment of the industry. For this reason, identification of suspicious orders serves also to identify

excessive volume of the controlled substance being shipped to a particular region.

       540.      In sum, these Defendants have several responsibilities under commonwealth and

federal law with respect to control of the supply chain of opioids. First, they must set up a

system to prevent diversion, including excessive volume and other suspicious orders. That

would include reviewing their own data, relying on their observations of prescribers and

pharmacies, and following up on reports or concerns of potential diversion. All suspicious


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orders must be reported to relevant enforcement authorities. Further, they must also stop

shipment of any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, they can determine that the order is not

likely to be diverted into illegal channels.

       541.    Commonwealth and federal statutes and regulations reflect a standard of conduct

and care below which reasonably prudent manufacturers and distributors would not fall.

Together, these laws and industry guidelines make clear that Distributor Defendants and

Manufacturer Defendants alike possess and are expected to possess specialized and sophisticated

knowledge, skill, information, and understanding of both the market for scheduled prescription

narcotics and of the risks and dangers of the diversion of prescription narcotics when the supply

chain is not properly controlled.

       542.    Further, these laws and industry guidelines make clear that the Distributor

Defendants and Manufacturer Defendants alike have a duty and responsibility to exercise their

specialized and sophisticated knowledge, information, skill, and understanding to prevent the

oversupply of prescription opioids and minimize the risk of their diversion into an illicit market.

       543.    The FTC has recognized the unique role of distributors. Since their inception,

Distributor Defendants have continued to integrate vertically by acquiring businesses that are

related to the distribution of pharmaceutical products and health care supplies. In addition to the

actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

pharmacy, or dispensing, customers a broad range of added services. For example, Distributor

Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

management system and distribution facility that allows customers to reduce inventory carrying

costs. Distributor Defendants are also able to use the combined purchase volume of their

customers to negotiate the cost of goods with manufacturers and offer services that include


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software assistance and other database management support. See Fed. Trade Comm’n v.

Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC’s motion for

preliminary injunction and holding that the potential benefits to customers did not outweigh the

potential anti-competitive effect of a proposed merger between Cardinal Health, Inc. and Bergen

Brunswig Corp.). As a result of their acquisition of a diverse assortment of related businesses

within the pharmaceutical industry, as well as the assortment of additional services they offer,

Distributor Defendants have a unique insight into the ordering patterns and activities of their

dispensing customers.

       544.    Manufacturer Defendants also have specialized and detailed knowledge of the

potential suspicious prescribing and dispensing of opioids through their regular visits to doctors’

offices and pharmacies, and from their purchase of data from commercial sources, such as IMS

Health. Their extensive boots-on-the-ground through their sales force, allows Marking

Defendants to observe the signs of suspicious prescribing and dispensing discussed elsewhere in

this Complaint—lines of seemingly healthy patients, out-of-state license plates, and cash

transactions, to name only a few. In addition, Manufacturer Defendants regularly mined data,

including, upon information, chargeback data, which allowed them to monitor the volume and

type of prescribing of doctors, including sudden increases in prescribing and unusual high dose

prescribing, which would have alerted them, independent of their sales representatives, to

suspicious prescribing. These information points gave Manufacturer Defendants insight into

prescribing and dispensing conduct that enabled them to play a valuable role in the preventing

diversion and fulfilling their obligations under the CSA.

       545.    Defendants have a duty to be vigilant in deciding whether a prospective customer

can be trusted to deliver controlled substances only for lawful purposes.




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       546.    Defendants breached their duties by failing to: (a) control the supply chain;

(b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids in quantities

they knew or should have known could not be justified and were indicative of serious problems

of overuse of opioids.

       B.      Defendants Were Aware of and Have Acknowledged Their Obligations to
               Prevent Diversion and to Report and Take Steps to Halt Suspicious Orders

       547.    The reason for the reporting rules is to create a “closed” system intended to

control the supply and reduce the diversion of these drugs out of legitimate channels into the

illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control. Both because distributors handle such large

volumes of controlled substances, and because they are uniquely positioned, based on their

knowledge of their customers and orders, as the first line of defense in the movement of legal

pharmaceutical controlled substances from legitimate channels into the illicit market,

distributors’ obligation to maintain effective controls to prevent diversion of controlled

substances is critical. Should a distributor deviate from these checks and balances, the closed

system of distribution, designed to prevent diversion, collapses.

       548.    Defendants were aware they had an important role to play in this system, and also

knew or should have known that their failure to comply with their obligations would have

serious consequences.

       549.    Recently, Mallinckrodt, a prescription opioid manufacturer, admitted in a

settlement with DEA that “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to

maintain effective controls against diversion, including a requirement that it review and monitor

these sales and report suspicious orders to DEA.” Mallinckrodt further stated that it “recognizes

the importance of the prevention of diversion of the controlled substances they manufacture” and

agreed that it would “design and operate a system that meets the requirements of 21 CFR

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1301.74(b) . . . [such that it would] utilize all available transaction information to identify

suspicious orders of any Mallinckrodt product.” Mallinckrodt specifically agreed “to notify DEA

of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.”

       550.    Trade organizations to which Defendants belong have acknowledged that

wholesale distributors have been responsible for reporting suspicious orders for more than 40

years. The Healthcare Distribution Alliance (“HDA”), formerly known as the Healthcare

Distribution Management Association (“HDMA”), a trade association of pharmaceutical

distributors to which Distributor Defendants belong, has long taken the position that distributors

have responsibilities to “prevent diversion of controlled prescription drugs” not only because

they have statutory and regulatory obligations do so, but “as responsible members of society.”

Guidelines established by the HDA also explain that distributors, “[a]t the center of a

sophisticated supply chain … are uniquely situated to perform due diligence in order to help

support the security of the controlled substances they deliver to their customers.”

       551.    The DEA also repeatedly reminded the Defendants of their obligations to report

and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and

customers, the DEA began a major push to remind distributors of their obligations to prevent

these kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA

has hosted at least five conferences that provided registrants with updated information about

diversion trends and regulatory changes. Each of the Distributor Defendants attended at least

one of these conferences. The DEA has also briefed wholesalers regarding legal, regulatory, and

due diligence responsibilities since 2006. During these briefings, the DEA pointed out the red

flags wholesale distributors should look for to identify potential diversion.


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       552.    The DEA also advised in a September 27, 2006 letter to every commercial entity

registered to distribute controlled substances that they are “one of the key components of the

distribution chain. If the closed system is to function properly … distributors must be vigilant in

deciding whether a prospective customer can be trusted to deliver controlled substances only for

lawful purposes. This responsibility is critical, as … the illegal distribution of controlled

substances has a substantial and detrimental effect on the health and general welfare of the

American people.” The DEA’s September 27, 2006 letter also expressly reminded them that

registrants, in addition to reporting suspicious orders, have a “statutory responsibility to exercise

due diligence to avoid filling suspicious orders that might be diverted into other than legitimate

medical, scientific, and industrial channels.” The same letter reminds distributors of the

importance of their obligation to “be vigilant in deciding whether a prospective customer can be

trusted to deliver controlled substances only for lawful purposes,” and warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”

       553.    The DEA sent another letter to Defendants on December 27, 2007, reminding

them that, as registered manufacturers and distributors of controlled substances, they share, and

must each abide by, statutory and regulatory duties to “maintain effective controls against

diversion” and “design and operate a system to disclose to the registrant suspicious orders of

controlled substances.” The DEA’s December 27, 2007 letter reiterated the obligation to detect,

report, and not fill suspicious orders and provided detailed guidance on what constitutes a

suspicious order and how to report (e.g., by specifically identifying an order as suspicious, not

merely transmitting data to the DEA). Finally, the letter references the Revocation of

Registration issued in Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007),

which discusses the obligation to report suspicious orders and “some criteria to use when

determining whether an order is suspicious.”


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       C.      Defendants Worked Together to Inflate the Quotas of Opioids They Could
               Distribute

       554.    Finding it impossible to legally achieve their ever-increasing sales ambitions

Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

increasing the quotas that governed the manufacture and distribution of their prescription

opioids.

       555.    Wholesale distributors such as the Distributor Defendants had close financial

relationships with both Manufacturer Defendants and customers, for whom they provide a broad

range of value-added services that render them uniquely positioned to obtain information and

control against diversion. These services often otherwise would not be provided by

manufacturers to their dispensing customers and would be difficult and costly for the dispenser

to reproduce. For example, wholesalers have sophisticated ordering systems that allow

customers to electronically order and confirm their purchases, as well as to confirm the

availability and prices of wholesalers’ stock. Through their generic source programs,

wholesalers are also able to combine the purchase volumes of customers and negotiate the cost

of goods with manufacturers. Wholesalers typically also offer marketing programs, patient

services, and other software to assist their dispensing customers.

       556.    Distributor Defendants had financial incentives from the Manufacturer

Defendants to distribute higher volumes, and thus to refrain from reporting or declining to fill

suspicious orders. Wholesale drug distributors acquire pharmaceuticals, including opioids, from

manufacturers at an established wholesale acquisition cost. Discounts and rebates from this cost

may be offered by manufacturers based on market share and volume. As a result, higher

volumes may decrease the cost per pill to distributors. Decreased cost per pill in turn, allows

wholesale distributors to offer more competitive prices, or alternatively, pocket the difference as

additional profit. Either way, the increased sales volumes result in increased profits.

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       557.    The Manufacturer Defendants engaged in the practice of paying rebates and/or

chargebacks to the Distributor Defendants for sales of prescription opioids to help them boost

sales and better target their marketing efforts. The Washington Post has described the practice as

industry-wide, and the HDA includes a “Contracts and Chargebacks Working Group,”

suggesting a standard practice. Further, in a recent settlement with the DEA, Mallinckrodt, a

prescription opioid manufacturer, acknowledged that “[a]s part of their business model

Mallinckrodt collects transaction information, referred to as chargeback data, from their direct

customers (distributors).” The transaction information contains data relating to the direct

customer sales of controlled substances to ‘downstream’ registrants,” meaning pharmacies or

other dispensaries, such as hospitals. Manufacturer Defendants buy data from pharmacies as

well. This exchange of information, upon information, and belief, would have opened channels

providing for the exchange of information revealing suspicious orders as well.

       558.    The contractual relationships among the Defendants also include vault security

programs. Defendants are required to maintain certain security protocols and storage facilities

for the manufacture and distribution of their opiates. The manufacturers negotiated agreements

whereby the Manufacturer Defendants installed security vaults for the Distributor Defendants in

exchange for agreements to maintain minimum sales performance thresholds. These agreements

were used by the Defendants as a tool to violate their reporting and diversion duties in order to

reach the required sales requirements.

       559.    In addition, Defendants worked together to achieve their common purpose

through trade or other organizations, such as the Pain Care Forum (“PCF”) and the HDA.

       560.    The Pain Care Forum (“PCF”) has been described as a coalition of drug makers,

trade groups and dozens of non-profit organizations supported by industry funding, including the

Front Groups described in this Complaint. The PCF recently became a national news story when


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it was discovered that lobbyists for members of the PCF quietly shaped federal and state policies

regarding the use of prescription opioids for more than a decade.

       561.    The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse.” Specifically, PCF members spent

over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

including opioid-related measures.

       562.    The Defendants who stood to profit from expanded prescription opioid use are

members of and/or participant in the PCF. In 2012, membership and participating organizations

included Endo, Purdue, Actavis and Cephalon. Each of the Manufacturer Defendants worked

together through the PCF. But, the Manufacturer Defendants were not alone. The Distributor

Defendants actively participated, and continue to participate in the PCF, at a minimum, through

their trade organization, the HDA. For example, he Executive Committee of the HDA currently

includes the Chief Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the

Group President, Pharmaceutical Distribution and Strategic Global Source for

AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson

Corporation. The Distributor Defendants participated directly in the PCF as well.

       563.    Additionally, the HDA led to the formation of interpersonal relationships and an

organization among the Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Distributor Defendants and the Manufacturer

Defendants including Actavis, Endo, Purdue, Mallinckrodt and Cephalon were members of the

HDA. Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Manufacturer Defendants by advocating for the many

benefits of members, including “strengthen[ing] … alliances.”


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       564.    Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading

partners,” and “make connections.” Clearly, the HDA and the Defendants believed that

membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the Marketing and Distributor Defendants.

       565.    The application for manufacturer membership in the HDA further indicates the

level of connection among the Defendants and the level of insight that they had into each other’s

businesses. For example, the manufacturer membership application must be signed by a “senior

company executive,” and it requests that the manufacturer applicant identify a key contact and

any additional contacts from within its company.

       566.    The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information. Manufacturer

members were also asked to identify their “most recent year end net sales” through wholesale

distributors, including the Distributor Defendants AmerisourceBergen, Cardinal Health, and

McKesson and their subsidiaries.

       567.    The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Marketing and Distributor Defendants with the opportunity to work closely

together, confidentially, to develop and further the common purpose and interests of the

enterprise.

       568.    The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to


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the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers … to hold strategic business discussions on the most pressing

industry issues.” The conferences also gave the Marketing and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.” The HDA and its conferences were significant opportunities

for the Marketing and Distributor Defendants to interact at a high-level of leadership. It is clear

that the Manufacturer Defendants embraced this opportunity by attending and sponsoring these

events.

          569.   After becoming members of HDA, Defendants were eligible to participate on

councils, committees, task forces and working groups, including:

             a. Industry Relations Council: “This council, composed of distributor and
                manufacturer members, provides leadership on pharmaceutical distribution and
                supply chain issues.”

             b. Business Technology Committee: “This committee provides guidance to HDA
                and its members through the development of collaborative e-commerce business
                solutions. The committee’s major areas of focus within pharmaceutical
                distribution include information systems, operational integration and the impact of
                e-commerce.” Participation in this committee includes distributor and
                manufacturer members.

             c. Logistics Operation Committee: “This committee initiates projects designed to
                help members enhance the productivity, efficiency and customer satisfaction
                within the healthcare supply chain. Its major areas of focus include process
                automation, information systems, operational integration, resource management
                and quality improvement.” Participation in this committee includes distributor and
                manufacturer members.

             d. Manufacturer Government Affairs Advisory Committee: “This committee
                provides a forum for briefing HDA’s manufacturer members on federal and state
                legislative and regulatory activity affecting the pharmaceutical distribution
                channel. Topics discussed include such issues as prescription drug traceability,
                distributor licensing, FDA and DEA regulation of distribution, importation and
                Medicaid/Medicare reimbursement.” Participation in this committee includes
                manufacturer members.

             e. Contracts and Chargebacks Working Group: “This working group explores
                how the contract administration process can be streamlined through process

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               improvements or technical efficiencies. It also creates and exchanges industry
               knowledge of interest to contract and chargeback professionals.” Participation in
               this group includes manufacturer and distributor members.


       570.    The Distributor Defendants and Manufacturer Defendants also participated,

through the HDA, in Webinars and other meetings designed to exchange detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices. For example, on April 27, 2011, the HDA offered a Webinar to

“accurately and effectively exchange business transactions between distributors and

manufacturers…” The Manufacturer Defendants used this information to gather high-level data

regarding overall distribution and direct the Distributor Defendants on how to most effectively

sell prescription opioids.

       571.    Taken together, the interaction and length of the relationships between and among

the Marketing and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Marketing and Distributor Defendants were

not two separate groups operating in isolation or two groups forced to work together in a closed

system. Defendants operated together as a united entity, working together on multiple fronts, to

engage in the unlawful sale of prescription opioids.

       572.    The HDA and the PCF are but two examples of the overlapping relationships and

concerted joint efforts to accomplish common goals and demonstrates that the leaders of each of

the Defendants were in communication and cooperation.

       573.    Publications and guidelines issued by the HDA confirm that the Defendants

utilized their membership in the HDA to form agreements. Specifically, in the fall of 2008, the

HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

Preventing Diversion of Controlled Substances (the “Industry Compliance Guidelines”)

regarding diversion. As the HDA explained in an amicus brief, the Industry Compliance

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Guidelines were the result of “[a] committee of HDMA members contribut[ing] to the

development of this publication” beginning in late 2007.

       574.    This statement by the HDA and the Industry Compliance Guidelines show that

Defendants utilized the HDA to form agreements about their approach to their duties under the

CSA. As John M. Gray, President/CEO of the HDA stated to the Energy and Commerce

Subcommittee on Health in April 2014, is “difficult to find the right balance between proactive

anti-diversion efforts while not inadvertently limiting access to appropriately prescribed and

dispensed medications.” Here, it is apparent that all the Defendants found the same balance—an

overwhelming pattern and practice of failing to identify, report, or halt suspicious orders and to

prevent diversion.

       575.    The Defendants’ scheme had a decision-making structure driven by the

Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

Defendants worked together to control the state and federal government’s response to the

manufacture and distribution of prescription opioids by increasing production quotas through a

systematic refusal to maintain effective controls against diversion and identify suspicious orders

and report them to the DEA.

       576.    The Defendants worked together to control the flow of information and influence

state and federal governments to pass legislation that supported the use of opioids and limited the

authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

       577.    The Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially

high and ensured that suspicious orders were not reported to the DEA in order to ensure that the

DEA had no basis for refusing to increase or decrease production quotas due to diversion.


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       578.    The Defendants also had reciprocal obligations under the CSA to report

suspicious orders of other parties if they became aware of them. Defendants were thus

collectively responsible for each other’s compliance with their reporting obligations.

       579.    Defendants thus knew that their own conduct could be reported by other

distributors or manufacturers and that their failure to report suspicious orders they filled could be

brought to the DEA’s attention. As a result, Defendants had an incentive to communicate with

each other about the reporting of suspicious orders to ensure consistency in their dealings with

DEA.

       580.    The desired consistency was achieved. As described below, none of the

Defendants reported suspicious orders and the flood of opioids continued unimpeded.

       D.      Defendants Kept Careful Track of Prescribing Data and Knew About
               Suspicious Orders and Prescribers

       581.    The data that reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. The data

necessary to identify with specificity the transactions that were suspicious is in possession of the

Defendants but has not been disclosed to the public.

       582.    Publicly available information confirms that Distributor and Manufacturer

Defendants funneled far more opioids into communities across the United States than could have

been expected to serve legitimate medical use and ignored other red flags of suspicious orders.

This information, along with the information known only to Distributor and Manufacturer

Defendants, would have alerted them to potentially suspicious orders of opioids.

       583.    This information includes the following facts:

            a. distributors and manufacturers have access to detailed transaction-level data on
               the sale and distribution of opioids, which can be broken down by zip code,
               prescriber, and pharmacy and includes the volume of opioids, dose, and the
               distribution of other controlled and non-controlled substances;


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           b. manufacturers make use of that data to target their marketing and, for that
              purpose, regularly monitor the activity of doctors and pharmacies;

           c. manufacturers and distributors regularly visit pharmacies and doctors to promote
              and provide their products and services, which allows them to observe red flags of
              diversion, as described in paragraphs 186 and 200;

           d. Distributor Defendants together account for approximately 90% of all revenues
              from prescription drug distribution in the United States, and each plays such a
              large part in the distribution of opioids that its own volume provides a ready
              vehicle for measuring the overall flow of opioids into a pharmacy or geographic
              area; and

           e. Manufacturer Defendants purchased chargeback data (in return for discounts to
              Distributor Defendants) that allowed them to monitor the combined flow of
              opioids into a pharmacy or geographic area.


       584.    The conclusion that Defendants were on notice of the problems of abuse and

diversion follows inescapably from the fact that they flooded communities with opioids in

quantities that they knew or should have known exceeded any legitimate market for opioids-even

the wider market for chronic pain.

       585.    At all relevant times, the Defendants were in possession of national, regional,

state, and local prescriber- and patient-level data that allowed them to track prescribing patterns

over time. They obtained this information from data companies, including but not limited to:

IMS Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics,

NDS Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline,

Wolters Kluwer, and/or PRA Health Science, and all their predecessors or successors in interest

(the “Data Vendors”).

       586.    The Distributor Defendants developed “know your customer” questionnaires

and files. This information compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the Defendants identify suspicious orders or customers who were likely to divert

prescription opioids. The “know your customer” questionnaires informed the Defendants of the


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number of pills that the pharmacies sold, how many non-controlled substances were sold

compared to controlled substances, whether the pharmacy buys from other distributors, the types

of medical providers in the area, including pain clinics, general practitioners, hospice facilities,

cancer treatment facilities, among others, and these questionnaires put the recipients on notice of

suspicious orders.

       587.    Defendants purchased nationwide, regional, state, and local prescriber- and

patient-level data from the Data Vendors that allowed them to track prescribing trends, identify

suspicious orders, identify patients who were doctor shopping, identify pill mills, etc. The Data

Vendors’ information purchased by the Defendants allowed them to view, analyze, compute, and

track their competitors’ sales, and to compare and analyze market share information.

       588.    IMS Health, for example, provided Defendants with reports detailing prescriber

behavior and the number of prescriptions written between competing products.

       589.    Similarly, Wolters Kluwer, an entity that eventually owned data mining

companies that were created by McKesson (Source) and Cardinal Health (ArcLight), provided

the Defendants with charts analyzing the weekly prescribing patterns of multiple physicians,

organized by territory, regarding competing drugs, and analyzed the market share of those drugs.

       590.    This information allowed the Defendants to track and identify instances of

overprescribing. In fact, one of the Data Vendors’ experts testified that the used the Data

Vendors’ information could be used to track, identify, report and halt suspicious orders of

controlled substances.

       591.    Defendants were, therefore, collectively aware of the suspicious orders that

flowed daily from their manufacturing and distribution facilities.

       592.    Defendants refused to identify, investigate and report suspicious orders to the

DEA when they became aware of the same despite their actual knowledge of drug diversion


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rings. As described in detail below, Defendants refused to identify suspicious orders and

diverted drugs despite the DEA issuing final decisions against the Distributor Defendants in 178

registrant actions between 2008 and 2012 and 117 recommended decisions in registrant actions

from The Office of Administrative Law Judges. These numbers include seventy-six actions

involving orders to show cause and forty-one actions involving immediate suspension orders, all

for failure to report suspicious orders.

       593.    Sales representatives were also aware that the prescription opioids they were

promoting were being diverted, often with lethal consequences. As a sales representative wrote

on a public forum:

       Actions have consequences—so some patient gets Rx’d the 80mg OxyContin
       when they probably could have done okay on the 20mg (but their doctor got
       “sold” on the 80mg) and their teen son/daughter/child’s teen friend finds the pill
       bottle and takes out a few 80’s... next they’re at a pill party with other teens and
       some kid picks out a green pill from the bowl... they go to sleep and don’t wake
       up (because they don’t understand respiratory depression) Stupid decision for a
       teen to make...yes... but do they really deserve to die?

       594.    Moreover, Defendants’ sales incentives rewarded sales representatives who

happened to have pill mills within their territories, enticing those representatives to look the

other way even when their in-person visits to such clinics should have raised numerous red flags.

In one example, a pain clinic in South Carolina was diverting massive quantities of OxyContin.

People traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA’s

diversion unit raided the clinic, and prosecutors eventually filed criminal charges against the

doctors. But Purdue’s sales representative for that territory, Eric Wilson, continued to promote

OxyContin sales at the clinic. He reportedly told another local physician that this clinic

accounted for 40% of the OxyContin sales in his territory. At that time, Wilson was Purdue’s

top-ranked sales representative. In response to news stories about this clinic, Purdue issued a




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statement, declaring that “if a doctor is intent on prescribing our medication inappropriately,

such activity would continue regardless of whether we contacted the doctor or not.”

       595.    In another example, a Purdue sales manager informed her supervisors in 2009

about a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic

with her sales representative, “it was packed with a line out the door, with people who looked

like gang members,” and that she felt “very certain that this an organized drug ring[.]” She

wrote, “This is clearly diversion. Shouldn’t the DEA be contacted about this?” But her

supervisor at Purdue responded that while they were “considering all angles,” it was “really up to

[the wholesaler] to make the report.” This pill mill was the source of 1.1 million pills trafficked

to Everett, Washington, a city of around 100,000 people. Purdue waited until after the clinic was

shut down in 2010 to inform the authorities.

       596.    A Kadian prescriber guide discusses abuse potential of Kadian. It is full of

disclaimers that Actavis has not done any studies on the topic and that the guide is “only

intended to assist you in forming your own conclusion.” However, the guide includes the

following statements: 1) “unique pharmaceutical formulation of KADIAN may offer some

protection from extraction of morphine sulfate for intravenous use by illicit users,” and 2)

“KADIAN may be less likely to be abused by health care providers and illicit users” because of

“Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to

trough plasma levels of morphine at steady state.” (p. 1-2). The guide is copyrighted by Actavis

in 2007, before Actavis officially purchased Kadian from Alpharma.

       597.    Defendant’ obligation to report suspicious prescribing ran head on into their

marketing strategy. Defendants did identify doctors who were their most prolific prescribers, but

not to report them, but to market to them. It would make little sense to focus on marketing to


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doctors who may be engaged in improper prescribing only to report them to law enforcement,

nor to report those doctors who drove Defendants’ sales.

       598.    Defendants purchased data from IMS Health (now IQVIA) or other proprietary

sources to identify doctors to target for marketing and to monitor their own and competitors’

sales. Marketing visits were focused on increasing, sustaining, or converting the prescriptions of

the biggest prescribers, particularly through aggressive, high frequency detailing visits.

       599.    For example, at a national sales meeting presentation in 2011, Actavis pressed its

sales representatives to focus on its high prescribers: “To meet and exceed our quota, we must

continue to get Kadian scripts from our loyalists. MCOs will continue to manage the pain

products more closely. We MUST have new patient starts or we will fall back into ‘the big leak’.

We need to fill the bucket faster than it leaks.” “The selling message should reflect the

opportunity and prescribing preferences of each account. High Kadian Writers / Protect and

Grow/ Grow = New Patient Starts and Conversions.” (pg 13). In an example of how new patients

+ a high volume physician can impact performance: “102% of quota was achieved by just one

high volume physician initiating Kadian on 2-3 new patients per week.”

       600.    This focus on marketing to the highest prescribers had two impacts. First, it

demonstrates that manufacturers were keenly aware of the doctors who were writing large

quantities of opioids. But instead of investigating or reporting those doctors, Defendants were

singularly focused on maintaining, capturing, or increasing their sales.

       601.    Whenever examples of opioid diversion and abuse have drawn media attention,

Purdue and other Manufacturer Defendants have consistently blamed “bad actors.” For example,

in 2001, during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed

questions about how it was that Purdue could utilize IMS Health data to assess their marketing

efforts but not notice a particularly egregious pill mill in Illinois run by a doctor named Richard


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Paolino. Udell asserted that Purdue was “fooled” by the doctor: “The picture that is painted in

the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon this

community, who caused untold suffering. And he fooled us all. He fooled law enforcement. He

fooled the DEA. He fooled local law enforcement. He fooled us.”

        602.    But given the closeness with which Defendants monitored prescribing patterns

through IMS Health data, it is highly improbable that they were “fooled.” In fact, a local

pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and alerted

authorities. Purdue had the prescribing data from the clinic but alerted no one. Indeed, a Purdue

executive referred to Purdue’s tracking system and database as a “gold mine” and acknowledged

that Purdue could identify highly suspicious volumes of prescriptions.

        603.    As discussed below, Endo knew that Opana ER was being widely abused. Yet,

the New York Attorney General revealed, based on information obtained in an investigation into

Endo, that Endo sales representatives were not aware that they had a duty to report suspicious

activity and were not trained on the company’s policies or duties to report suspicious activity,

and Endo paid bonuses to sales representatives for detailing prescribers who were subsequently

arrested for illegal prescribing.

        604.    Sales representatives making in-person visits to such clinics were likewise not

fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

alike, Manufacturer Defendants and their employees turned a collective blind eye, allowing

certain clinics to dispense staggering quantities of potent opioids and feigning surprise when the

most egregious examples eventually made the nightly news.

        E.      Manufacturer Defendants and Distributor Defendants Failed to Report
                Suspicious Orders or Otherwise Act to Prevent Diversion

        605.    As discussed above, Manufacturer Defendants and Distributor Defendants failed

to report suspicious orders, prevent diversion, or otherwise control the supply of opioids

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following into communities across America. Despite the notice described above, and in

disregard of their duties, these Defendants continued to pump massive quantities of opioids

despite their obligations to control the supply, prevent diversion, report and take steps to halt

suspicious orders.

        606.    Governmental agencies and regulators have confirmed (and in some cases

Defendants have admitted) that Defendants did not meet their obligations and have uncovered

especially blatant wrongdoing.

        607.    For example, on January 5, 2017, McKesson entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty

for, inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO;

Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La Vista, NE; Livonia, MI;

Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento, CA.

McKesson admitted that, at various times during the period from January 1, 2009 through the

effective date of the Agreement (January 17, 2017) it “did not identify or report to [the] DEA

certain orders placed by certain pharmacies which should have been detected by McKesson as

suspicious based on the guidance contained in the DEA Letters.” Upon information and belief,

McKesson engaged in similar wrongful activity in Illinois.

        608.    McKesson further admitted that, during this time period, it “failed to maintain

effective controls against diversion of particular controlled substances into other than legitimate

medical, scientific and industrial channels by sales to certain of its customers in violation of the

CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

Distribution Centers” including the McKesson Distribution Center located in Washington Court

House, Ohio. Due to these violations, McKesson agreed to a partial suspension of its authority

to distribute controlled substances from certain of its facilities some of which (including the one


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in Washington Courthouse, Ohio), investigators found “were supplying pharmacies that sold to

criminal drug rings.”

        609.     Similarly, in 2017, the Department of Justice fined Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements. The government alleged that “Mallinckrodt failed to design and

implement an effective system to detect and report ‘suspicious orders’ for controlled

substances—orders that are unusual in their frequency, size, or other patterns . . . [and]

Mallinckrodt supplied distributors, and the distributors then supplied various U.S. pharmacies

and pain clinics, an increasingly excessive quantity of oxycodone pills without notifying DEA of

these suspicious orders.” Upon information and belief, Mallinckrodt engaged in similar wrongful

activity in Illinois.

        610.     On December 23, 2016, Cardinal Health agreed to pay the United States $44

million to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida

and New York by failing to report suspicious orders of controlled substances, including

oxycodone, to the DEA. In the settlement agreement, Cardinal Health admitted, accepted, and

acknowledged that it had violated the CSA between January 1, 2009 and May 14, 2012 by failing

to:

            a. “timely identify suspicious orders of controlled substances and inform the DEA of
               those orders, as required by 21 C.F.R. §1301.74(b)”;

            b. “maintain effective controls against diversion of particular controlled substances
               into other than legitimate medical, scientific, and industrial channels, as required
               by 21 C.F.R. §1301.74, including the failure to make records and reports required
               by the CSA or DEA’s regulations for which a penalty may be imposed under 21
               U.S.C. §842(a)(5)”; and

            c. “execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA
               ‘Form 222’ order forms and their electronic equivalent for Schedule II controlled
               substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part 1305.”



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       611.    In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal Health,

as well as several smaller wholesalers, for numerous causes of action, including violations of the

CSA, consumer credit and protection, and antitrust laws and the creation of a public nuisance.

Unsealed court records from that case demonstrate that AmerisourceBergen, along with

McKesson and Cardinal Health, together shipped 423 million pain pills to West Virginia

between 2007 and 2012. AmerisourceBergen itself shipped 80.3 million hydrocodone pills and

38.4 million oxycodone pills during that time period. These quantities alone are enough to show

that the Defendants failed to control the supply chain or to report and take steps to halt

suspicious orders. In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit for

$16 million to the state; Cardinal Health settled for $20 million.

       612.    Upon information and belief, Cardinal Health and AmerisourceBergen engaged in

similar wrongful activity in Plaintiff’s Community.

       613.    H.D. Smith has also routinely been found to have violated its duties to report

suspicious orders and halt suspicious shipments of prescription opioids. According to a recent

letter from the U.S. House of Representatives Committee on Energy and Commerce, data

provided to the Committee showed that between 2007 and 2008, H.D. Smith provided two

pharmacies in Williamson, WV, a town with a population of 3,191, combined total of nearly 5

million hydrocodone and oxycodone pills—approximately 1,565 hydrocodone and oxycodone

pills for every man, woman, and child in Williamson, WV. According to press reports, H.D.

Smith distributed approximately 13.7 million hydrocodone and 4.4 million oxycodone pills to

West Virginia between 2007 and 2012. Press accounts further indicate that H.D. Smith did not

submit any suspicious order reports to the state for at least a decade. Upon information and

belief, H.D. Smith engaged in similar wrongful activities in Illinois.




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          614.   Similarly, Miami-Luken has come under DEA scrutiny for facilitating the

diversion of significant quantities of the highly addictive pain killers, oxycodone and

hydrocodone. On November 23, 2015, the DEA issued an Order to Show Cause against Miami-

Luken to begin the process of revoking Miami-Luken’s registration to distribute controlled

substances under the Controlled Substances Act. In early 2016, Miami-Luken agreed to pay the

state of West Virginia $2.5 million to resolve allegations that the company knowingly shipped

opioids to West Virginia pharmacies without exercising sufficient monitoring or control.

          615.   According to a recent letter from the U.S. House of Representatives Committee

on Energy and Commerce, data provided to the Committee showed that from 2008 to 2015

Miami-Luken provided one pharmacy in Oceana, WV, 4,391,520 hydrocodone and oxycodone

pills. Oceana, WV’s population was a mere 1,394 in 2010. As the Committee noted, this means

that in 2014 alone, Miami-Luken provided roughly 689 pills for every man, woman, and child in

Oceana. Similarly, according to the data Miami-Luken provided to the Committee, in 2008,

Miami-Luken provided two pharmacies in Kermit, WV, 2,283,700 hydrocodone and oxycodone

pills—5,624 pills for every man, woman, and child in Kermit, WV. Upon information and belief,

Miami-Luken engaged in similar wrongful activity in Illinois.

          616.   Thus, it is the various governmental agencies who have alleged or found—and the

Defendants themselves who have admitted—that the Defendants, acting in disregard of their

duties, pumped massive quantities of opioids into communities around the country despite their

obligations to control the supply, prevent diversions, and report and take steps to halt suspicious

orders.

          F.     Defendants Delayed a Response to the Opioid Crisis by Pretending to
                 Cooperate with Law Enforcement

          617.   When a manufacturer or distributor does not report or stop suspicious orders,

prescriptions for controlled substances may be written and dispensed to individuals who abuse

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them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and

results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

enforcement may be delayed in taking action—or may not know to take action at all.

       618.    After being caught failing to comply with particular obligations at particular

facilities, Distributor Defendants made broad promises to change their ways and insisted that

they sought to be good corporate citizens. As part of McKesson’s 2008 Settlement with the

DEA, McKesson claimed to have “taken steps to prevent such conduct from occurring in the

future,” including specific measures delineated in a “Compliance Addendum” to the Settlement.

Yet, in 2017, McKesson paid $150 million to resolve an investigation by the U.S. DOJ for again

failing to report suspicious orders of certain drugs, including opioids. Even though McKesson

had been sanctioned in 2008 for failure to comply with its legal obligations regarding controlling

diversion and reporting suspicious orders, and even though McKesson had specifically agreed in

2008 that it would no longer violate those obligations, McKesson continued to violate the laws in

contrast to its written agreement not to do so.

       619.    More generally, the Distributor Defendants publicly portrayed themselves as

committed to working with law enforcement, opioid manufacturers, and others to prevent

diversion of these dangerous drugs. For example, Defendant Cardinal claims that: “We

challenge ourselves to best utilize our assets, expertise and influence to make our communities

stronger and our world more sustainable, while governing our activities as a good corporate

citizen in compliance with all regulatory requirements and with a belief that doing ‘the right

thing’ serves everyone.” Defendant Cardinal likewise claims to “lead [its] industry in anti-

diversion strategies to help prevent opioids from being diverted for misuse or abuse.” Along the

same lines, it claims to “maintain a sophisticated, state-of-the-art program to identify, block and

report to regulators those orders of prescription controlled medications that do not meet [its]


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strict criteria.” Defendant Cardinal also promotes funding it provides for “Generation Rx,”

which funds grants related to prescription drug misuse. A Cardinal executive recently claimed

that Cardinal uses “advanced analytics” to monitor its supply chain; Cardinal assured the public

it was being “as effective and efficient as possible in constantly monitoring, identifying, and

eliminating any outside criminal activity.”

       620.    Along the same lines, Defendant McKesson publicly claims that its “customized

analytics solutions track pharmaceutical product storage, handling and dispensing in real time at

every step of the supply chain process,” creating the impression that McKesson uses this tracking

to help prevent diversion. Defendant McKesson has also publicly stated that it has a “best-in-

class controlled substance monitoring program to help identify suspicious orders,” and claimed it

is “deeply passionate about curbing the opioid epidemic in our country.”

       621.    Defendant AmerisourceBergen, too, has taken the public position that it is

“work[ing] diligently to combat diversion and [is] working closely with regulatory agencies and

other partners in pharmaceutical and healthcare delivery to help find solutions that will support

appropriate access while limiting misuse of controlled substances.” A company spokeswoman

also provided assurance that: “At AmerisourceBergen, we are committed to the safe and efficient

delivery of controlled substances to meet the medical needs of patients.”

       622.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Defendants, through their trade associations, HDMA and NACDS, filed an

amicus brief in Masters Pharmaceuticals, which made the following statements:

           a. “HDMA and NACDS members not only have statutory and regulatory
              responsibilities to guard against diversion of controlled prescription drugs, but
              undertake such efforts as responsible members of society.”

           b. “Distributors take seriously their duty to report suspicious orders, utilizing both
              computer algorithms and human review to detect suspicious orders based on the
              generalized information that is available to them in the ordering process.”


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       623.    Through the above statements made on their behalf by their trade associations,

and other similar statements assuring their continued compliance with their legal obligations, the

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct followed those obligations.

       624.    Defendant Mallinckrodt similarly claims to be “committed … to fighting opioid

misuse and abuse,” and further asserts that: “In key areas, our initiatives go beyond what is

required by law. We address diversion and abuse through a multidimensional approach that

includes educational efforts, monitoring for suspicious orders of controlled substances ….”

       625.    Other Manufacturer Defendants also misrepresented their compliance with their

legal duties and their cooperation with law enforcement. Purdue serves as a hallmark example of

such wrongful conduct. Purdue deceptively and unfairly failed to report to authorities illicit or

suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its

“constructive role in the fight against opioid abuse,” including its commitment to ADF opioids

and its “strong record of coordination with law enforcement.”

       626.    At the heart of Purdue’s public outreach is the claim that it works hand-in-glove

with law enforcement and government agencies to combat opioid abuse and diversion. Purdue

has consistently trumpeted this partnership since at least 2008, and the message of close

cooperation is in virtually all of Purdue’s recent pronouncements in response to the opioid abuse.

       627.    Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are acutely

aware of the public health risks these powerful medications create …. That’s why we work with

health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid

abuse and misuse ….” Purdue’s statement on “Opioids Corporate Responsibility” likewise states

that “[f]or many years, Purdue has committed substantial resources to combat opioid abuse by

partnering with … communities, law enforcement, and government.” And, responding to


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criticism of Purdue’s failure to report suspicious prescribing to government regulatory and

enforcement authorities, the website similarly proclaims that Purdue “ha[s] a long record of close

coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

diversion.” Contrary to its public statements, Purdue worked behind the scenes to push back

against law enforcement.

       628.    These public pronouncements create the misimpression that Purdue is proactively

working with law enforcement and government authorities nationwide to root out drug diversion,

including the illicit prescribing that can lead to diversion. It aims to distance Purdue from its

past conduct in deceptively marketing opioids and make its current marketing seem more

trustworthy and truthful.

       629.    Public statements by the Defendants and their associates created the false and

misleading impression to regulators, prescribers, and the public that the Defendants rigorously

carried out their legal duties, including their duty to report suspicious orders and exercise due

diligence to prevent diversion of these dangerous drugs, and further created the false impression

that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

responsibility to the communities their business practices would necessarily impact.



VI.    THE PURDUE-RELATED ADDITIONAL DEFENDANTS PARTICIPATED IN AND PROFITED
       FROM PURDUE’S WRONGDOING

       A.      Structure of the Purdue Entities and the Roles of the Purdue-Related
               Additional Defendants

       630.    At all relevant times, the Sackler Families – in particular, as detailed below,

Richard Sackler, Jonathan Sackler, Mortimer D.A. Sackler, Kathe Sackler, Beverly Sackler,

Theresa Sackler, Ilene Sackler Lefcourt, David Sackler, and Raymond Sackler Trust (“Sackler

Defendants”) – controlled Purdue and its associated companies. Purdue is part of a complex


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web of entities which the Sackler Families own and control. PPI is the managing general partner

of PPLP and of many of the various Purdue-related entities. Its status as managing general

partner of the various entities ensures PPI’s control of those entities. In turn, at all relevant times,

all the members of the board of PPI have been members of the Sackler Families or Sackler-

family retainers.

        631.    Because the Sackler Families control of the board of PPI, the officers of PPI and

PPLP reported to them. This ensured Sackler control of PPI and PPLP, even when the officers of

those entities were not themselves members of the Sackler Families.

        632.    At relevant times, Rhodes Tech or its predecessor has manufactured and supplied

PPLP with oxycodone, the active pharmaceutical ingredient in OxyContin, for use in the

manufacture of pharmaceutical preparations.

        633.    At relevant times, Rhodes Tech Inc. has manufactured and supplied PPLP with

oxycodone, the active pharmaceutical ingredient in OxyContin, for use in the manufacture of

pharmaceutical preparations or has managed Rhodes Tech or its predecessor in doing so.

        634.    At all relevant times, Rhodes Pharma has marketed a generic form of OxyContin

which is manufactured by Purdue Pharmaceuticals L.P. (“PPNC”), a Delaware limited

partnership, which is a subsidiary of PPLP and which owns and operates a pharmaceutical

manufacturing facility in Wilson, North Carolina.

        635.    At all relevant times, Rhodes Pharma Inc. has marketed a generic form of

OxyContin which is manufactured by PPNC.

        636.    At relevant times, PF Labs engaged in the business of manufacturing OxyContin

for PPLP.




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       637.    The Sackler Defendants made the decision that the Sackler Families should enter

the generic market for OxyContin in or about 2008 and that it should do so through Rhodes

Pharma, a Sackler-owned entity created for that purpose.

       638.    The Sackler Defendants caused Purdue and other associated companies that they

beneficially owned and controlled to distribute to the Sackler Families hundreds of millions of

dollars of profits earned by Purdue and its associated companies from the sale of opioids.

       639.    Each of the Sackler Defendants named herein has served on the board of directors

of, or as an officer of, Purdue and one or more Purdue-related entities.

       640.    The Sackler Defendants beneficially own and control all of the entities owned by

the Sackler Families, including PF Labs and the Rhodes Defendants, in substantially the same

way as they control PPLP and its affiliates, although they may do so using different holding

companies and trusts than those used to control PPLP. The Purdue-related entities that are not

controlled by the Sackler Defendants through PPI are controlled by them through different

entities unknown to Plaintiff.

       641.    At all relevant times, Richard Sackler played an active and central role in the

management of Purdue and the Purdue-related Defendants. He began working for Purdue as

Assistant to the President (his father, Raymond) in the 1970s. He later served as Vice President

of Marketing and Sales. In the early 1990s he became Senior Vice President, which was the

position he held at the time OxyContin was launched in 1996. In 1999, he became President, and

he served in that position until 2003.

       642.    Richard Sackler resigned as President in 2003, apparently due to a concern that

executive officers of Purdue would be held personally liable for opioid-related liabilities and

crimes. However, he continued to serve, with his uncle Mortimer, as Co-Chair of the Board of




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Purdue. In that way, among others, the family maintained control over their family-owned

business, even though they were no longer officers, because the officers reported to them.

       643.    As a senior executive of Purdue, Richard Sackler was actively involved in the

invention, development, marketing, promotion, and sale of Purdue’s opioid products, including

OxyContin. He worked tirelessly to make OxyContin a blockbuster, telling colleagues how

devoted he was to the drug’s success. Along with his father (Raymond) and his uncle

(Mortimer), he launched OxyContin with one of the biggest pharmaceutical marketing

campaigns in history, deploying many persuasive techniques pioneered by his uncle Arthur.

Within five years of its introduction, OxyContin was generating a billion dollars a year. When

OxyContin met with resistance, Richard participated in Purdue’s efforts to counter that

resistance.

       644.    At all relevant times, Richard Sackler served as a trustee of one or more trusts that

beneficially own and control Purdue.

       645.    Richard Sackler is the direct or indirect beneficiary of some portion of 25% of the

profits earned by Purdue and its affiliates from the sale of opioids.

       646.    Jonathan Sackler was a Vice President of Purdue in 1991, and by 2000 he was a

Senior Vice President. Like his brother Richard, he resigned that position in or after 2003,

apparently due to a concern that executive officers of Purdue would be held personally liable for

opioid-related liabilities and crimes. However, he continued to serve on the board of Purdue.

       647.    At all relevant times, Jonathan Sackler served as a trustee or one or more trusts

that beneficially owns and control Purdue.

       648.    Jonathan Sackler is the direct or indirect beneficiary of some portion of 25% of

the profits earned by Purdue and its affiliates from the sale of opioids.




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       649.    Mortimer D.A. Sackler served as a Vice President of Purdue during the period of

the development, launch, and promotion of OxyContin. He resigned that position in or after

2003, apparently due to a concern that executive officers of Purdue would be held personally

liable for opioid-related liabilities and crimes. However, he continued to serve on the Board of

Purdue.

       650.    Mortimer D.A. Sackler is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and its affiliates from the sale of opioids.

       651.    Kathe A. Sackler was a Vice President of Purdue in 1991, and by 2000 she was a

Senior Vice President. She resigned that position in or about 2003 due to a concern that

executive officers of Purdue would be held personally liable for opioid-related liabilities and

crimes. However, she continued to serve on the Board of Purdue.

       652.    Kathe A. Sackler is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and its affiliates from the sale of opioids.

       653.    Ilene Sackler Lefcourt served as Vice President of Purdue during the period of the

development, launch, and promotion of OxyContin. She resigned that position in or after 2003,

apparently due to a concern that executive officers of Purdue would be held personally liable for

opioid-related liabilities and crimes. However, she continued to serve on the Board of Purdue.

       654.    Ilene Sackler Lefcourt is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and its affiliates from the sale of opioids.

       655.    At all relevant times, Beverly Sackler served as a trustee of one or more trusts that

beneficially own and control Purdue and to which 50% of the profits of Purdue and its affiliates

from the sale of opioids has been conveyed. She has also served as a member of the board of

directors of Purdue since the 1990s.




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        656.   Beverly Sackler is the direct or indirect beneficiary of some portion of 50% of the

profits earned by Purdue and its affiliates from the sale of opioids.

        657.   Theresa Sackler is the direct or indirect beneficiary of 50% of the profits earned

by Purdue and its affiliates from the sale of opioids. She has also served as a member of the

board of directors of Purdue since the 1990s.

        658.   David A. Sackler is the direct or indirect beneficiary of some portion of 25% of

the profits earned by Purdue and its affiliates from the sale of opioids. He has also served as a

member of the board of directors of Purdue since 2012.

        659.   Stuart Baker joined Purdue in 1994 as Executive Vice President of PPLP and as

Vice President of PF Co. He served as legal counsel to the entire Purdue organization and the

Sackler Families. He also served as an officer of other Sackler-owned, Purdue-related entities.

He served as a trustee of one or more trusts that beneficially own and control Purdue and its

affiliates. He served as Corporate Secretary for Purdue, and as such he gained direct knowledge

of the wrongdoing alleged in the Complaint. In his capacity as an officer, director, and lawyer, he

knowingly aided, abetted, participated in, and benefitted from the wrongdoing of Purdue as

alleged in the Complaint and knowingly aided and abetted the Sackler Families, and the Purdue-

Related Additional Defendants, to structure their personal affairs and the personal and business

organizations they beneficially owned and controlled in such a way as to attempt to evade

personal liability for the wrongdoing in which he knew they had engaged and in which he knew

they intended to continue to engage.

        660.   The Sackler Families are the sole beneficial owners of Purdue and its associated

companies. All of Purdue’s and its associated companies’ profits go to Sackler-family trusts and

entities.




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       B.      Purdue’s Directors Knowingly Participated in Purdue’s Wrongdoing

       661.    The members of the board of Purdue were intimately involved in the activities of

the entities that they managed, often on a weekly or even daily basis.

       662.    Purdue and the Sackler Families launched OxyContin with one of the biggest

pharmaceutical marketing campaigns in history, deploying many persuasive techniques

pioneered by Arthur Sackler. They trained and armed a force of approximately 1,000 sales

representatives with charts showing OxyContin's purported benefits. A major thrust of the sales

campaign was that OxyContin should be prescribed not merely for the kind of severe short-term

pain associated with surgery or for cancer pain but also for less acute, longer-lasting pain, such

as arthritis, back pain, sports injuries, fibromyalgia. The number of conditions that OxyContin

could treat seemed almost unlimited.

       663.    The training included "training in 'overcoming objections' from clinicians." "If a

doctor inquired about addiction," the representative was instructed to respond thus: "'The

delivery system is believed to reduce the abuse liability of the drug.'" Another sales

representative said that Purdue executives "told us to say things like it is 'virtually' non-

addicting."

       664.    Purdue sales representatives were provided with studies and literature provided by

other physicians. Purdue had a speakers' bureau through which it paid several thousand doctors

to attend medical conferences and deliver presentations about OxyContin's merits. Doctors were

offered all-expenses-paid trips to pain-management seminars in places like Boca Raton. Doctors

who attended these seminars wrote OxyContin prescriptions more than twice as often as those

who did not.

       665.    Purdue also advertised in medical journals and produced promotional videos

featuring not just satisfied patients but also doctor's testimonials. The marketing of OxyContin


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relied on an empirical circularity: the company convinced doctors of the drug's safety with

literature that had been produced by doctors who were paid, or funded, by the company.

       666.    According to a former OxyContin sales representative, Richard Sackler was "'the

dude that made it happen.'" Richard Sackler himself was tireless in his dedication to

OxyContin's success. When benefit plans began citing OxyContin abuse as an excuse not to pay,

Richard Sackler sent an email to sales representatives stating that, for insurers, "'addiction' may

be a convenient way to just say 'NO.'"

       667.    Members of the Sackler family were daily on site at Purdue's headquarters,

controlling the management of their family-owned business and all its employees.

       668.    Richard Sackler is named as inventor on some 50 patents relating to oxycodone

and other pain medications, including several patents apparently issued as late as 2016. Virtually

all such patents invented by Richard Sackler were assigned to Purdue.

       669.    In 1997, both Richard and Kathe Sackler were part of a conspiracy to deceive

physicians into believing that oxycodone was half as strong as morphine, when in fact the

opposite was true; this deception was known by Purdue to ease the fears of well-meaning and

careful physicians about prescribing OxyContin for non-cancer pain uses.

       670.    In the late 1990s Richard, Jonathan and Kathe Sackler participated in an unlawful

attempt to deceive European drug regulators into classifying OxyContin as totally uncontrolled,

i.e., capable of being obtained without a prescription, even though all of these family members

were by then well aware of the abuse liability of the drug in the U.S.

       671.    In 2001, Kathe Sackler attended a talk given by the chief medical officer of

Sikorsky Aircraft, in which the speaker expressed grave concern about the risks associated with

OxyContin; instead of acknowledging this fact to the medical officer, Kathe Sackler instead




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remained silent and returned to the Purdue headquarters, where employees were directed to find

ways to undercut and deflect the Sikorsky medical officer's concerns.

       672.    In the period around 1999-2003, Purdue developed a method to cause company

emails to self-destruct at a pre-determined time; this was an attempt to create a system where

potentially incriminating documents would automatically self-destruct, even after receipt by

unrelated third-parties. Richard, Jonathan and Kathe Sackler all were directly aware and

supportive of this project.

       C.      Members of the Sackler Families Were Aware of Risks Associated With
               OxyContin No Later Than the Summer of 1999

       673.    That prescription opioids would lead to addiction, and specifically that OxyContin

could be, and was being, abused has been known to Purdue and to the members of the Sackler

Families involved in running the family business since at least the summer of 1999.

       674.    In summer of 1999, a Purdue sales representative wrote to the President of Purdue

reporting widespread abuse of OxyContin. As a result of that memo, a secretary at Purdue,

Maureen Sara, was tasked with doing research on the Internet to learn about the nature and scope

of the abuse, specifically to learn about how recreational drug users were misusing OxyContin.

       675.    In order to carry out her assignment, Ms. Sara began visiting drug-user Internet

"news groups" or "chat rooms" daily. Two groups in particular that Ms. Sara visited were alt.

drugs and alt. drugs.hard. For a period, in the late summer and early fall of 1999, Ms. Sara

would forward screen shots from these news groups on a daily basis to Howard Udell, then

General Counsel of Purdue.

       676.    In October or November 1999, Ms. Sara prepared a memo summarizing her

research into misuse of OxyContin. The memo described how users would remove the coating

on the OxyContin pills, crush them, shoot them, and snort or shoot them. Ms. Sara sent the

memo containing the details of OxyContin abuse by drug users not only to the President of

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Purdue and to its General Counsel, but also to Purdue's then-medical director, and directly to

members of the Sackler Families involved in the management of the company, including Richard

Sackler, Jonathan Sackler, and Kathe Sackler.

       677.    Purdue, Richard Sackler, Jonathan Sackler, and Kathe Sackler were thus all aware

of the risk and abuse potential and reality of OxyContin long before Purdue acknowledged the

same to government, the healthcare community or the public. In sworn testimony before the U.S.

House of Representatives in 2001, Purdue President Michael Friedman, in the presence of

Purdue General Counsel Howard R. Udell, swore that the first the companies knew of

widespread abuse of OxyContin was in the year 2000. This was, of course, patently inconsistent

with what the members of the Sackler Families knew from the Sara memo they had received in

1999. No member of the Sackler Families at any time tried to correct the false narrative

promulgated far and wide about the abuse liability of OxyContin, nor corrected the false

statement about when Purdue became aware of this problem with the drug.

       678.    Richard Sackler, Kathe Sackler, Jonathan Sackler, Theresa Sackler, Mortimer

D.A. Sackler, and Ilene Sackler have been aware since at least 1999 of potential liability for

Purdue and those acting in concert with Purdue. With the intention of shielding from creditors

the proceeds of their wrongdoing, they have stripped out of Purdue and the Purdue-related

Additional Defendants each and every year hundreds of millions of dollars of profits from the

sales of OxyContin and other opioid-containing medications, including a generic form of

OxyContin sold by Rhodes Pharma. All such transfers were and are fraudulent within the

meaning of applicable fraudulent transfer statutes and case law; all such transfers unjustly

enriched the recipients; and all such transferred funds should be clawed back from the Sackler

Defendants in order to satisfy the opioid-related liabilities of the companies from which they

were transferred.


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       D.      The Purdue-Related Defendants Continued to Oversee Purdue’s
               Wrongdoing Even after Purdue Was Fined and Warned about Its Conduct

       679.    From 2001 to 2007, Purdue was investigated by 26 states and the U.S.

Department of Justice. Beginning in or about 2003, advised by Baker, who served as legal

counsel to the entire Purdue organization and the Sackler Families, all of the Sacklers who

served as executive officers of Purdue resigned out of concern that they might be held personally

liable for conduct on behalf of Purdue in which they had previously engaged and in which they

expected and intended to continue to engage after their respective resignations.

       680.    In 2007, PF Co. agreed to pay nearly $700 million and pleaded guilty to a felony

for misleading doctors and patients about opioids. Purdue admitted that its supervisors and

employees, “with the intent to defraud or mislead, marketed and promoted OxyContin as less

addictive, less subject to abuse and diversion, and less likely to cause tolerance and withdrawal

than other pain medications.” At the same time, Purdue executive officers Michael Friedman (the

CEO), Howard Udell (Vice President and General Counsel), and Paul Goldenheim (Chief

Medical Officer) pleaded guilty to criminal charges that they let Purdue deceive doctors and

patients about its opioids.

       681.    As part of the plea agreement in 2007, Purdue agreed to a detailed Corporate

Integrity Agreement with the U.S. government. The Agreement required Purdue to appoint a

Compliance Officer who would “be a member of senior management of Purdue,” “make periodic

(at least quarterly) reports regarding compliance matters directly to the Board of Directors,” and

“be authorized to report on such matters to the Board of Directors at any time.” The Corporate

Integrity Agreement was built on the idea that the directors would ensure that Purdue never

deceived doctors and patients again.

       682.    The Corporate Integrity Agreement included the directors as “Covered Persons”

from 2007 through 2012. All Covered Persons, including the directors and CEO, were required

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to comply with rules that prohibit deception about Purdue opioids. The directors were required

to undergo hours of training to ensure that they understood the rules. The directors were

required to report all violations of the rules. The directors were warned that they could face

consequences if they failed to comply with the rules. The directors certified that they had read

and understood the rules and would comply with them.

        683.   The directors were aware of their obligations under the Corporate Integrity

Agreement because in 2009 Purdue had to report to the Inspector General of the U.S. Department

of Health and Human Services that it had not immediately trained a new director on the

Agreement. Purdue reported: “a new Director was appointed to Purdue’s Board of Directors,

without timely notice to either Corporate Compliance or the Office of General Counsel, as

otherwise required by policy, resulting in failure to timely launch the training assignment to this

new Board member.” Purdue assured the U.S. government that it had trained the new director:

“Relevant personnel were reminded of existing policy to notify Corporate Compliance and the

Office of General Counsel of changes to the Board of Directors. In both instances, these

individuals completed their training assignments within 1 day of Corporate Compliance learning

of this issue.” Purdue promised the government that the director’s training had addressed “the

proper methods of promoting, marketing, selling, and disseminating information about Purdue’s

products,” so Purdue would never deceive doctors and patients again.

        684.   Every year since the 2007 guilty plea and Corporate Integrity Agreement,

Purdue’s directors received warning signs about Purdue’s ongoing misconduct and opportunities

to stop it.

        685.   In 2008, more Americans died from opioid overdoses than ever before.

        686.   In 2009, the American Journal of Public Health published an article about

Purdue’s opioid marketing entitled, “The Promotion and Marketing of OxyContin: Commercial


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Triumph, Public Health Tragedy.” The article detailed Purdue’s use of sales representatives,

targeting of high-prescribers, and deception about addiction. That same year, CDC reported that

deaths from opioids had recently tripled.

       687.    In 2010, Time magazine published a story about Purdue’s opioids entitled, “The

New Drug Crisis: Addiction by Prescription.” Overdoses were the leading cause of accidental

death in 15 states. By the spring of 2010, Purdue’s directors had been told that Purdue could not

get product liability insurance to cover OxyContin.

       688.    In 2011, the White House announced that prescription drug abuse was the nation’s

fastest-growing drug problem and called for “educating healthcare providers about prescription

drug abuse … so they will not over-prescribe[.]” The CDC announced that prescription opioid

overdoses had reached epidemic levels and called out Purdue’s opioids by name. That same

year, Fortune magazine interviewed Purdue executives, including Vice President Alan Must.

Fortune published a story about Purdue, the Sackler Families, and evidence that they profited

from opioid addiction. Mr. Must admitted that Purdue was “well aware” of concerns about its

conduct: “We are well aware of detractors. For those individuals who think we’re evil … I don’t

think there’s anything we can do that is going to change their opinion.”

       689.    In 2012, the U.S. Senate launched an investigation into whether Purdue was

deceiving doctors and patients about opioids. In a letter to the CEO of Purdue, the Senators

warned of “an epidemic of accidental deaths and addiction resulting from the increased sale and

use of powerful narcotic painkillers.” The Senate letter warned Purdue specifically of the danger

of patients taking higher doses: “over the last decade, the number of prescriptions for the

strongest opioids has increased nearly fourfold, with only limited evidence of their long-term

effectiveness or risks while data suggest that hundreds of thousands of patients nationwide may

be on potentially dangerous doses.” The Senate letter also warned about Purdue misleading


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doctors and patients: “There is growing evidence pharmaceutical companies that manufacture

and market opioids may be responsible, at least in part, for this epidemic by promoting

misleading information about the drugs’ safety and effectiveness.” The Senate put the directors

on notice that they were under scrutiny, demanding that Purdue produce to investigators a set of

“presentations, reports, and communications to Purdue’s management team or board of directors

from 2007 to the present.”

       690.    In 2013, the Los Angeles Times revealed that Purdue had been compiling a list for

the past decade of 1,800 doctors suspected of recklessly prescribing its opioids, but Purdue had

reported only 8% of them to authorities. Purdue attorney Robin Abrams gave multiple

interviews to the newspaper. Abrams was a Vice President of Purdue, and she had signed

Purdue’s 2007 settlement agreement. In 2013, she admitted that Purdue had the list, and said

Purdue would not agree to disclose it to authorities because, “I don’t really want to open up an

opportunity for folks come in here and start looking and second-guessing.”

       691.    Abrams and Purdue’s directors knew they had reason to fear scrutiny. The state

of Kentucky was prosecuting a lawsuit against Purdue for deceiving doctors and patients about

opioids. Purdue’s lawyers surveyed residents who could be on the jury. One-third knew

someone who overdosed or was seriously hurt taking a Purdue opioid, and 29 percent knew

someone who died. Purdue itself filed those statistics in court.

       692.    In 2014, Edward Mahony, the Executive Vice President, CFO, and Treasurer of

Purdue stated that the Kentucky lawsuit was so significant that it could “jeopardize Purdue’s

long-term viability.” That same year, the Governor of Massachusetts declared the opioid crisis a

public health emergency.

       693.    In 2016, the CDC published the CDC Guideline for Prescribing Opioids for

Chronic Pain to try to stop dangerous opioid prescribing.


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          694.   In 2017, the President of the United States declared the opioid crisis a national

public health emergency.

          695.   PPI’s directors knew or should have known about these warnings and many

others.

          696.   The directors knew about, allowed, and directed Purdue’s deception. They

oversaw Purdue’s scheme to send sales representatives to visit doctors thousands of times. They

oversaw Purdue’s scheme to hire top prescribers to promote its opioids. They oversaw Purdue’s

effort to get more patients on higher doses of opioids for longer periods. They were aware of,

allowed and directed the content of the messages conveyed in Purdue’s marketing.

          697.   The directors of PPI controlled PPLP. The quarterly reports distributed to the

directors of PPI demonstrate that the directors in fact controlled both PPI and PPLP. The reports

and minutes make clear that the directors of PPI were kept fully informed of the activities of

Purdue in the areas “Finance,” “Sales & Marketing,” “Manufacturing & Supply Chain,”

“Quality,” “Research & Development,” “Discovery Research,” “Licensing & Business

Development,” “Corporate Compliance,” “External Affairs,” “Health Policy,” “Human

Resources,” and “Information Technology” — all of which were overseen by the directors.

          698.   The directors oversaw Purdue’s sales representatives. Richard Sackler testified

that the sales representatives were the main way that Purdue promoted its opioids. He testified

that the key to getting doctors to prescribe and keep prescribing Purdue opioids was regular

visits from the sales force. The board tracked the exact number of sales representatives and the

exact number of visits they made to urge doctors to prescribe Purdue opioids. The board knew

which drugs were promoted; how many visits sales representatives averaged per workday; how

much each visit cost Purdue; and the company’s plan for sales visits in each upcoming quarter.

The Board approved specific plans to hire new sales representatives, hire and promote new


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District and Regional managers, and create sales “territories” in which representatives would

target doctors.

        699.      The directors oversaw the tactics that sales representatives used to push opioids.

A board report analyzed a Purdue initiative to use iPads during sales visits, which increased the

average length of the sales meeting with the doctor to “16.7 minutes in front of the customer.”

        700.      The directors oversaw promotional claims that representatives presented to

doctors during sales visits. They received reports, for example, that a “review of call notes”

recorded by Purdue sales representatives “suggested potential comparative claims of superiority

of Purdue products relative to competitors,” and deceptive promotion of opioids as treatment for

“minor pain,” including hundreds of examples of deceptive marketing that required “extensive

remedial actions.”

        701.      The directors oversaw Purdue’s research, including research that contradicted its

marketing. The board received reports about studies of Purdue opioids in “opioid-naïve” patients

and patients with osteoarthritis, down to the details of the strategy behind the studies and the

enrollment of the first patients.

        702.      The directors oversaw Purdue’s improper response to signs of “abuse and

diversion” by high-prescribing doctors. The board was told exactly how many “Reports Of

Concern” Purdue sales representatives submitted to the company about doctors they visited to

promote opioids (572 Reports Of Concern in the July 2007 board report); and how many “field

inquiries” Purdue had decided to conduct in response to the reports (21 inquiries in response to

572 Reports Of Concern).

        703.      The directors even monitored sales representatives’ emails. Purdue held

thousands of face-to-face sales meetings with doctors, but the company prohibited its sales

representatives from writing emails to doctors, which could create evidence of Purdue’s


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misconduct. When Purdue found that some sales representatives had emailed doctors, the

company conducted an “investigation” and reported to the board that sales representatives had

been disciplined and that their emails would be discussed at the board meeting.

       704.    The directors also oversaw Purdue’s strategy to pay high prescribers to promote

Purdue opioids. A report for the board listed the exact number of conferences and dinner

meetings, with attendance figures, and assured the directors: “We are tracking the prescribing

trends of these attendees following the programs and will report the results in future reports.” The

board was told the amounts paid to certain doctors, and they received detailed reports on the

Return on Investment that Purdue gained from paying doctors to promote its drugs. The board

was told that Purdue would allow a “spending limit for gifts” of $750 per doctor per year; and

that the directors should personally report when they gave money, meals, or gifts to doctors to

promote Purdue drugs. The board was told explicitly that paying doctors to promote opioids was

“a high risk activity, in view of the potential for off-label or other improper promotional conduct

by third parties during such activities.” When Congress required disclosure of drug company

payments to doctors, the board was told there were “significant compliance implications” for

Purdue.

       705.    The directors also oversaw Purdue’s strategy to push patients to higher doses of

opioids — which are more dangerous, more addictive, and more profitable. The board routinely

received reports on Purdue’s efforts to push patients to higher doses. A report alerted the board

that “Net sales of the 40 and 80 mg strengths of OxyContin” had fallen below Purdue’s targets in

the fall of 2010 and were $85 million below budget. By summer, the board learned that income

was $500 million below budget “mainly due to declining sales in 40 mg and 80 mg strengths.

By fall, the board reviewed an assessment that Purdue had lost more than $800 million in

revenue because patients weren’t taking enough 40 mg and 80 mg doses. The board dug into the


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issue. Multiple reports to the board identified as a “threat” an initiative by public health

authorities to save lives by requiring doctors to consult with pain specialists before prescribing

opioid doses higher than 80mg/day. The CEO and directors oversaw Purdue’s effort to push

back against that public health initiative. Executives were pleased to report to the directors in

2013 that “initiatives to validate increased total daily doses are having impact in the field.”

       706.    The directors also oversaw Purdue’s scheme to use higher doses of opioids to

keep patients on drugs for longer periods of time. The board received detailed reports of how

many patients stayed on Purdue’s opioids for long periods (for example, longer than 35 days),

along with Purdue’s internal research showing that getting patients on higher doses keeps them

on the drugs longer — all of which puts patients at greater risk of addiction and death. The

board received the confidential results of a study of 57,000 patients that Purdue performed

explicitly to determine how opioid dose “influences patient length of therapy.” The results

showed that patients on the highest doses “are the most persistent.” The “Recommended

Actions” presented to the board included “additional workshops for the sales force” and “specific

direction” to the sales representatives about using higher doses to keep patients on drugs longer.

       707.    The board was told in writing that encouraging higher doses “is a focal point of

our promotion,” and that sales representatives would “emphasize the importance” of increasing

patients’ opioid doses, as soon as 3 days after starting treatment. The board even tracked specific

sales materials, such as “two new patient profiles designed to improve patient identification and

titration” – to get more opioid-naïve and elderly patients on higher doses of opioids for longer

periods of time. The board was told the exact research behind the sales strategy: higher doses

would keep patients on drugs longer because Purdue had found that “83% of patients who

discontinued were never titrated to higher doses.” The directors knew or should have known that




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Purdue’s sales strategy was deceptive and that putting patients on opioids at higher doses and for

longer periods increased the risk of addiction, overdose, and death.

       708.    The directors also oversaw Purdue’s strategy of using “savings cards” to get

patients on Purdue opioids for longer periods. The board knew how many thousands of cards

were used each quarter, how the company calculated the Return On Investment, and that the

explicit goal of the program was to hook patients to “remain on therapy longer.”

       709.    The directors also oversaw Purdue’s strategy to target prescribers who did not

have special training in opioids (primary care doctors, nurse practitioners, and physician

assistants) because they “show the highest responsiveness” to Purdue’s sales push. Purdue

continued that strategy even though the DEA had expressed concern that Purdue was promoting

opioids to clinicians who were not adequately trained in pain management. The directors also

oversaw Purdue’s strategy to target elderly patients by promotion “targeted to HCPs that practice

in the long term care setting,” even down to the details of advertising that “leverages images of

older patients.” The directors knew or should have known that Purdue’s sales strategy was

deceptive and that targeting primary care doctors and elderly patients increased the risk of

addiction, overdose, and death.

       710.    The directors also oversaw Purdue’s push to steer patients away from safer

alternatives. They tracked the company’s effort to emphasize “the true risk and cost

consequence of acetaminophen-related liver toxicity.” The board even oversaw Purdue’s

deceptive websites, and received reports about the specific section that was found to be

deceptive by the New York Attorney General.

       711.    The directors also oversaw Purdue’s response to signs that patients were being

harmed. Reports of harm came in by the hundreds and even thousands. One board report




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explained that “in excess of 5,000 cases with alleged adverse events have already been received

and processed by Drug Safety and the Litigation Support group” during a single quarter.

        712.    Each of the reports described above was sent to every Sackler Defendant on the

board at the time they were prepared.

        713.    Stuart Baker also received all the reports described above.

VII.    THE OPIOIDS THE DEFENDANTS SOLD MIGRATED INTO OTHER JURISDICTIONS

        714.    As the demand for prescription opioids grew, fueled by their potency and purity,

interstate commerce flourished: opioids moved from areas of high supply to areas of high

demand, traveling across state lines in a variety of ways.

        715.    The Defendants’ failure to control the supply chain and prevent diversion

adversely affected communities throughout the United States, including in Plaintiff’s

Community. Once diverted, opioids do not stay put. Rather, diverted opioids move from areas

of high supply to areas of high demand, traveling across state lines in a variety of ways.

        716.    First, prescriptions written in one state may, under some circumstances, be filled

in a different state. More significantly, however, individuals transported opioids from one

jurisdiction specifically to sell them.

        717.    When authorities in states such as Ohio and Kentucky cracked down on opioid

suppliers, out-of-state suppliers filled the gaps. Florida in particular assumed a prominent role,

as its lack of regulatory oversight created a fertile ground for pill mills. Residents of Illinois and

other states would simply drive to Florida, stock up on pills from a pill mill, and transport them

back to home to sell. The practice became so common that authorities dubbed these individuals

“prescription tourists.”




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       718.    In particular, the I-95 corridor was one route by which diverted prescription

opioids travelled from Florida northward to other states, including, in particular Plaintiff’s

Community.

VIII. PLAINTIFF-SPECIFIC FACTS

       719.    The distribution and diversion of opioids into Plaintiff’s Community, created the

foreseeable opioid crisis and opioid public nuisance for which Plaintiff seeks relief.

       720.    Plaintiff is responsible for the public health, safety, and welfare of its citizens.

       721.    Plaintiff funds a health insurance plan for the benefit of its employees, through

which it pays part or all its employees’ health care costs, including the cost of prescription drugs,

including opioids.

       722.    Plaintiff provides workers compensation and disability insurance coverage for its

employees.

       723.    Plaintiff spends thousands of dollars each year to provide or pay for the health

care, pharmaceutical care, and other necessary services and programs on behalf of indigents and

otherwise eligible residents, including payments for prescription opioids manufactured,

marketed, promoted, sold, and/or distributed by Defendants.

       724.    Plaintiff also provides a wide range of other services to its residents, including

services for families and children, public assistance, emergency and ambulatory services, and

law enforcement.

       725.    Opioid addiction and overdose have reached epidemic levels over the past decade.

On March 22, 2016, the FDA recognized opioid abuse as a “public health crisis” that has a

“profound impact on individuals, families and communities across our country.”

       726.    The rising numbers of persons addicted to opioids have led to significantly

increased health care costs as well as a dramatic increase of social problems, including drug


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abuse and diversion and the commission of criminal acts to obtain opioids throughout the United

States, including the Plaintiff’s Community. Consequently, public health, safety, and welfare

throughout the United States, including the Plaintiff’s Community, has been significantly and

negatively impacted due to the Defendants’ acts and omissions.

       727.    A 2016 Centers for Disease Control and Prevention study estimated the national

economic impact of prescription opioid overdoses, abuse and dependence to be $78.5 billion

dollars annually. The study broke down the distribution of this impact further:

           a. Lost Productivity: $42 billion (53.3%)

           b. Health Insurance: $26.1 billion (33.3%)

           c. Criminal Justice: $7.6 billion (9.7%)

           d. Substance Abuse Treatment: $2.8 billion (3.6%)

       728.    As a direct, foreseeable, and proximate consequence of the Defendants’ egregious

conduct, Plaintiff paid, and continues to pay for health care costs that stem from prescription

opioid dependency created by the Defendants’ wrongful acts and omissions. These costs include

unnecessary and excessive opioid prescriptions, substance abuse treatment services, emergency

response services, hospital services and other medical costs, among others. The Defendants’

wrongful acts and omissions also directly, foreseeably, and proximately caused Plaintiff to incur

substantial economic, administrative and social costs relating to opioid addiction and abuse,

including costs for police, emergency personnel, costs for prosecutors, public defenders, courts,

Plaintiff prison system, and other aspects of the criminal justice system; costs for coroners and

the coroner’s office; costs for substance abuse treatment services and other medical care;

victimization costs; lost productivity costs; education and prevention program costs; costs for

children and youth services, homeless services, the implementation of a Drug Court and other

human services; and costs of NARCAN for first responders, among others.


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           729.       The National Institute on Drug Abuse reports that prescription opioid pain

medicines such as OxyContin® and Vicodin® have effects similar to heroin. Research suggests

that misuse of these drugs may open the door to heroin use. Data from 2011 showed that an

estimated 4 to 6 percent who misuse prescription opioids switch to heroin and about 80 percent

of people who used heroin first misused prescription opioids.6                               7 8



           730.       Purdue’s top official of its family owned pain empire. Dr. Richard Sackler, told a

1996 OxyContin launch party to “imagine a series of natural disasters: an earthquake, a volcanic

eruption, a hurricane, and a blizzard,” and ‘the launch of OxyContin Tablets will be followed

by a blizzard of prescriptions that will bury the competition. The prescription blizzard will be so

deep, dense, and white…’”

           731.       Researchers concluded that: “Policy makers must ensure that the needs of this

new wave of children entering foster care because of parental drug use are being met though

high-quality foster care interventions. These have been shown to mitigate some of the adverse

effects of early childhood deprivation and disruptions in attachment.”9

           732.       The American Academy of Pediatrics agrees and warns 8.7 million children

nationwide have a parent who suffers from a substance abuse disorder.

           733.       Patients who do survive addition need lengthy, difficult and expensive treatment.

People who are addicted are often unable to work or care for their children. All the while, Purdue




6
  Muhuri PK, Gfroerer JC, Davies MC. Associations of Nonmedical Pain Reliever Use and Initiation of Heroin Use in the United States.
Rockville, MD: Substance Abuse and Mental Health Services Administration; 2013.
http://archive.samhsa.gov/data/2k13/DataReview/DR006/nonmedical-pain-reliever-use-2013.pdf. Accessed May 13, 2016.
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  Cicero TJ, Ellis MS, Surratt HL, Kurtz SP. The Changing Face of Heroin Use in the United States: A Retrospective Analysis of the Past 50
Years. JAMA Psychiatry. 2014;71(7):821-826. doi:10.1001/jamapsychiatry.2014.366.
8
  Carlson RG, Nahhas RW, Martins SS, Daniulaityte R. Predictors of transition to heroin use among initially non-opioid dependent illicit
pharmaceutical opioid users: A natural history study. Drug Alcohol Depend. 2016;160:127-134. doi:10.1016/j.drugalcdep.2015.12.026.
9
  Id.




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peddled falsehoods to keep patients away from safer alternatives. Even when Purdue knew

people in Illinois were addicted and dying, Purdue treated doctors and patients as “targets” to sell

more drugs.

           734.       A national study revealed SUD prevalence rates of probationers and parolees

were between four to nine times higher than non-probationers.10

           735.       In a national survey of drug courts, questionnaires revealed the prevalence of

probationers with a SUD whose primary substance was opioids was 34% in suburban drug

courts, 31% in rural drug courts, and 22% in urban drug courts.11

           736.       The costs for these services should be borne by the Defendants, who have

pocketed billions at the expense of Plaintiff, its citizens and taxpayers.

           737.       Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. These

damages have been suffered, and continue to be suffered, directly by the Plaintiff.

           738.       Plaintiff also seeks the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct.

           739.       Plaintiff has standing to bring an action for the opioid epidemic nuisance created

by Defendants.




10
   Fearn, N. E., Vaughn, M. G., Nelson, E. J., Salas_Wright, C. P., DeLisi, M., & Qian, Z. (2016). Trends and correlates of substance use
disorders among probationers and parolees in the United States, 2002-2014. Drug and Alcohol Dependence, 167, 128–139.
11
   Marlow, D. B., Hardin, C. D., & Fox, C. L. (2016). Painting the current picture: A national report on drug courts and other problem-solving
courts in the United States. Alexandria, VA: National Drug Court Institute, National Association of drug court professionals.

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IX.    THE DEFENDANTS CONSPIRED TO ENGAGE IN THE WRONGFUL CONDUCT
       COMPLAINED OF HEREIN AND INTENDED TO BENEFIT BOTH INDEPENDENTLY AND
       JOINTLY FROM THEIR CONSPIRACY

       A.      Conspiracy Among Manufacturer Defendants

       740.    The Manufacturer Defendants agreed among themselves to set up, develop, and

fund an unbranded promotion and marketing network to promote the use of opioids for the

management of pain in order to mislead physicians, patients, health care providers, and health

care payers through misrepresentations and omissions regarding the appropriate uses, risks, and

safety of opioids, to increase sales, revenue, and profit from their opioid products.

       741.    This interconnected and interrelated network relied on the Manufacturer

Defendants’ collective use of unbranded marketing materials, such as KOLs, scientific literature,

CMEs, patient education materials, and Front Groups developed and funded collectively by the

Manufacturer Defendants intended to mislead consumers and medical providers of the

appropriate uses, risks, and safety of opioids.

       742.    The Manufacturer Defendants’ collective marketing scheme to increase opioid

prescriptions, sales, revenues and profits centered around the development, the dissemination,

and reinforcement of nine false propositions: (1) that addiction is rare among patients taking

opioids for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of

addiction exhibited by opioid patients are actually symptoms of an invented condition dubbed

“pseudo addiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no

significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

solution to opioid abuse.




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       743.    The Manufacturer Defendants knew that none of these propositions is true and

that there was no evidence to support them.

       744.    Each Manufacturing Defendant worked individually and collectively to develop

and actively promulgate these nine false propositions in order to mislead physicians, patients,

health care providers, and healthcare payers regarding the appropriate uses, risks, and safety of

opioids.

       745.    What is particularly remarkable about the Manufacturer Defendants’ effort is the

seamless method in which the Manufacturer Defendants joined forces to achieve their collective

goal: to persuade consumers and medical providers of the safety of opioids, and to hide their

actual risks and dangers. In doing so, the Manufacturer Defendants effectively built a new – and

extremely lucrative – opioid marketplace for their select group of industry players.

       746.    The Manufacturer Defendants’ unbranded promotion and marketing network was

a wildly successful marketing tool that achieved marketing goals that would have been

impossible to have been met by a single or even a handful of the network’s distinct corporate

members.

       747.    For example, the network members pooled their vast marketing funds and

dedicated them to expansive and normally cost-prohibitive marketing ventures, such as the

creation of Front Groups. These collaborative networking tactics allowed each Manufacturing

Defendant to diversify its marketing efforts, all the while sharing any risk and exposure, financial

and/or legal, with other Manufacturer Defendants.

       748.    The most unnerving tactic utilized by the Manufacturer Defendants’ network, was

their unabashed mimicry of the scientific method of citing “references” in their materials. In the

scientific community, cited materials and references are rigorously vetted by objective unbiased




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and disinterested experts in the field, scientific method, and an unfounded theory or proposition

would, or should, never gain traction.

       749.    Manufacturer Defendants put their own twist on the scientific method: they

worked together to manufacture wide support for their unfounded theories and propositions

involving opioids. Due to their sheer numbers and resources, the Manufacturer Defendants were

able to create a false consensus through their materials and references.

       750.    An illustrative example of the Manufacturer Defendants’ utilization of this tactic

is the wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction

“rare” for patients treated with opioids. The authors had analyzed a database of hospitalized

patients who were given opioids in a controlled setting to ease suffering from acute pain. These

patients were not given long-term opioid prescriptions or provided opioids to administer to

themselves at home, nor was it known how frequently or infrequently and in what doses the

patients were given their narcotics. Rather, it appears the patients were treated with opioids for

short periods of time under in-hospital doctor supervision.

       751.    Nonetheless, Manufacturer Defendants widely and repeatedly cited this letter as

proof of the low addiction risk in connection with taking opioids in connection with taking

opioids despite its obvious shortcomings. Manufacturer Defendants’ egregious

misrepresentations based on this letter included claims that less than one percent of opioid users

became addicted.

       752.    Manufacturer Defendants’ collective misuse of the Porter & Jick Letter helped the

opioid manufacturers convince patients and healthcare providers that opioids were not a concern.

The enormous impact of Manufacturer Defendants’ misleading amplification of this letter was

well documented in another letter published in the NEJM on June 1, 2017, describing the way




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the one-paragraph 1980 letter had been irresponsibly cited and in some cases “grossly

misrepresented.” In particularly, the authors of this letter explained:

       [W]e found that a five-sentence letter published in the Journal in 1980 was
       heavily and uncritically cited as evidence that addiction was rare with long-term
       opioid therapy. We believe that this citation pattern contributed to the North
       American opioid crises by helping to shape a narrative that allayed prescribers’
       concerns about the risk of addiction associated with long-term opioid therapy…

       753.    By knowingly misrepresenting the appropriate uses, risks, and safety of opioids,

the Manufacturer Defendants committed overt acts in furtherance of their conspiracy.

       B.      Conspiracy Among Manufacturer Defendants and Distributor Defendants

       754.    In addition, and on an even broader level, Manufacturer Defendants and

Distributor Defendants took advantage of the industry structure, including end-running its

internal checks and balance, to their collective advantage. Manufacturer Defendants and

Distributor Defendants agreed among themselves to increasing the supply of opioids and

fraudulently increasing the quotas that governed the manufacture and supply of prescription

opioids. These Defendants did so to increase sales, revenue, and profit from their opioid

products.

       755.    The interaction and length of the relationships between and among Manufacturer

Defendants and Distributor Defendants reflects a deep level of interaction and cooperation

between Defendants in a tightly knit industry. Manufacturer Defendants and Distributor

Defendants were not two separate groups operating in isolation or two groups forced to work

together in a closed system. These Defendants operated together as a united entity, working

together on multiple fronts, to engage in the unlawful sale of prescription opioids.

       756.    Manufacturer Defendants and Distributor Defendants collaborated to expand the

opioid market in an interconnected and interrelated network in the following ways, including, for

example, membership in the Healthcare Distribution Alliance.


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       757.    Manufacturer Defendants and Distributor Defendants utilized their membership in

the HDA and other forms of collaboration to form agreements about their approach to their

duties under the CSA to report suspicious orders. These Defendants overwhelmingly agreed on

the same approach – to fail to identify, report or halt suspicious opioid orders, and fail to prevent

diversion. These Defendants’ agreement to restrict reporting provided an added layer of

insulation from DEA scrutiny for the entire industry as these Defendants were thus collectively

responsible for each other’s compliance with their reporting obligations. These Defendants were

aware, both individually and collectively aware of the suspicious orders that flowed directly from

Defendants’ facilities.

       758.    Manufacturer Defendants and Distributor Defendants knew that their own

conduct could be reported by other Defendants and that their failure to report suspicious orders

they filled could be brought to the DEA’s attention. As a result, they had an incentive to

communicate with each other about the reporting or suspicious orders to ensure consistency in

their dealings with DEA.

       759.    Manufacturer Defendants and Distributor Defendants also worked together to

ensure that the opioid quotas allowed by the DEA remained artificially high and ensured that

suspicious orders were not reported to the DEA in order to ensure that the DEA had not basis for

refusing to increase or decrease production quotas due to diversion.

       760.    The desired consistency, and collective end goal was achieved. Manufacturer

Defendants and Distributor Defendants achieved blockbuster profits through higher opioid sales

by orchestrating the unimpeded flow of opioids.




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X.     STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE ESTOPPED FROM
       ASSERTING STATUTES OF LIMITATIONS AS DEFENSES

       A.      Continuing Conduct.

       761.    Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.

       762.    The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants

have not ceased. The public nuisance remains unabated. The conduct causing the damages

continues.

       B.      Equitable Estoppel and Fraudulent Concealment

       763.    Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceived Plaintiff and to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the State, the Plaintiff, and

Plaintiff’s Community, that they were undertaking efforts to comply with their obligations under

the state and federal controlled substances laws, all with the goal of protecting their registered

manufacturer or distributor status in the State and to continue generating profits. The Defendants

affirmatively assured the public, including the Plaintiff that they are working to curb the opioid

epidemic.

       764.    The Defendants were deliberate in taking steps to conceal their conspiratorial

behavior and active role in the deceptive marketing and the oversupply of opioids through

overprescribing and suspicious sales, all of which fueled the opioid epidemic.

       765.    The Manufacturer Defendants deliberately worked through Front Groups

purporting to be patient advocacy and professional organizations, through public relations

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companies hired to work with the Front Groups and through paid KOLs to secretly control

messaging, influence prescribing practices and drive sales. The Manufacturer Defendants

concealed their role in shaping, editing, and approving the content of prescribing guidelines,

informational brochures, KOL presentations and other false and misleading materials addressing

pain management and opioids that were widely disseminated to regulators, prescribers and the

public at large. They concealed the addictive nature and dangers associated with opioid use and

denied blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing.

They manipulated scientific literature and promotional materials to make it appear that

misleading statements about the risks, safety and superiority of opioids were actually accurate,

truthful, and supported by substantial scientific evidence. Through their public statements,

omissions, marketing, and advertising, the Manufacturer Defendants’ deceptions deprived

Plaintiff of actual or implied knowledge of facts enough to put Plaintiff on notice of potential

claims.

          766.   Defendants also concealed from Plaintiff the existence of Plaintiff’s claims by

hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the

public that their legal duties to report suspicious sales had been satisfied through public

assurances that they were working to curb the opioid epidemic. They publicly portrayed

themselves as committed to working diligently with law enforcement and others to prevent

diversion of these dangerous drugs and curb the opioid epidemic, and they made broad promises

to change their ways insisting they were good corporate citizens. These repeated

misrepresentations misled regulators, prescribers and the public, including Plaintiff, and deprived

Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on notice of potential

claims.




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       767.    Plaintiff did not discover the nature, scope and magnitude of Defendants’

misconduct, and its full impact on jurisdiction, and could not have acquired such knowledge

earlier through the exercise of reasonable diligence.

       768.    The Manufacturer Defendants’ campaign to misrepresent and conceal the truth

about the opioid drugs that they were aggressively pushing in the State and in Plaintiff’s

Community deceived the medical community, consumers, the State, and Plaintiff’s Community.

       769.    Further, Defendants have also concealed and prevented discovery of information,

including data from the ARCOS database, which will confirm their identities and the extent of

their wrongful and illegal activities.

       770.    Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff. Plaintiff did not know and did not have the means to know the truth, due

to Defendants’ actions and omissions.

       771.    The Plaintiff reasonably relied on Defendants’ affirmative statements regarding

their purported compliance with their obligations under the law and consent orders.



XI.    FACTS PERTAINING TO PUNITIVE DAMAGES

       772.    As set forth above, Defendants acted deliberately to increase sales of, and profits

from, opioid drugs. The Manufacturer Defendants knew there was no support for their claims

that addiction was rare, that addiction risk could be effectively managed, that signs of addiction

were merely “pseudo addiction,” that withdrawal is easily managed, that higher doses pose no

significant additional risks, that long-term use of opioids improves function, or that time-release

or abuse-deterrent formulations would prevent addiction or abuse. Nonetheless, they knowingly

promoted these falsehoods in order to increase the market for their addictive drugs.




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       773.    All the Defendants, moreover, knew that large and suspicious quantities of

opioids were being poured into communities throughout the United States, yet, despite this

knowledge, took no steps to report suspicious orders, control the supply of opioids, or otherwise

prevent diversion. Indeed as described above, Defendants acted in concert together to maintain

high levels of quotas for their products and to ensure that suspicious orders would not be

reported to regulators.

       774.    Defendants’ conduct was so willful and deliberate that it continued in the face of

numerous enforcement actions, fines, and other warnings from state and local governments and

regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

with their marketing and supply schemes. This ongoing course of conduct knowingly,

deliberately, and repeatedly threatened and accomplished harm and risk of harm to public health

and safety, and large-scale economic loss to communities and government liabilities across the

country.

       775.    Defendants’ actions demonstrated both malice and aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the

rights and safety of other persons, even though that conduct had a great probability of causing

substantial harm. The Manufacturer Defendants’ fraudulent wrongdoing was done with a

particularly gross and conscious disregard.

       A.      The Manufacturer Defendants Persisted in Their Fraudulent Scheme Despite
               Repeated Admonitions, Warnings, and Even Prosecutions

       776.    So determined were the Manufacturer Defendants to sell more opioids that they

simply ignored multiple admonitions, warnings and prosecutions. These governmental and

regulatory actions included:




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               1.      FDA Warnings to Janssen Failed to Deter Janssen’s Misleading
                       Promotion of Duragesic

       777.    On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

of “homemade” promotional pieces that promoted the Janssen drug Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they

contain misrepresentations of safety information, broaden Duragesic’s indication, contain

unsubstantiated claims, and lack fair balance.” The March 30, 2000 letter detailed numerous

ways in which Janssen’s marketing was misleading.

       778.    The letter did not stop Janssen. On September 2, 2004, the U.S. Department of

Health and Human Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to

“false or misleading claims about the abuse potential and other risks of the drug, and . . .

unsubstantiated effectiveness claims for Duragesic,” including, specifically, “suggesting that

Duragesic has a lower potential for abuse compared to other opioid products.” The September 2,

2004 letter detailed a series of unsubstantiated, false, or misleading claims.

       779.    One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been

“‘examining the circumstances of product use to determine if the reported adverse events may be

related to inappropriate use of the patch’” and noted the possibility “that patients and physicians

might be unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid

analgesic approved only for chronic pain in opioid-tolerant patients that could not be treated by

other drugs.




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               2.      Governmental Action, Including Large Monetary Fines, Failed to Stop
                       Cephalon from Falsely Marketing Actiq for Off-Label Uses

       780.    On September 29, 2008, Cephalon finalized and entered into a corporate integrity

agreement with the Office of the Inspector General of HHS and agreed to pay $425 million in

civil and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

Provigil). According to a DOJ press release, Cephalon had trained sales representatives to

disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses.

       781.    Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and

the massive settlement, Cephalon has continued its deceptive marketing strategy.

               3.      FDA Warnings Did Not Prevent Cephalon from Continuing False and
                       Off-Label Marketing of Fentora

       782.    On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically

denied Cephalon’s application, in 2008, to broaden the indication of Fentora to include treatment

of non-cancer breakthrough pain and use in patients who were not already opioid-tolerant.

       783.    Flagrantly disregarding the FDA’s refusal to broaden the indication for Fentora,

Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009,

the FDA warned Cephalon against its misleading advertising of Fentora (“Warning Letter”). The

Warning Letter described a Fentora Internet advertisement as misleading because it purported to

broaden “the indication for Fentora by implying that any patient with cancer who requires

treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.” It


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further criticized Cephalon’s other direct Fentora advertisements because they did not disclose

the risks associated with the drug.

       784.    Despite this warning, Cephalon continued to use the same sales tactics to push

Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

Pharmacy Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).”

Despite the repeated warnings of the dangers associated with the use of the drugs beyond their

limited indication, as detailed above, the first sentence of the insert states: “It is well recognized

that the judicious use of opioids can facilitate effective and safe management of chronic pain.”

               4.      A Guilty Plea and a Large Fine Did Not Deter Purdue from Continuing
                       Its Fraudulent Marketing of OxyContin

       785.    In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its

plea, Purdue admitted that its promotion of OxyContin was misleading and inaccurate,

misrepresented the risk of addiction and was unsupported by science. Additionally, Michael

Friedman, the company’s president, pled guilty to a misbranding charge and agreed to pay $19

million in fines; Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8

million in fines; and Paul D. Goldenheim, its former medical director, pled guilty as well and

agreed to pay $7.5 million in fines.

       786.    Nevertheless, even after the settlement, Purdue continued to pay doctors on

speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

seemingly neutral organizations to disseminate the message that opioids were non-addictive as

well as other misrepresentations. At least until early 2018, Purdue continued to deceptively

market the benefits of opioids for chronic pain while diminishing the associated dangers of

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addiction. After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight

any legislative actions that might encroach on its business. Between 2006 and 2015, Purdue and

other painkiller producers, along with their associated nonprofits, spent nearly $900 million

dollars on lobbying and political contributions—eight times what the gun lobby spent during that

period.

          B.     Repeated Admonishments and Fines Did Not Stop Defendants from Ignoring
                 Their Obligations to Control the Supply Chain and Prevent Diversion

          787.   Defendants were repeatedly admonished and even fined by regulatory authorities,

but continued to disregard their obligations to control the supply chain of dangerous opioids and

to institute controls to prevent diversion.

          788.   In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they

wanna do, and not worry about what the law is. And if they don’t follow the law in drug supply,

people die. That’s just it. People die.” He further explained that:

          JOE RANNAZZISI: The three largest distributors are Cardinal Health,
          McKesson, and AmerisourceBergen. They control probably 85 or 90 percent of
          the drugs going downstream.

          [INTERVIEWER]: You know the implication of what you’re saying, that these
          big companies knew that they were pumping drugs into American communities
          that were killing people.

          JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly what
          they did.

          789.   Another DEA veteran similarly stated that these companies failed to make even a

“good faith effort” to “do the right thing.” He further explained that “I can tell you with 100

percent accuracy that we were in there on multiple occasions trying to get them to change their

behavior. And they just flat out ignored us.”

          790.   Government actions against the Defendants with respect to their obligations to

control the supply chain and prevent diversion include:
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          a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
             Suspension Order against the AmerisourceBergen Orlando, Florida distribution
             center (“Orlando Facility”) alleging failure to maintain effective controls against
             diversion of controlled substances. On June 22, 2007, AmerisourceBergen
             entered into a settlement that resulted in the suspension of its DEA registration;

          b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
             Suspension Order against the Cardinal Health Auburn, Washington Distribution
             Center (“Auburn Facility”) for failure to maintain effective controls against
             diversion of hydrocodone;

          c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
             Suspension Order against the Cardinal Health Lakeland, Florida Distribution
             Center (“Lakeland Facility”) for failure to maintain effective controls against
             diversion of hydrocodone;

          d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
             Suspension Order against the Cardinal Health Swedesboro, New Jersey
             Distribution Center (“Swedesboro Facility”) for failure to maintain effective
             controls against diversion of hydrocodone;

          e. On January 30, 2008, the DEA issued an Order to Show Cause against the
             Cardinal Health Stafford, Texas Distribution Center (“Stafford Facility”) for
             failure to maintain effective controls against diversion of hydrocodone;

          f. On September 30, 2008, Cardinal Health entered into a Settlement and Release
             Agreement and Administrative Memorandum of Agreement with the DEA related
             to its Auburn, Lakeland, Swedesboro and Stafford Facilities. The document also
             referenced allegations by the DEA that Cardinal failed to maintain effective
             controls against the diversion of controlled substances at its distribution facilities
             located in McDonough, Georgia (“McDonough Facility”), Valencia, California
             (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);

          g. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
             Suspension Order against the Cardinal Health’s Lakeland Facility for failure to
             maintain effective controls against diversion of oxycodone; and

          h. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
             DEA to resolve the civil penalty portion of the administrative action taken against
             its Lakeland Facility.


      791.   McKesson’s deliberate disregard of its obligations was especially flagrant. On

May 2, 2008, McKesson Corporation entered into an Administrative Memorandum of

Agreement (“2008 McKesson MOA”) with the DEA which provided that McKesson would


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“maintain a compliance program designed to detect and prevent the diversion of controlled

substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

procedures established by its Controlled Substance Monitoring Program.”

       792.    Despite its 2008 agreement with DEA, McKesson continued to fail to report

suspicious orders between 2008 and 2012 and did not fully implement or follow the monitoring

program it agreed to. It failed to conduct adequate due diligence of its customers, failed to keep

complete and accurate records in the CSMP files maintained for many of its customers and

bypassed suspicious order reporting procedures set forth in the CSMP. It failed to take these

actions despite its awareness of the great probability that its failure to do so would cause

substantial harm.

       793.    On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at its

facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La

Vista NE, Livonia MI, Methuen MA, Sante Fe Springs CA, Washington Courthouse OH and

West Sacramento CA. McKesson’s 2017 agreement with DEA documents that McKesson

continued to breach its admitted duties by “fail[ing] to properly monitor its sales of controlled

substances and/or report suspicious orders to DEA, in accordance with McKesson’s obligations.”

       794.    As the Washington Post and 60 Minutes recently reported, DEA staff

recommended a much larger penalty than the $150 million ultimately agreed to for McKesson’s

continued and renewed breach of its duties, as much as a billion dollars, and delicensing of

certain facilities. A DEA memo outlining the investigative findings in connection with the

administrative case against 12 McKesson distribution centers included in the 2017 Settlement

stated that McKesson “[s]upplied controlled substances in support of criminal diversion


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activities”; “[i]gnored blatant diversion”; had a “[p]attern of raising thresholds arbitrarily”;

“[f]ailed to review orders or suspicious activity”; and “[i]gnored [the company’s] own

procedures designed to prevent diversion.”

       795.    On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

Special Agent Schiller, who described McKesson as a company that killed people for its own

financial gain and blatantly ignored the CSA requirement to report suspicious orders:

       DAVID SCHILLER: If they would stay in compliance with their authority and
       held those that they’re supplying the pills to, the epidemic would be nowhere near
       where it is right now. Nowhere near.

       ***

       They had hundreds of thousands of suspicious orders they should have reported,
       and they didn’t report any. There’s not a day that goes by in the pharmaceutical
       world, in the McKesson world, in the distribution world, where there’s not
       something suspicious. It happens every day.

       [INTERVIEWER:] And they had none.

       DAVID SCHILLER: They weren’t reporting any. I mean, you have to
       understand that, nothing was suspicious.

       796.    Following the 2017 settlement, McKesson shareholders made a books and records

request of the company. According to a separate action pending on their behalf, the Company’s

records show that the Company’s Audit Committee failed to monitor McKesson’s information

reporting system to assess the state of the Company’s compliance with the CSA and McKesson’s

2008 Settlements. More particularly, the shareholder action alleges that the records show that in

October 2008, the Audit Committee had an initial discussion of the 2008 Settlements and results

of internal auditing, which revealed glaring omissions; specifically:

           a. some customers had “not yet been assigned thresholds in the system to flag large
              shipments of controlled substances for review”;

           b. “[d]ocumentation evidencing new customer due diligence was incomplete”;

           c. “documentation supporting the company’s decision to change thresholds for
              existing customers was also incomplete”; and

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             d. Internal Audit “identified opportunities to enhance the Standard Operating
                Procedures.”


          797.   Yet, instead of correcting these deficiencies, after that time, for a period of more

than four years, the Audit Committee failed to address the CSMP or perform any more audits of

McKesson’s compliance with the CSA or the 2008 Settlements, the shareholder action’s

description of McKesson’s internal documents reveals. During that period, McKesson’s Audit

Committee failed to inquire whether the Company followed obligations set forth in those

agreements and with the controlled substances regulations more generally. It was only in

January 2013 that the Audit Committee received an Internal Audit report touching on these

issues.

          798.   In short, McKesson, was “neither rehabilitated nor deterred by the 2008

[agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

continued and escalated to a level of egregiousness not seen before.” According to statements

of “DEA investigators, agents and supervisors who worked on the McKesson case” reported in

the Washington Post, “the company paid little or no attention to the unusually large and frequent

orders placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the

DEA officials said, the company raised its own self-imposed limits, known as thresholds, on

orders from pharmacies and continued to ship increasing amounts of drugs in the face of

numerous red flags.”

          799.   Since at least 2002, Purdue has maintained a database of health care providers

suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

to this database based on observed indicators of illicit prescribing such as excessive numbers of

patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength

pills (80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

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diversion). Purdue claims that health care providers added to the database no longer were

detailed, and that sales representatives received no compensation tied to these providers’

prescriptions.

          800.   Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy

level—meaning Purdue continued to generate sales revenue from their prescriptions—and failed

to report these providers to state medical boards or law enforcement. Purdue’s former senior

compliance officer acknowledged in an interview with the Los Angeles Times that in five years

of investigating suspicious pharmacies, the company never stopped the supply of its opioids to a

pharmacy, even where Purdue employees personally witnessed the diversion of its drugs.

          801.   Purdue was equally irresponsible with respect to suspicious prescribers. For

example, as discussed above, despite Purdue’s knowledge of illicit prescribing from one Los

Angeles clinic which its district manager called an “organized drug ring” in 2009, Purdue did not

report its suspicions until long after law enforcement shut it down and not until the ring

prescribed more than 1.1 million OxyContin tablets.

          802.   The New York Attorney General found that Purdue placed 103 New York health

care providers on its “No-Call” List between January 1, 2008 and March 7, 2015, and yet that

Purdue’s sales representatives had detailed approximately two-thirds of these providers, some

quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year

period.

          803.   The New York Attorney General similarly found that Endo knew, as early as

2011 that Opana ER was being abused in New York, but certain sales representatives who

detailed New York health care providers testified that they did not know about any policy or duty

to report problematic conduct. The New York Attorney General further determined that Endo

detailed health care providers who were subsequently arrested or convicted for illegal prescribing


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of opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for

Opana ER (although the subsequent criminal charges at issue did not involve Opana ER).

       804.    As all the governmental actions against the Manufacturer Defendants and against

all the Defendants shows, Defendants knew that their actions were unlawful, and yet deliberately

refused to change their practices because compliance with their legal obligations would have

decreased their sales and their profits.

XII.   CAUSES OF ACTION AGAINST

               FIRST CAUSE OF ACTION: PUBLIC NUISANCE

       805.    Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

         1.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

         2.    Defendant is liable for public nuisance because its conduct at issue has caused an

unreasonable and substantial interference with a right common to the general public, which is the

proximate cause of, and/or substantial factor leading to, Plaintiff’s injury. See Restatement

Second, Torts § 821B.

         3.    Puerto Rico has declared that Puerto Rico consumers of prescription drugs will be

better assured of safe and effective prescription drug products if the Commonwealth joins with

other jurisdictions to require the licensure of all persons who operate facilities from which they

engage in the wholesale distribution of prescription drugs. Further, the legislature has declared

that it is the further intent of the General Assembly to promote the safety and effectiveness of

prescription drug products by requiring all persons who operate facilities within this

Commonwealth from which they engage in the wholesale distribution of prescription drugs to

secure a license and meet minimum quality assurance and operational standards as required by


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the Act.

           4.    By causing dangerously addictive drugs to flood the community, and to be

diverted for illicit purposes, in contravention of federal, State and Commonwealth law, each

Defendant has injuriously affected rights common to the general public, specifically including

the rights of the people of the Plaintiff’s Community to public health, public safety, public peace,

public comfort, and public convenience. The public nuisance caused by Defendants’ diversion of

dangerous drugs has caused substantial annoyance, inconvenience, and injury to the public.

           5.    By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a continuing course of conduct that

injuriously affects the safety, health, and morals of the people of the Plaintiff’s Community.

           6.    By failing to maintain a closed system that guards against diversion of

dangerously addictive drugs for illicit purposes, Defendants injuriously affected public rights,

including the right to public health, public safety, public peace, and public comfort of the people

of the Commonwealth and Plaintiff’s Community.

           7.    Plaintiff alleges that Defendants wrongful and illegal actions have created a

public nuisance. Each Defendant is liable for public nuisance because its conduct at issue has

caused an unreasonable interference with a right common to the general public.

           8.    The Defendants have intentionally and/or unlawfully created an absolute

nuisance.

           9.    The residents of Plaintiff’s Community have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety, and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property.

           10.   Defendants intentionally, unlawfully, and recklessly manufacture, market,


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distribute, and sell prescription opioids that Defendants know, or reasonably should know, will

be diverted, causing widespread distribution of prescription opioids in and/or to Plaintiff’s

Community, resulting in addiction and abuse, an elevated level of crime, death and injuries to the

residents of Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to the

residents of Plaintiff’s Community, and direct costs to Plaintiff’s Community.

          11.   Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

residents.

          12.   Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

was illegal. Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

stop shipment of suspicious orders.

          13.   Defendants have caused a significant and unreasonable interference with the

public health, safety, welfare, peace, comfort and convenience, and ability to be free from

disturbance and reasonable apprehension of danger to person or property.

          14.   Defendants’ conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally Plaintiff’s Community is

of a continuing nature.

          15.   Defendants’ actions have been of a persistent and continuing nature and have

produced a significant effect upon the public’s rights, including the public’s right to health and

safety.

          16.   A violation of any rule or law controlling the distribution of a drug of abuse in


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Plaintiff’s Community and the Commonwealth is a public nuisance.

               17.        Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

               18.        Defendants’ ongoing and repeated course of conduct produces an ongoing

nuisance, as the prescription opioids that they allow and/or cause to be illegally distributed and

possessed in Plaintiff’s Community will be diverted, leading to abuse, addiction, crime, and

public health costs.

               19.        Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

               20.        Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

               21.        Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

               22.        Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are

in the business of manufacturing, marketing, selling, and distributing prescription drugs,

including opioids, which are specifically known to Defendants to be dangerous under federal

law.12

               23.        Defendants’ conduct in marketing, distributing, and selling prescription opioids




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     See, e.g., 21 U.S.C. § 812 (b)(2).


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which the defendants know, or reasonably should know, will likely be diverted for non-

legitimate, non-medical use, creates a strong likelihood that these illegal distributions of opioids

will cause death and injuries to residents in Plaintiff’s Community and otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

         24.   It is, or should be, reasonably foreseeable to defendants that their conduct will

cause deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

         25.   The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only

causes deaths and injuries, but also creates a palpable climate of fear among residents in

Plaintiff’s Community where opioid diversion, abuse, addiction are prevalent and where diverted

opioids tend to be used frequently.

         26.   Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

         27.   Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ special

positions within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

         28.   The presence of diverted prescription opioids in Plaintiff’s Community, and the

consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

results in and/or substantially contributing to the creation of significant costs to the Plaintiff and


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to Plaintiff’s Community in order to enforce the law, equip its police force and treat the victims

of opioid abuse and addiction.

        29.    Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

        30.    Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community, costs borne by

Plaintiff’s Community and the Plaintiff, and a significant and unreasonable interference with

public health, safety and welfare, and with the public’s right to be free from disturbance and

reasonable apprehension of danger to person and property.

        31.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

to threaten the health, safety and welfare of the residents of Plaintiff’s Community, creating an

atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

        32.    Defendants created an absolute nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated

plague of prescription opioid and heroin addiction. Defendants knew the dangers to public health

and safety that diversion of opioids would create in Plaintiff’s Community, however, Defendants

intentionally and/or unlawfully failed to maintain effective controls against diversion through

proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and

failed to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants


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intentionally and/or unlawfully marketed opioids in manners they knew to be false and

misleading. Such actions were inherently dangerous.

        33.    Defendants knew the prescription opioids have a high likelihood of being

diverted. It was foreseeable to Defendants that where Defendants distributed prescription opioids

or caused such opioids to be distributed without maintaining effective controls against diversion,

including monitoring, reporting, and refusing shipment of suspicious orders, that the opioids

would be diverted, and create an opioid abuse nuisance in Plaintiff’s Community.

        34.    Defendants’ actions also created a qualified nuisance. Defendants acted

recklessly, negligently and/or carelessly, in breach of their duties to maintain effective controls

against diversion, thereby creating an unreasonable risk of harm.

        35.    Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

        36.    The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance which the

government seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiff seeks

all damages flowing from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and

harm created by Defendants’ conduct.

        37.    As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s Community

have suffered actual ongoing injury and damages including, but not limited to, significant

expenses for police, emergency, health, prosecution, corrections and other services. The Plaintiff

here seeks recovery for its own harm.

        38.    The Plaintiff and Plaintiff’s Community have sustained specific and special

injuries because their damages include, inter alia, health services, law enforcement expenditures,


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and costs related to opioid addiction treatment and overdose prevention.

        39.     The Plaintiff further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions

and interference with a right common to the public.

        40.     Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

abatement, compensatory damages, and punitive damages from the Defendants for the creation

of a public nuisance, attorney fees and costs, and pre- and post-judgment interest.

        41.     Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.

        42.     Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff’s community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because inter alia these drugs are defined

under federal, state and Commonwealth law as substances posing a high potential for abuse and

severe addiction. Defendants created an absolute nuisance. Defendants’ actions created and

expanded the abuse of opioids, drugs specifically codified as constituting severely harmful

substances.

        43.     The public nuisance created by Defendants’ actions is substantial and

unreasonable – it has caused and continues to cause significant harm to the community, and the

harm inflicted outweighs any offsetting benefit. The staggering rates of opioid and heroin use

resulting from the Defendants’ abdication of their gate-keeping and diversion prevention duties,

and the Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to the following:

              a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose,
                 injuries, and deaths.

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   b. Even children have fallen victim to the opioid epidemic. Easy access to
      prescription opioids made opioids a recreational drug of choice among teenagers.


   c. Even infants have been born addicted to opioids due to prenatal exposure,
      causing severe withdrawal symptoms and lasting developmental impacts


   d. Even those residents of Plaintiff’s Community who have never taken opioids
      have suffered from the public nuisance arising from Defendants’ abdication of
      their gate-keeper duties and fraudulent promotions. Many residents have endured
      both the emotional and financial costs of caring for loved ones addicted to or
      injured by opioids, and the loss of companionship, wages, or other support from
      family members who have used, abused, become addicted to, overdosed on, or
      been killed by opioids.


   e. The opioid epidemic has increased health care costs

   f. Employers have lost the value of productive and healthy employees.


   g. Defendants’ conduct created an abundance of drugs available for criminal use
      and fueled a new wave of addiction, abuse, and injury.

   h. Defendants’ dereliction of duties and/or fraudulent misinformation campaign
      pushing dangerous drugs resulted in a diverted supply of narcotics to sell, and
      the ensuing demand of addicts to buy them. More prescription opioids sold by
      Defendants led to more addiction, with many addicts turning from prescription
      opioids to heroin. People addicted to opioids frequently require increasing levels
      of opioids, and many turned to heroin as a foreseeable result.

   i.   The diversion of opioids into the secondary, criminal market and the increased
        number of individuals who abuse or are addicted to opioids increased the
        demands on health care services and law enforcement.

   j.   The significant and unreasonable interference with the public rights caused by
        Defendants’ conduct taxed the human, medical, public health, law enforcement,
        and financial resources of the Plaintiff’s Community.

   k. Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s
      Community is unreasonable because there is little social utility to opioid
      diversion and abuse, and any potential value is outweighed by the gravity of the
      harm inflicted by Defendants’ actions.

   l.   The Plaintiff and Plaintiff’s Community have sustained specific and special
        injuries because its damages include inter alia health services and law
        enforcement expenditures, as described in this Complaint.

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              m. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary
                 losses) resulting from Defendants’ fraudulent activity and fraudulent
                 misrepresentations. Plaintiff does not seek damages for physical personal injury
                 or any physical damage to property caused by Defendants’ actions.

              n. Plaintiff seeks all legal and equitable relief as allowed by law, other than such
                 damages disavowed herein, including inter alia injunctive relief, restitution,
                 disgorgement of profits, compensatory and punitive damages, and all damages
                 allowed by law to be paid by the Defendants, attorney fees and costs, and pre-
                 and post-judgment interest.


                 SECOND CAUSE OF ACTION: RACKETEER INFLUENCED AND
                 CORRUPT ORGANIZATIONS ACT 18 U.S.C. 1961, et seq. (Against All
                 Defendants)

        44.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth herein, and further alleges as follows

        45.     Plaintiff brings this Count on behalf of itself against the following Defendants, as

defined above: Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal,

and AmerisourceBergen (collectively, for purposes of this Count, the “RICO Defendants”).

        46.     Each Defendant is associated with an enterprise which affects interstate

commerce for purposes which include the illegal distribution of opioids. As explained herein,

each Defendant conducted or participated in the enterprise’s affairs through commission of

criminal offenses which constitute a pattern of racketeering activity.

        47.     The RICO Defendants conducted and continue to conduct their business through

legitimate and illegitimate means in the form of an association-in- fact enterprise and/or a legal

entity enterprise. At all relevant times, the RICO Defendants were “persons” under 18 U.S.C. §

1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial interest

in property.”

        48.     Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

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commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity or collection of unlawful debt.”13

               49.       Defendant corporations are “persons” within the meaning of 18 U.S.C.A. §

1961(3) which conducted the affairs of an enterprise through a pattern of racketeering activity, in

violation of 18 U.S.C.A. § 1962.14

               50.       The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity.”15 The definition of “enterprise” in Section 1961(4) includes

legitimate and illegitimate enterprises within its scope. Specifically, the section “describes two

separate categories of associations that come within the purview of an ‘enterprise’ -- the first

encompassing organizations such as corporations, partnerships, and other ‘legal entities,’ and the

second covering ‘any union or group of individuals associated in fact although not a legal

entity.’”16 The second category is not a more generalized description of the first. Id

               51.       The Plaintiff was injured in its business or property as a result of each

Defendant’s wrongful conduct and is a “person” who can bring an action for violation of section

1962, as that term is defined in 18 U.S.C.A. § 1961(3). “Any person injured in his business or

property by reason of a violation of section 1962 of this chapter may sue therefor in any

appropriate United States district court and shall recover threefold the damages he sustains and

the cost of the suit, including a reasonable attorney’s fee....”17




13
     18 U.S.C. § 1962(c); United States v. Turkette, 452 U.S. 576, 580 (1981).
14
     Accord In re ClassicStar Mare Lease Litig., 727 F.3d at 490- 494 (6th Cir. 2013).
15
     18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v. U.S., 556 U.S. 938, 944 (2009).
16
     Turkette, 452 U.S. at 577.
17
  18 U.S.C.A. § 1964. See Plaintiff of Oakland v. City of Detroit, 866 F.2d 839 (6th Cir. 1989) (Plaintiff was “person” with standing to bring a
RICO claim), cert. den., 497 U.S. 1003 (1990)).


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           52.   Each Defendant conducted and participated in the conduct of the affairs of each

Defendant’s Opioids Marketing Enterprise through a pattern of racketeering activity, which

violates 18 U.S.C.A. § 1962(c).

           53.   Regardless of any licenses or registrations held by Defendants to distribute

dangerous and harmful drugs, their conduct was not “lawful.” Defendants engaged in a

fraudulent and unlawful course of conduct constituting a pattern of racketeering activity.

           54.   For over a decade, the RICO Defendants aggressively sought to bolster their

revenue, increase profit, and grow their share of the prescription painkiller market by unlawfully

and surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants

are not permitted to engage in a limitless expansion of their market through the unlawful sales of

regulated painkillers. As “registrants,” the RICO Defendants operated and continue to operate

within the “closed-system” created under the Controlled Substances Act, 21 U.S.C. § 821, et

seq.(the “CSA”). The CSA restricts the RICO Defendants’ ability to manufacture or distribute

Schedule II substances like opioids by requiring them to: (1) register to manufacture or distribute

opioids; (2) maintain effective controls against diversion of the controlled substances that they

manufacturer or distribute; (3) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales, and report them to the DEA; and (4) make sales

within a limited quota set by the DEA for the overall production of Schedule II substances like

opioids.

           55.   The closed-system created by the CSA, including the establishment of quotas,

was specifically intended to reduce or eliminate the diversion of Schedule II substances like

opioids from “legitimate channels of trade” to the illicit market by controlling the quantities of




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the basic ingredients needed for the manufacture of [controlled substances].”18

               56.       Finding it impossible to legally achieve their ever increasing sales ambitions,

members of the Opioid Diversion Enterprise (as defined below) systematically and fraudulently

violated their statutory duty to maintain effective controls against diversion of their drugs, to

design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

suspicious orders, and to notify the DEA of suspicious orders.19 As discussed in detail below,

through the RICO Defendants’ scheme, members of the Opioid Diversion Enterprise repeatedly

engaged in unlawful sales of painkillers which, in turn, artificially and illegally increased the

annual production quotas for opioids allowed by the DEA.20 In doing so, the RICO Defendants

allowed hundreds of millions of pills to enter the illicit market which allowed them to generate

obscene profits.

               57.       Defendants’ illegal scheme was hatched by an association-in-fact enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them. In particular, each of the RICO Defendants were associated with, and

conducted or participated in, the affairs of the RICO enterprise (defined below and referred to

collectively as the “Opioid Diversion Enterprise”), whose purpose was to engage in the unlawful

sales of opioids, deceive the public and federal and state regulators into believing that the RICO

Defendants were faithfully fulfilling their statutory obligations. The RICO Defendants’ scheme

allowed them to make billions in unlawful sales of opioids and, in turn, increase and/or maintain

high production quotas with the purpose of ensuring unlawfully increasing revenues, profits, and




18
     1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi
before the Caucus on International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/ files/Rannazzisi%20Testimony_0.pdf).
19
     21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
20
     21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.


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market share. As a direct result of the RICO Defendants’ fraudulent scheme, course of conduct,

and pattern of racketeering activity, they were able to extract billions of dollars of revenue from

the addicted American public, while entities like the Plaintiff experienced tens of millions of

dollars of injury caused by the reasonably foreseeable consequences of the prescription opioid

addiction epidemic. As explained in detail below, the RICO Defendants’ misconduct violated

Section 1962(c) and Plaintiff is entitled to treble damages for its injuries under 18 U.S.C. §

1964(c).

            58.       Alternatively, the RICO Defendants were members of a legal entity enterprise

within the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States. Specifically,

the Healthcare Distribution Alliance (the “HDA”)21 is a distinct legal entity that satisfies the

definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of

the District of Columbia and doing business in Virginia. As a non-profit corporation, HDA

qualifies as an “enterprise” within the definition set out in 18 U.S.C. §1961(4) because it is a

corporation and a legal entity.

            59.       On information and belief, each of the RICO Defendants is a member, participant,

and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and

to engage in the pattern of racketeering activity that gives rise to the Count.

            60.       Each of the RICO Defendants is a legal entity separate and distinct from the

HDA. And, the HDA serves the interests of distributors and manufacturers beyond the RICO

Defendants. Therefore, the HDA exists separately from the Opioid Diversion Enterprise, and

each of the RICO Defendants exists separately from the HDA. Therefore, the HDA may serve as



21
  Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/ about/hda-history.


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a RICO enterprise.

               61.      The legal and association-in-fact enterprises alleged in the previous and

subsequent paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion

Enterprise by engaging in a pattern of racketeering activity. Therefore, the legal and association-

in-fact enterprises alleged in the previous and subsequent paragraphs are pleaded in the

alternative and are collectively referred to as the “Opioid Diversion Enterprise.”

                     A. THE OPIOID DIVERSION ENTERPRISE

               62.      Recognizing that there is a need for greater scrutiny over controlled substances

due to their potential for abuse and danger to public health and safety, the United States

Congress enacted the Controlled Substances Act in 1970.22 The CSA and its implementing

regulations created a closed-system of distribution for all controlled substances and listed

chemicals.23 Congress specifically designed the closed chain of distribution to prevent the

diversion of legally produced controlled substances into the illicit market.24 As reflected in

comments from United States Senators during deliberation on the CSA, the “[CSA] is designed

to crack down hard on the narcotics pusher and the illegal diverters of pep pills and goof balls.”25

Congress was concerned with the diversion of drugs out of legitimate channels of distribution

when it enacted the CSA and acted to halt the “widespread diversion of [controlled substances]




22
  Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-cv-185 (Document 14-2
February 10, 2012).
23
     See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
24
     Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§
821-824, 827, 880; H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept.
10, 1970).
25
     See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-
78 (Comments of Sen. Dodd, Jan 23, 1970).




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out of legitimate channels into the illegal market.”26 Moreover, the closed-system was

specifically designed to ensure that there are multiple ways of identifying and preventing

diversion through active participation by registrants within the drug delivery chain. 27 All

registrants -- manufacturers and distributors alike -- must adhere to the specific security,

recordkeeping, monitoring and reporting requirements that are designed to identify or prevent

diversion.28 When registrants at any level fail to fulfill their obligations, the necessary checks and

balances collapse.29 The result is the scourge of addiction that has occurred.

            63.       In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

reminding them of their obligation to maintain effective controls against diversion of particular

controlled substances, design and operate a system to disclose suspicious orders, and to inform

the DEA of any suspicious orders.30 The DEA also published suggested questions that a

distributor should ask prior to shipping controlled substances, in order to “know their

customers.”31

            64.       Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade”



26
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0. pdf).
27
  See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States Senate, July 18, 2012 (available at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
28
     Id.
29
  Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-cv-185 (Document 14-2
February 10, 2012).
30
 Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi, In Reference to Registration #
RC0183080 (December 27, 2007).
31
  Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques
.pdf).




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by controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.”32 When

evaluating production quotas, the DEA was instructed to consider the following information:

                     a. Information provided by the Department of Health and Human Services;

                     b. Total net disposal of the basic class by all manufacturers;

                     c. Trends in the national rate of disposal of the basic class;

                     d. An applicant’s production cycle and current inventory position;

                     e. Total actual or estimated inventories of the class and of all substances
                        manufactured from the class and trends in inventory accumulation; and

                     f. Other factors such as: changes in the currently accepted medical use of
                        substances manufactured for a basic class; the economic and physical availability
                        of raw materials; yield and sustainability issues; potential disruptions to
                        production; and unforeseen emergencies.33

               65.       It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.34

               66.       At all relevant times, the RICO Defendants operated as an association-in-fact

enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market, in order to unlawfully increase the

quotas set by the DEA and allow them to collectively benefit from the unlawful formation of a

greater pool of prescription opioids from which to profit. The RICO Defendants conducted their




32
  1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United
States Senate, May 5, 2015 (available at https://www.drugcaucus.senate.gov/sites/default/ files/Rannazzisi%20Testimony_0.pdf).
33
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0. pdf).
34
     Id. (citing 21 U.S.C. 842(b)).


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pattern of racketeering activity in this jurisdiction and throughout the United States through this

enterprise.

               67.       The opioid epidemic has its origins in the mid-1990s when, between 1997 and

2007, per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold,

and 9-fold, respectively. By 2010, enough prescription opioids were sold in the United States to

medicate every adult in Plaintiff with a dose of 5 milligrams of hydrocodone every 4 hours for 1

month.35 On information and belief, the Opioid Diversion Enterprise has been ongoing for at

least the last decade.36

               68.       The Opioid Diversion Enterprise was and is a shockingly successful endeavor. It

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis. But, it

was not until recently that United States and State regulators finally began to unravel the extent

of the enterprise and the toll that it exacted on the American public.

               69.       At all relevant times, the Opioid Diversion Enterprise:

                     a. had an existence separate and distinct from each RICO Defendant;

                     b. was separate and distinct from the pattern of racketeering in which the RICO
                        Defendants engaged;

                     c. was an ongoing and continuing organization consisting of legal entities,
                        including each of the RICO Defendants;

                     d. characterized by interpersonal relationships among the RICO Defendants;

                     e. had sufficient longevity for the enterprise to pursue its purpose; and

                     f. functioned as a continuing unit.37




35
  Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural- urban differences in nonmedical prescription opioid use and
abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
36
  Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity (September 19, 2017, 12:01
a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber- shaped-policy-amid-drug-epidemic.
37
     Turkette, 452 U.S. at 580; Boyle, 556 U.S. at 944 (2009).


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            70.      Each member of the Opioid Diversion Enterprise participated in the conduct of

the enterprise, including patterns of racketeering activity, and shared in the astounding growth of

profits supplied by fraudulently inflating opioid sales generated as a result of the Opioid

Diversion Enterprise’s disregard for their duty to prevent diversion of their drugs into the illicit

market and then requesting the DEA increase production quotas, all so that the RICO Defendants

would have a larger pool of prescription opioids from which to profit.

            71.      The Opioid Diversion Enterprise also engaged in efforts to lobby against the

DEA’s authority to hold the RICO Defendants liable for disregarding their duty to prevent

diversion. Members of the Pain Care Forum (described in greater detail below) and the

Healthcare Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s

enforcement authority. The Ensuring Patient Access and Effective Drug Enforcement Act

significantly reduced the DEA’s ability to issue orders to show cause and to suspend and/or

revoke registrations.38 The HDA and other members of the Pain Care Forum contributed

substantial amounts of money to political campaigns for federal candidates, state candidates,

political action committees and political parties. Plaintiff is informed and believes that the HDA

devoted over a million dollars a year to its lobbying efforts between 2011 and 2016.

            72.      The Opioid Diversion Enterprise functioned by selling prescription opioids. While

there are some legitimate uses and/or needs for prescription opioids, the RICO Defendants,

through their illegal enterprise, engaged in a pattern of racketeering activity, that involves a




38
  See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July 6, 2016),
http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/; Lenny Bernstein & Scott Higham,
Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016,
https://www.washingtonpost.com/investigations/the-dea-slowed- enforcement-while-the-opioid-epidemic-grew-out-of-
control/2016/10/22/aea2bf8e- 7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for
Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation- of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-
11e7-b1e9- a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-
Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership- in-wv-amid-flood-of-pain-pills-.


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fraudulent scheme to increase revenue by violating Federal, State and Commonwealth laws

requiring the maintenance of effective controls against diversion of prescription opioids, and the

identification, investigation, and reporting of suspicious orders of prescription opioids destined

for the illicit drug market. The goal of Defendants’ scheme was to increase profits from opioid

sales. But, Defendants’ profits were limited by the production quotas set by the DEA, so the

Defendants refused to identify, investigate and/or report suspicious orders of their prescription

opioids being diverted into the illicit drug market. The end result of this strategy was to increase

and maintain artificially high production quotas of opioids so that there was a larger pool of

opioids for Defendants to manufacture and distribute for public consumption.

        73.    The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across states lines,

such as manufacture, sale, distribution, and shipment of prescription opioids throughout the

Municipality and this jurisdiction, and the corresponding payment and/or receipt of money from

the sale of the same.

        74.    Within the Opioid Diversion Enterprise, there were interpersonal relationships

and common communication by which the RICO Defendants shared information on a regular

basis. These interpersonal relationships also formed the organization of the Opioid Diversion

Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

        75.    Each of the RICO Defendants had a systematic link to each other through joint

participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. The RICO Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein.


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While the RICO Defendants participated in, and are members of, the enterprise, they each have a

separate existence from the enterprise, including distinct legal statuses, different offices and

roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements, and financial statements.

            76.      The RICO Defendants exerted substantial control over the Opioid Diversion

Enterprise by their membership in the Pain Care Forum, the HDA, and through their contractual

relationships.

            77.      The Pain Care Forum (“PCF”) has been described as a coalition of drugmakers,

trade groups and dozens of non-profit organizations supported by industry funding. The PCF

recently became a national news story when it was discovered that lobbyists for members of the

PCF quietly shaped federal, state and Commonwealth policies regarding the use of prescription

opioids for more than a decade.

            78.      The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drugmakers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.”39 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures.40

            79.      Not surprisingly, each of the RICO Defendants who stood to profit from lobbying

in favor of prescription opioid use is a member of and/or participant in the PCF.41 In 2012,




39
  Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity (September 19, 2017, 12:01
a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber- shaped-policy-amid-drug-epidemic (emphasis added).
40
     Id.
41
 PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011), https://assets.documentcloud.org/documents/3108982/PAIN-
CARE-FORUM- Meetings-Schedule-amp.pdf.




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membership and participating organizations included the HDA (of which all RICO Defendants

are members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen

Pharmaceuticals), Actavis (i.e., Allergan), and Teva (the parent company of Cephalon).42 Each of

the Manufacturer Defendants worked together through the PCF to advance the interests of the

enterprise. But, the Manufacturer Defendants were not alone. The Distributor Defendants

actively participated, and continue to participate in the PCF, at a minimum, through their trade

organization, the HDA.43 Plaintiff is informed and believes that the Distributor Defendants

participated directly in the PCF as well.

               80.      The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing on

the subject of the Defendants’ interpersonal relationships. The meeting schedule indicates that

meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a monthly basis,

unless otherwise noted. Local members were “encouraged to attend in person” at the monthly

meetings. And, the meeting schedule indicates that the quarterly and year-end meetings included

a “Guest Speaker.”

               81.      The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

Defendants participated in meetings on a monthly basis, either directly or through their trade

organization, in a coalition of drugmakers and their allies whose sole purpose was to shape the

national response to the ongoing prescription opioid epidemic, including the concerted lobbying

efforts that the PCF undertook on behalf of its members.




42
     Id. Plaintiff is informed and believes that Mallinckrodt became an active member of the PCF sometime after 2012.
43
  Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer, Pharmaceutical Segment for
Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation, and the
President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14,
2017), https://www.healthcaredistribution.org/ about/executive-committee.




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            82.      Second, the HDA -- or Healthcare Distribution Alliance -- led to the formation of

interpersonal relationships and an organization between the RICO Defendants. Although the

entire HDA membership directory is private, the HDA website confirms that each of the

Distributor Defendants and the Manufacturer Defendants named in the Complaint, including

Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA.44

And, the HDA and each of the Distributor Defendants, eagerly sought the active membership and

participation of the Manufacturer Defendants by advocating that one of the benefits of

membership included the ability to develop direct relationships between Manufacturers and

Distributors at high executive levels.

            83.      In fact, the HDA touted the benefits of membership to the Manufacturer

Defendants, advocating that membership included the ability to, among other things, “network

one on one with manufacturer executives at HDA’s members-only Business and Leadership

Conference,” “networking with HDA wholesale distributor members,” “opportunities to host and

sponsor HDA Board of Directors events,” “participate on HDA committees, task forces and

working groups with peers and trading partners,” and “make connections.”45 Clearly, the HDA

and the Distributor Defendants believed that membership in the HDA was an opportunity to

create interpersonal and ongoing organizational relationships between the Manufacturers and

Defendants.

            84.      The application for manufacturer membership in the HDA further indicates the

level of connection that existed between the RICO Defendants.46 The manufacturer membership




44
  Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/ manufacturer.
45
  Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/ pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
46
  Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/ media/pdfs/membership/manufacturer-membership-application.ashx?la=en.


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application must be signed by a “senior company executive,” and it requests that the

manufacturer applicant identify a key contact and any additional contacts from within its

company. The HDA application also requests that the manufacturer identify its current

distribution information and its most recent year end net sales through any HDA distributors,

including but not limited to, Defendants AmerisourceBergen, Cardinal Health, and McKesson.47

            85.      After becoming members, the Distributors and Manufacturers were eligible to

participate on councils, committees, task forces and working groups, including:

                  a. Industry Relations Council: “This council, composed of distributor and
                     manufacturer members, provides leadership on pharmaceutical distribution and
                     supply chain issues.”48

                  b. Business Technology Committee: “This committee provides guidance to HDA
                     and its members through the development of collaborative e- commerce business
                     solutions. The committee’s major areas of focus within pharmaceutical
                     distribution include information systems, operational integration and the impact
                     of e-commerce.” Participation in this committee includes distributors and
                     manufacturer members.49

                  c. Health, Beauty and Wellness Committee: “This committee conducts research, as
                     well as creates and exchanges industry knowledge to help shape the future of the
                     distribution for health, beauty and wellness/consumer products in the healthcare
                     supply chain.” Participation in this committee includes distributors and
                     manufacturer members.50

                  d. Logistics Operation Committee: “This committee initiates projects designed to
                     help members enhance the productivity, efficiency and customer satisfaction
                     within the healthcare supply chain. Its major areas of focus include process
                     automation, information systems, operational integration, resource management
                     and quality improvement.” Participation in this committee includes distributors
                     and manufacturer members.51


47
     Id.
48
  Councils and Committees, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/councils-and- committees
49
     Id.
50
     Id.
51
     Id.




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                 e. Manufacturer Government Affairs Advisory Committee: “This committee
                    provides a forum for briefing HDA’s manufacturer members on federal and state
                    legislative and regulatory activity affecting the pharmaceutical distribution
                    channel. Topics discussed include such issues as prescription drug traceability,
                    distributor licensing, FDA and DEA regulation of distribution, importation and
                    Medicaid/Medicare reimbursement.” Participation in this committee includes
                    manufacturer members.52

                 f. Bar Code Task Force: Participation includes Distributor, Manufacturer and
                    Service Provider Members.53

                 g. eCommerce Task Force: Participation includes Distributor, Manufacturer and
                    Service Provider Members.54

                 h. ASN Working Group:         Participation includes Distributor, Manufacturer and
                    Service Provider Members.55

                 i.    Contracts and Chargebacks Working Group: “This working group explores how
                       the contract administration process can be streamlined through process
                       improvements or technical efficiencies. It also creates and exchanges industry
                       knowledge of interest to contract and chargeback professionals.” Participation
                       includes Distributor and Manufacturer Members.56

                 j.    The councils, committees, task forces and working groups provided the
                       Manufacturer and Distributor Defendants with the opportunity to work closely
                       together in shaping their common goals and forming the enterprise’s
                       organization.

           86.        The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA, and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing




52
     Id.
53
     Id.
54
     Id.
55
     Id.
56
     Id.




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industry issues.”57 The conferences also gave the Manufacturer and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”58 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high- level of leadership. And, it

is clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

these events.59

            87.      Third, the RICO Defendants maintained their interpersonal relationships by

working together and exchanging information and driving the unlawful sales of their opioids

through their contractual relationships, including chargebacks and vault security programs.

            88.      The Manufacturer Defendants engaged in an industry-wide practice of paying

rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids.60 As

reported in the Washington Post, identified by Senator McCaskill, and acknowledged by the

HDA, there is an industry-wide practice whereby the Manufacturers paid the Distributors rebates

and/or chargebacks on their prescription opioid sales.61 On information and belief, these

contracts were negotiated at the highest levels, demonstrating ongoing relationships between the

Manufacturer and Distributor Defendants. In return for the rebates and chargebacks, the




57
  Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/events/2015-business-and-leadership- conference/blc-for-manufacturers.
58
     Id.
59
  2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/events/2015-distribution-management- conference.
60
  Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The Washington Post, (April 2, 2017),
https://www.washingtonpost.com/graphics/investigations/dea- mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire
McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation- letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation- letter-manufacturers.png;
Letters From Sen. Claire McCaskill, (March 28, 2017), https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue
Pharma, (accessed on September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
61
     Id.




                                                                                                                                       231
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Distributor Defendants provided the Manufacturer Defendants with detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices.62 The Manufacturer Defendants used this information to gather high-level

data regarding overall distribution and direct the Distributor Defendants on how to most

effectively sell the prescription opioids.

            89.      The contractual relationships among the RICO Defendants also include vault

security programs. The RICO Defendants are required to maintain certain security protocols and

storage facilities for the manufacture and distribution of their opiates. Plaintiff is informed and

believes that manufacturers negotiated agreements whereby the Manufacturers installed security

vaults for Distributors in exchange for agreements to maintain minimum sales performance

thresholds. Plaintiff is informed and believes that these agreements were used by the RICO

Defendants as a tool to violate their reporting and diversion duties in order to reach the required

sales requirements.

            90.      Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants

were not two separate groups operating in isolation or two groups forced to work together in a

closed system. The RICO Defendants operated together as a united entity, working together on

multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain

Care Forum are but two examples of the overlapping relationships, and concerted joint efforts to

accomplish common goals and demonstrates that the leaders of each of the RICO Defendants

was in communication and cooperation.



62
  Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017), https://www.healthcaredistribution.org/resources/webinar-
leveraging-edi.


                                                                                                                                        232
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               91.      According to articles published by the Center for Public Integrity and The

Associated Press, the Pain Care Forum -- whose members include the Manufacturers and the

Distributors’ trade association has been lobbying on behalf of the Manufacturers and Distributors

for “more than a decade.”63 And, from 2006 to 2016 the Distributors and Manufacturers worked

together through the Pain Care Forum to spend over $740 million lobbying in the nation’s capital

and in all 50 statehouses on issues including opioid-related measures.64 Similarly, the HDA has

continued its work on behalf of Distributors and Manufacturers, without interruption, since at

least 2000, if not longer.65

               92.      As described above, the RICO Defendants began working together as early as

2006 through the Pain Care Forum and/or the HDA to promote the common purpose of their

enterprise. Plaintiff is informed and believes that the RICO Defendants worked together as an

ongoing and continuous organization throughout the existence of their enterprise.

                     B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

               93.      During the time period alleged in this Complaint, the RICO Defendants exerted

control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

failing to comply with their Federal State and Commonwealth obligations to identify, investigate

and report suspicious orders of opioids in order to prevent diversion of those highly addictive

substances into the illicit market, to halt such unlawful sales and, in doing so, to increase

production quotas and generate unlawful profits, as follows:

               94.      Defendants disseminated false and misleading statements to the public claiming




63
     Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug
epidemic, The Center for Public Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-
echo-chamber- shaped-policy-amid-drug-epidemic.
64
     Id.
65
     HDA History, Healthcare Distribution Alliance, (accessed on September 14, 2017), https://www.healthcaredistribution.org/about/hda-history.


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that they were complying with their obligations to maintain effective controls against diversion

of their prescription opioids.

              95.      Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligations to design and operate a system to disclose to the

registrant suspicious orders of their prescription opioids.

              96.      Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligation to notify the DEA of any suspicious orders or

diversion of their prescription opioids.

              97.      Defendants paid nearly $800 million dollars to influence federal, state, and

Commonwealth governments through joint lobbying efforts as part of the Pain Care Forum. The

RICO Defendants were all members of their Pain Care Forum either directly or indirectly

through the HDA. The lobbying efforts of the Pain Care Forum and its members, included efforts

to pass legislation making it more difficult for the DEA to suspend and/or revoke the

Manufacturers’ and Distributors’ registrations for failure to report suspicious orders of opioids.

              98.      The RICO Defendants exercised control and influence over the distribution

industry by participating and maintaining membership in the HDA.

              99.      The RICO Defendants applied political and other pressure on the DOJ and DEA

to halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied

Congress to strip the DEA of its ability to immediately suspend registrations pending

investigation by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.” 66



66
     See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical
Commerce, (June 13, 2016, updated July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare- distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control,
Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed- enforcement-while-the-opioid-epidemic-grew-out-




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            100. The RICO Defendants engaged in an industry-wide practice of paying rebates and

chargebacks to incentivize unlawful opioid prescription sales. Plaintiff is informed and believes

that the Manufacturer Defendants used the chargeback program to acquire detailed high-level

data regarding sales of the opioids they manufactured. And, Plaintiff is informed and believes

that the Manufacturer Defendants used this high-level information to direct the Distributor

Defendants’ sales efforts to regions where prescription opioids were selling in larger volumes.

            101. The Manufacturer Defendants lobbied the DEA to increase Aggregate Production

Quotas, year after year by submitting net disposal information that the Manufacturer Defendants

knew included sales that were suspicious and involved the diversion of opioids that had not been

properly investigated or reported by the RICO Defendants.

            102. The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Defendants identify suspicious orders or customers who were likely to

divert prescription opioids.67 On information and belief, the “know your customer”

questionnaires informed the RICO Defendants of the number of pills that the pharmacies sold,

how many non- controlled substances are sold compared to controlled substances, whether the

pharmacy buys from other distributors, the types of medical providers in the area, including pain




of-control/2016/10/22/aea2bf8e- 7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls
for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation- of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-
11e7-b1e9- a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-
Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership- in-wv-amid-flood-of-pain-pills-.
67
  Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques
.pdf); Richard Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and McQuite
Woods LLC, (available at https://www.mcguirewoods.com/news- resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).




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clinics, general practitioners, hospice facilities, cancer treatment facilities, among others, and

these questionnaires put the recipients on notice of suspicious orders.

            103. The RICO Defendants refused to identify, investigate and report suspicious orders

to the DEA when they became aware of the same despite their actual knowledge of drug

diversion rings. The RICO Defendants refused to identify suspicious orders and diverted drugs

despite the DEA issuing final decisions against the Distributor Defendants in 178 registrant

actions between 2008 and 201268 and 117 recommended decision in registrant actions from The

Office of Administrative Law Judges. These numbers include 76 actions involving orders to

show cause and 41 actions involving immediate suspension orders -- all for failure to report

suspicious orders.69

            104. Defendants’ scheme had decision-making structure that was driven by the

Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

Defendants worked together to control the Federal, State and Commonwealth Government’s

response to the manufacture and distribution of prescription opioids by increasing production

quotas through a systematic refusal to maintain effective controls against diversion, and identify

suspicious orders and report them to the DEA.

            105. The RICO Defendants worked together to control the flow of information and

influence Federal, State and Commonwealth governments and political candidates to pass

legislation that was pro-opioid. The Manufacturer and Distributor Defendants did this through

their participation in the Pain Care Forum and Healthcare Distributors Alliance.

            106. The RICO Defendants also worked together to ensure that the Aggregate




 Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement Administration’s Adjudication of
68

Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
69
     Id.


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Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA stayed high

and ensured that suspicious orders were not reported to the DEA. By not reporting suspicious

orders or diversion of prescription opioids, the RICO Defendants ensured that the DEA had no

basis for refusing to increase or decrease the production quotas for prescription opioids due to

diversion of suspicious orders. The RICO Defendants influenced the DEA production quotas in

the following ways:

                 a. The Distributor Defendants assisted the enterprise and the Manufacturer
                    Defendants in their lobbying efforts through the Pain Care Forum;

                 b. The Distributor Defendants invited the participation, oversight and control of the
                    Manufacturer Defendants by including them in the HDA, including on the
                    councils, committees, task forces, and working groups;


                 c. The Distributor Defendants provided sales information to the Manufacturer
                    Defendants regarding their prescription opioids, including reports of all opioids
                    prescriptions filled by the Distributor Defendants;

                 d. The Manufacturer Defendants used a chargeback program to ensure delivery of
                    the Distributor Defendants’ sales information;

                 e. The Manufacturer Defendants obtained sales information from QuintilesIMS
                    (formerly IMS Health) that gave them a “stream of data showing how individual
                    doctors across the nation were prescribing opioids.”70

                 f. The Distributor Defendants accepted rebates and chargebacks for orders of
                    prescription opioids;

                 g. The Manufacturer Defendants used the Distributor Defendants’ sales information
                    and the data from QuintilesIMS to instruct the Distributor Defendants to focus
                    their distribution efforts to specific areas where the purchase of prescription
                    opioids was most frequent;

                 h. The RICO Defendants identified suspicious orders of prescription opioids and
                    then continued filling those unlawful orders, without reporting them, knowing
                    that they were suspicious and/or being diverted into the illicit drug market

                 i.    The RICO Defendants refused to report suspicious orders of prescription opioids


70
 Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the drugmaker knew, Los
Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/


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                     despite repeated investigation and punishment of the Distributor Defendants by
                     the DEA for failure to report suspicious orders; and

                j.   The RICO Defendants withheld information regarding suspicious orders and
                     illicit diversion from the DEA because it would have revealed that the “medical
                     need” for and the net disposal of their drugs did not justify the production quotas
                     set by the DEA.

        107. The scheme devised and implemented by the RICO Defendants amounted to a

common course of conduct characterized by a refusal to maintain effective controls against

diversion, and all designed and operated to ensure the continued unlawful sale of controlled

substances.

                C. PATTERN OF RACKETEERING ACTIVITY

        108. The RICO Defendants conducted and participated in the conduct of the Opioid

Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

1961(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 § 1343); and 18 U.S.C. §

1961(D) by the felonious manufacture, importation, receiving, concealment buying selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

           i.        The RICO Defendants Engaged in Mail and Wire Fraud.

        109. he RICO Defendants carried out, or attempted to carry out, a scheme to defraud

federal, state and Commonwealth regulators, and the American public by knowingly conducting

or participating in the conduct of the Opioid Diversion Enterprise through a pattern of

racketeering activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail

and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

        110. The RICO Defendants committed, conspired to commit, and/or aided and abetted

in the commission of at least two predicate acts of racketeering activity (i.e. violations of 18

U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity


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that the RICO Defendants committed, or aided and abetted in the commission of, were related to

each other, posed a threat of continued racketeering activity, and therefore constitute a “pattern

of racketeering activity.” The racketeering activity was made possible by the RICO Defendants’

regular use of the facilities, services, distribution channels, and employees of the Opioid

Diversion Enterprise. The RICO Defendants participated in the scheme to defraud by using mail,

telephone and the Internet to transmit mailings and wires in interstate or foreign commerce.

         111. The RICO Defendants used, directed the use of, and/or caused to be used,

thousands of interstate mail and wire communications in service of their scheme through

virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

         112. In devising and executing the illegal scheme, the RICO Defendants devised and

knowingly carried out a material scheme and/or artifice to defraud by means of materially false

or fraudulent pretenses, representations, promises, or omissions of material facts. For the purpose

of executing the illegal scheme, the RICO Defendants committed these racketeering acts, which

number in the thousands, intentionally and knowingly with the specific intent to advance the

illegal scheme.

         113. The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

include, but are not limited to:

             a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or
                receiving, or by causing to be sent and/or received, materials via U.S. mail or
                commercial interstate carriers for the purpose of executing the unlawful scheme
                to design, manufacture, market, and sell the prescription opioids by means of
                false pretenses, misrepresentations, promises, and omissions.

             b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting
                and/or receiving, or by causing to be transmitted and/or received, materials by

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                 wire for the purpose of executing the unlawful scheme to design, manufacture,
                 market, and sell the prescription opioids by means of false pretenses,
                 misrepresentations, promises, and omissions.

        114. The RICO Defendants’ use of the mail and wires includes, but is not limited to,

the transmission, delivery, or shipment of the following by the Manufacturers, Distributors, or

third parties that were foreseeably caused to be sent as a result of the RICO Defendants’ illegal

scheme, including but not limited to:

            a. The prescription opioids themselves;

            b. Documents and communications that facilitated the manufacture, purchase and
               unlawful sale of prescription opioids;

            c. Defendants’ DEA registrations;

            d. Documents and communications that supported and/or facilitated Defendants’
               DEA registrations;

            e. Documents and communications that supported and/or facilitated the
               Defendants’ request for higher aggregate production quotas, individual
               production quotas, and procurement quotas;

            f. Defendants’ records and reports that were required to be submitted to the DEA
               pursuant to 21 U.S.C. § 827;

            g. Documents and communications related to the Defendants’ mandatory DEA
               reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

            h. Documents intended to facilitate the manufacture and distribution of Defendants’
               prescription opioids, including bills of lading, invoices, shipping records, reports
               and correspondence;

            i.   Documents for processing and receiving payment for prescription opioids;

            j.   Payments from the Distributors to the Manufacturers;

            k. Rebates and chargebacks from the Manufacturers to the Distributors;

            l.   Payments to Defendants’ lobbyists through the Pain Care Forum;

            m. Payments to Defendants’ trade organizations, like the HDA, for memberships
               and/or sponsorships;

            n. Deposits of proceeds from Defendants’ manufacture and distribution of

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                   prescription opioids; and

                o. Other documents and things, including electronic communications.

         115. On information and belief, the RICO Defendants (and/or their agents), for the

purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or

received) by mail or by private or interstate carrier, shipments of prescription opioids and related

documents by mail or by private carrier affecting interstate commerce, including the following:

         116. Purdue manufactures multiple forms of prescription opioids, including but not

limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq

ER. Purdue manufactured and shipped these prescription opioids to the Distributor Defendants in

this jurisdiction.

         117. The Distributor Defendants shipped Purdue’s prescription opioids throughout this

jurisdiction.

         118. Cephalon manufactures multiple forms of prescription opioids, including but not

limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription opioids to

the Distributor Defendants in this jurisdiction.

         119. The Distributor Defendants shipped Teva’s prescription opioids throughout this

jurisdiction.

         120. Janssen manufactures prescription opioids known as Duragesic. Janssen

manufactured and shipped its prescription opioids to the Distributor Defendants in this

jurisdiction.

         121. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction

         122. Endo manufactures multiple forms of prescription opioids, including but not

limited to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and shipped


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its prescription opioids to the Distributor Defendants in this jurisdiction.

         123. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction.

         124. Actavis manufactures multiple forms of prescription opioids, including but not

limited to: Kadin and Norco, as well as generic versions of the drugs known as Kadian,

Duragesic and Opana. Actavis manufactured and shipped its prescription opioids to the

Distributor Defendants in this jurisdiction.

         125. The Distributor Defendants shipped Actavis’ prescription opioids throughout this

jurisdiction.

         126. Mallinckrodt manufactures multiple forms of prescription opioids, including but

not limited to: Exalgo and Roxicodone.

         127. The Distributor Defendants shipped Mallinckrodt’s prescription opioids

throughout this jurisdiction.

         128. The RICO Defendants also used the internet and other electronic facilities to carry

out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO

Defendants made misrepresentations about their compliance with Federal State and

Commonwealth laws requiring them to identify, investigate and report suspicious orders of

prescription opioids and/or diversion of the same into the illicit market.

         129. At the same time, the RICO Defendants misrepresented the superior safety

features of their order monitoring programs, ability to detect suspicious orders, commitment to

preventing diversion of prescription opioids and that they complied with all Federal, State and

Commonwealth regulations regarding the identification and reporting of suspicious orders of

prescription opioids.

         130. Plaintiff is also informed and believes that the RICO Defendants utilized the


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internet and other electronic resources to exchange communications, to exchange information

regarding prescription opioid sales, and to transmit payments and rebates/chargebacks.

        131. The RICO Defendants also communicated by U.S. Mail, by interstate facsimile,

and by interstate electronic mail and with various other affiliates, regional offices, regulators,

distributors, and other third-party entities in furtherance of the scheme.

        132. The mail and wire transmissions described herein were made in furtherance of

Defendants’ scheme and common course of conduct to deceive regulators and the public that

Defendants were complying with their Federal, State and Commonwealth obligations to identify

and report suspicious orders of prescription opioids all while Defendants were knowingly

allowing millions of doses of prescription opioids to divert into the illicit drug market. The RICO

Defendants’ scheme and common course of conduct was intended to increase or maintain high

production quotas for their prescription opioids from which they could profit.

        133. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

wire facilities have been deliberately hidden, and cannot be alleged without access to

Defendants’ books and records. But, Plaintiff has described the types of, and in some instances,

occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

        134. The RICO Defendants did not undertake the practices described herein in

isolation, but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various

other persons, firms, and corporations, including third-party entities and individuals not named

as defendants in this Complaint, may have contributed to and/or participated in the scheme with

the RICO Defendants in these offenses and have performed acts in furtherance of the scheme to

increase revenues, increase market share, and /or minimize the losses for the RICO Defendants.


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        135. The RICO Defendants aided and abetted others in the violations of the above

laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

        136. The RICO Defendants hid from the general public, and suppressed and/or ignored

warnings from third parties, whistleblowers and governmental entities, about the reality of the

suspicious orders that the RICO Defendants were filling on a daily basis -- leading to the

diversion of a tens of millions of doses of prescriptions opioids into the illicit market.

        137. The RICO Defendants, with knowledge and intent, agreed to the overall objective

of their fraudulent scheme and participated in the common course of conduct to commit acts of

fraud and indecency in manufacturing and distributing prescription opioids.

        138. Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants

had to agree to implement similar tactics regarding marketing prescription opioids and refusing

to report suspicious orders.

        139. As described herein, the RICO Defendants engaged in a pattern of related and

continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and

revenues from the sale of their highly addictive and dangerous drugs. The predicate acts also had

the same or similar results, participants, victims, and methods of commission. The predicate acts

were related and not isolated events.

        140. The predicate acts all had the purpose of generating significant revenue and

profits for the RICO Defendants while Plaintiff was left with substantial injury to its business

through the damage that the prescription opioid epidemic caused. The predicate acts were

committed or caused to be committed by the RICO Defendants through their participation in the

Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.


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         141. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.

         142. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

         143. Many of the precise dates of the RICO Defendants’ criminal actions at issue here

have been hidden and cannot be alleged without access to Defendants’ books and records.

Indeed, an essential part of the successful operation of the Opioids Addiction and Opioid

Diversion Enterprise alleged herein depended upon secrecy.

         144. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme

to increase and maintain their increased profits, without regard to the effect such behavior would

have on consumers in this jurisdiction, its citizens or the Plaintiff. In designing and implementing

the scheme, at all times Defendants were cognizant of the fact that those in the manufacturing

and distribution chain rely on the integrity of the pharmaceutical companies and ostensibly

neutral third parties to provide objective and reliable information regarding Defendants’ products

and their manufacture and distribution of those products. The Defendants were also aware that

Plaintiff and the citizens of this jurisdiction rely on the Defendants to maintain a closed system

and to protect against the non-medical diversion and use of their dangerously addictive opioid

drugs.

         145. By intentionally refusing to report and halt suspicious orders of their prescription


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opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

               146. It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the

flow of prescriptions opioids from appropriate medical channels into the illicit drug market.

               147. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

                 ii.      The RICO Defendants Manufactured, Sold and/or Dealt in Controlled
                          Substances and Their Crimes Are Punishable as Felonies.

               148. The RICO Defendants conducted and participated in the conduct of the affairs of

the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

§ 1961(D) by the felonious manufacture, importation, receiving, concealment, buying, selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

               149. The RICO Defendants committed crimes that are punishable as felonies under the

laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person to

knowingly or intentionally furnish false or fraudulent information in, or omit any material

information from, any application, report, record or other document required to be made, kept or

filed under this subchapter. A violation of section 483(a)(4) is punishable by up to four years in

jail, making it a felony.71

               150. Each of the RICO Defendants qualify as registrants under the CSA. Their status




71
     21 U.S.C. § 483(d)(1).




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as registrants under the CSA requires that they maintain effective controls against diversion of

controlled substances in schedule I or II, design and operate a system to disclose to the registrant

suspicious orders of controlled substances., and inform the DEA of suspicious orders when

discovered by the registrant.72

               151. Pursuant to the CSA and the Code of Federal Regulations, the RICO Defendants

were required to make reports to the DEA of any suspicious orders identified through the design

and operation of their system to disclose suspicious orders.

               152. The RICO Defendants knowingly and intentionally furnished false or fraudulent

information in their reports to the DEA about suspicious orders, and/or omitted material

information from reports, records and other document required to be filed with the DEA

including the Manufacturer Defendants’ applications for production quotas. Specifically, the

RICO Defendants were aware of suspicious orders of prescription opioids and the diversion of

their prescription opioids into the illicit market, and failed to report this information to the DEA

in their mandatory reports and their applications for production quotas.

               153. For example, The DEA and DOJ began investigating McKesson in 2013

regarding its monitoring and reporting of suspicious controlled substances orders. On April 23,

2015, McKesson filed a Form-8-K announcing a settlement with the DEA and DOJ wherein it

admitted to violating the CSA and agreed to pay

               154. $150 million and have some of its DEA registrations suspended on a staggered




72
     21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).




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basis. The settlement was finalized on January 17, 2017.73

            155. Purdue’s experience in Los Angeles is another striking example of Defendants’

willful violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was aware

of a pill mill operating out of Los Angeles yet failed to alert the DEA.74 The LA Times

uncovered that Purdue began tracking a surge in prescriptions in Los Angeles, including one

prescriber in particular. A Purdue sales manager spoke with company officials in 2009 about the

prescriber, asking “Shouldn’t the DEA be contacted about this?” and adding that she felt “very

certain this is an organized drug ring.”75 Despite knowledge of the staggering amount of pills

being issued in Los Angeles, and internal discussion of the problem, “Purdue did not shut off the

supply of highly addictive OxyContin and did not tell authorities what it knew about Lake

Medical until several years later when the clinic was out of business and its leaders indicted. By

that time, 1.1 million pills had spilled into the hands of Armenian mobsters, the Crips gang and

other criminals.”76

            156. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in




73
  McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement Administration to Resolve Past
Claims, About McKesson / Newsroom / Press Releases, (January 17, 2017(), http://www.mckesson.com/about-mckesson/newsroom/press-
releases/2017/mckesson-finalizes-settlement-with-doj-and-dea-to-resolve-past- claims/.
74
 Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the drugmaker knew, Los
Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
75
     Id.
76
     Id.




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Florida between 2008 and 2012.77 After six years of DEA investigation, Mallinckrodt agreed to a

settlement involving a $35 million fine. Federal prosecutors summarized the case by saying that

Mallinckrodt’s response was that everyone knew what was going on in Florida but they had no

duty to report it.78

            157. Plaintiff is informed and believes that the foregoing examples reflect the RICO

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is supported

by the sheer volume of enforcement actions available in the public record against the Distributor

Defendants.79 For example:

                 a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                    center (“Orlando Facility”) alleging failure to maintain effective controls against
                    diversion of controlled substances. On June 22, 2007, AmerisourceBergen
                    entered into a settlement that resulted in the suspension of its DEA registration;

                 b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Health Auburn, Washington Distribution
                    Center (“Auburn Facility”) for failure to maintain effective controls against
                    diversion of hydrocodone;

                 c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Health Lakeland, Florida Distribution
                    Center (“Lakeland Facility”) for failure to maintain effective controls against
                    diversion of hydrocodone;

                 d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Health Swedesboro, New Jersey
                    Distribution Center (“Swedesboro Facility”) for failure to maintain effective
                    controls against diversion of hydrocodone;

                 e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate



77
  Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The Washington Post, (April 2, 2017),
https://www.washingtonpost.com/graphics/investigations/dea-mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all
oxycodone sold in the state of Florida during that time.
78
     Id.
 Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement Administration’s Adjudication of
79

Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.


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                 Suspension Order against the Cardinal Health Stafford, Texas Distribution
                 Center (“Stafford Facility”) for failure to maintain effective controls against
                 diversion of hydrocodone;

            f. On May 2, 2008, McKesson Corporation entered into an Administrative
               Memorandum of Agreement (“2008 MOA”) with the DEA which provided that
               McKesson would “maintain a compliance program designed to detect and
               prevent the diversion of controlled substances, inform DEA of suspicious orders
               required by 21 C.F.R. § 1301.74(b), and follow the procedures established by its
               Controlled Substance Monitoring Program”;

            g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
               Agreement and Administrative Memorandum of Agreement with the DEA related
               to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford
               Facility. The document also referenced allegations by the DEA that Cardinal
               failed to maintain effective controls against the diversion of controlled
               substances at its distribution facilities located in McDonough, Georgia
               (“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver,
               Colorado (“Denver Facility”);

            h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Lakeland, Florida Distribution
               Center (“Lakeland Facility”) for failure to maintain effective controls against
               diversion of oxycodone;

            i.   On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
                 DEA to resolve the civil penalty portion of the administrative action taken
                 against its Lakeland, Florida Distribution Center; and

            j.   On January 5, 2017, McKesson Corporation entered into an Administrative
                 Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000
                 civil penalty for violation of the 2008 MOA as well as failure to identify and
                 report suspicious orders at its facilities in Aurora CO, Aurora IL, Delran NJ,
                 LaCrosse WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen
                 MA, Santa Fe Springs CA, Washington Courthouse OH and West Sacramento
                 CA.

        158. These actions against the Distributor Defendants confirm that the Distributors

knew they had a duty to maintain effective controls against diversion, design and operate a

system to disclose suspicious orders, and to report suspicious orders to the DEA. These actions

also demonstrate, on information and belief, that the Manufacturer Defendants were aware of the

enforcement against their Distributors and the diversion of the prescription opioids and a

corresponding duty to report suspicious orders.

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         159. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

         160. Many of the precise dates of Defendants’ criminal actions at issue herein were

hidden and cannot be alleged without access to Defendants’ books and records. Indeed, an

essential part of the successful operation of the Opioid Diversion Enterprise depended upon the

secrecy of the participants in that enterprise.

         161. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiff. The Defendants were aware that Plaintiff and the

citizens of this jurisdiction rely on the Defendants to maintain a closed system of manufacturing

and distribution to protect against the non-medical diversion and use of their dangerously

addictive opioid drugs.

         162. Each Defendant knowingly engaged in, attempted to engage in, conspired to

engage in, or solicited another person to engage in racketeering activity, including the

distribution of dangerous and harmful drugs to persons, including minors, in violation of federal

law, 21 CFR 1301.74(b) at retail pharmacies, hospitals, and other health care facilities

throughout Puerto Rico.

         163. Each Defendant knowingly engaged in, attempted to engage in, conspired to

engage in, or solicited another person to engage in racketeering activity, including thousands of

separate instances of use of the United States Mail or interstate wire facilities in furtherance of


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each Defendant’s unlawful Opioids Diversion Enterprise. Each of these fraudulent mailings and

interstate wire transmissions constitutes racketeering activity and collectively, these violations

constitute a pattern of racketeering activity. Each Defendant specifically intended to obtain

money by means of false pretenses, representations, and promises, and used the mail and

interstate wires for the purpose of executing this scheme; specifically, each Defendant

communicated with its respective retail pharmacy customers via wire and used the mail to

receive orders and sell drugs unlawfully. Any violation of the mail or wire fraud statutes is

defined as “racketeering activity.”80

              164. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

              165. It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations would harm Plaintiff by allowing the

flow of prescriptions opioids from appropriate medical channels into the illicit drug market

              166. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

                    D. DAMAGES

              167. The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiff and its citizens to be injured in its business and

property because Plaintiff paid for costs associated with the opioid epidemic, as described above

in allegations expressly incorporated herein by reference.

              168. Plaintiff’s injuries, and those of her citizens, were proximately caused by




80
     18 U.S.C.A. § 1961(1)(B).


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Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

have paid the health services and law enforcement services and expenditures required as a result

of the plague of drug-addicted residents.

              169. Plaintiff’s injuries and those of her citizens were directly caused by the RICO

Defendants’ racketeering activities.

              170. Plaintiff was most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

              171. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, a civil penalty of up to one hundred thousand

dollars, forfeiture as deemed proper by the Court, attorney fees and costs81 and expenses of suit

and pre- and post-judgment interest.

                      THIRD CAUSE OF ACTION: RACKETEER INFLUENCED AND
                      CORRUPT ORGANIZATIONS ACT (RICO) 18 U.S.C. 1962(d), et seq.
                      (Against All Defendants)


              172. Plaintiff hereby incorporates by reference all other paragraphs of this Complaint

as if fully set forth herein, and further alleges as follows

              173. Plaintiff brings this claim on its own behalf against all RICO Defendants. At all

relevant times, the RICO Defendants were associated with the Opioid Diversion Enterprise and

agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and

participate, directly and indirectly, in the conduct of the affairs of the Opioid Diversion

Enterprise through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). Under




81
     18 U.S.C.A. §1964(c)




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Section 1962(d) it is unlawful for “any person to conspire to violate” Section 1962(d), among

other provisions.82

               174. Defendants conspired to violate Section 1962(c), as alleged more fully above, by

conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering

activity, as incorporated by reference below.

                    A. THE OPIOID DIVERSION ENTERPRISE

               175. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Opioid Diversion

Enterprise.”

                    B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

               176. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Conduct of the Opioid

Diversion Enterprise.”

                    C. PATTERN OF RACKETEERING ACTIVITY

               177. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Pattern of Racketeering

Activity.”

                    D. DAMAGES

               178. The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiff injury in its business and property because Plaintiff

paid for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.




82
     18 U.S.C. § 1962(d).


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         179. Plaintiff’s injuries, and those of her citizens, were proximately caused by the

RICO Defendants’ conspiracy to violate Section 1962(c). But for the RICO Defendants’ conduct,

Plaintiff would not have paid the health services and law enforcement services and expenditures

required as a result of the plague of drug- addicted residents.

         180. Plaintiff’s injuries and those of her citizens were directly caused by the RICO

Defendants’ conspiracy to violate Section 1962(c).

         181. Plaintiff was most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

         182. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

        806.    Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

        FOURTH CAUSE OF ACTION: UNJUST ENRICHMENT


        807.    Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

        808.    Defendants acted willfully, wantonly, and with conscious disregard of the rights

of the Plaintiff and its residents.

        809.    As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from opioid purchases made by Plaintiff

and its residents.

        810.    In exchange for the opioid purchases, and at the time Plaintiff and its residents

made these payments, Plaintiff and its residents expected that Defendants had provided all of the



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necessary and accurate information regarding those risks and had not misrepresented any

material facts regarding those risks.

        811.    Defendants, through the wrongful conduct described above, have been unjustly

enriched at the expense of Plaintiff.

        812.    In equity and good conscience, it would be unjust and inequitable to permit

defendants to enrich themselves at the expense of the Plaintiff and its residents.

        813.    By reason of the foregoing, Defendants must disgorge its unjustly acquired profits

and other monetary benefits resulting from its unlawful conduct and provide restitution to the

Plaintiff.

        FIFTH CAUSE OF ACTION: NEGLIGENT MISREPRESENTATION

        814.    Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

        815.    Defendants, individually and acting through their employees and agents, and in

concert with one another, made misrepresentations and omissions of facts material to Plaintiff

and its members to induce them to purchase, administer, and consume opioids. These

misrepresentations and/or omissions included, but were not limited to, statements that:

             a. The risk of addiction from chronic opioid therapy is low

             b. To the extent there is a risk of addiction, it can be easily identified and managed

             c. Signs of addictive behavior are “pseudo addiction,” requiring more opioids

             d. Opioid withdrawal can be avoided by tapering

             e. Opioid doses can be increased without limit or greater risks

             f. Long-term opioid use improves functioning

             g. Alternative forms of pain relief pose greater risks than opioids

             h. OxyContin provides twelve hours of pain relief


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           i. New formulations of certain opioids successfully deter abuse

       816.     At all times relevant to this Complaint, Defendants, directly, through their control

of third parties, and by aiding and abetting third parties, made misstatements that omitted or

concealed material facts to promote the sale and use of opioids to treat chronic pain. The

Defendants and their third-party allies repeatedly failed to disclose or minimized material facts

about the risks of opioids, including the risk of addiction, and their risks compared to alternative

treatments. Such material omissions were deceptive and misleading in their own right, and

further rendered even otherwise truthful statements about opioids untrue, false, and misleading,

creating a misleading impression of the risks, benefits, and superiority of opioids for treatment of

chronic pain.

       817.     At all times relevant to this Complaint, Defendants, directly, through their control

of third parties, and by aiding and abetting third parties, made and disseminated the foregoing

untrue, false and misleading misstatements, and material omissions, through an array of

marketing channels, including but not limited to: in-person and other forms of detailing; speaker

events, including meals, conferences, and teleconferences; CMEs; studies, and journal articles

and supplements; advertisements; and brochures and other patient education materials.

       818.     The Defendants knew at the time of making or disseminating these misstatements

and material omissions or causing these misstatements and material omissions statements to be

made or disseminated, that they were untrue, false, or misleading and therefore likely to deceive

the public, including the Plaintiff. In addition, the Defendants knew or should have known that

their marketing and promotional efforts created an untrue, false, and misleading impression of

the risks, benefits, and superiority of opioids.




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       819.    In sum, the Defendants: (a) directly engaged in untrue, false, and misleading

marketing; (b) disseminated the untrue, false, and misleading marketing; and (c) aided and

abetted the untrue, false, and misleading marketing.

       820.    Defendants, in the course of their business in which they have a pecuniary

interest, supplied the above false information for the guidance of others, including Plaintiff. See

§552 of the Restatement (Second) of Torts.

       821.    Defendants intended that Plaintiff and its members and beneficiaries would rely

on their misrepresentations and omissions and it was foreseeable that they would do so.

       822.    As a result of the incredible amount of resources and efforts that Defendants

utilized in creating, maintaining, and disseminating these misrepresentations and omissions,

Plaintiff and its members and beneficiaries reasonably relied upon these misrepresentations and

omissions.

       823.    Given Defendants large amount of resources and knowledge, Plaintiff and its

members and beneficiaries reasonably relied upon Defendants to uphold their requirements

under both federal and state laws and regulations and to not to commit intentional, material

misrepresentations and omissions to both federal and state law enforcement and regulatory

agencies and officials.

       824.    As a result of its reasonable reliance upon Defendants’ misrepresentation and

omissions of material fact, Plaintiff has suffered actual pecuniary harm directly caused by

Defendants’ deceptive practices. The McLean County was injured in that the Defendants’

unbranded marketing of opioids for chronic pain caused the doctors to prescribe and the McLean

County to pay for long-term opioid treatment using opioids manufactured or distributed by

Defendants as well as other drug makers. These actions also created the diversion of these

opioids and the resulting addiction epidemic, the treatment of which have caused substantial


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costs to the McLean County. The Defendants caused and are responsible for those costs and

claims.

          825.   Defendants’ conduct was willful, wanton, and malicious and was directed at the

public generally, to justify an award of punitive damages.

          SIXTH CAUSE OF ACTION: CIVIL CONSPIRACY (DECEPTIVE MARKETING)

          826.   Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

          827.   Manufacturing Defendants and the Purdue-Related Additional Defendants

conspired with each other and with various KOLs and Front Groups to commit unlawful acts or

lawful acts in an unlawful manner.

          828.   Defendants unlawfully marketed opioids in Puerto Rico and among the residents

of the Plaintiff in furtherance of that conspiracy.

          829.   Defendants knowingly and voluntarily agreed to engage in unfair and deceptive

practices to promote the use of opioids for the treatment of chronic pain by making and

disseminating false, unsubstantiated, and misleading statements and misrepresentations to

prescribers and consumers. Defendants enlisted various KOLs and Front Groups to make and

disseminate these statements in furtherance of their common strategy to increase opioid sales,

and the Defendants—along with the Front Groups with whom each of them conspired—knew

that the statements they made and disseminated served this purpose.

          830.   By engaging in the conduct described in this Complaint, the Defendants agreed

with Front Groups that they would deceptively promote the risks, benefits, and superiority of

opioid therapy. As part of its agreements with one another and Front Groups, provided support

for Front Group’s deceptive statements promoting opioids and Front Groups used that support to

more broadly disseminate deceptive messaging promoting opioids, which would benefit the


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Manufacturing Defendants’ drug sales, other opioid makers’ sales, and provide increased

revenue to the Purdue-Related Other Defendants. The Partners Against Pain website (Purdue

and APF), A Policymaker’s Guide to Understanding Pain & Its Management (Purdue and APF),

Treatment Options: A Guide for People Living with Pain (Purdue and APF), Exit Wounds

(Purdue and APF), Responsible Opioid Prescribing (Purdue, Cephalon, Endo, APF, AAPM,

and FSMB), and a CME promoting the Pharmacological Management of Persistent Pain in

Older Persons (Purdue and AGS) are publications, CMEs, and websites that contained a number

of deceptive statements about opioids as outlined in greater detail herein. They are products of

these conspiracies, and the collaboration between the Manufacturing Defendants and each of

these entities in creating and disseminating these publications, CMEs, and websites is further

evidence of each conspiracy’s existence.

       831.    Each of the Manufacturing Defendants was aware of the misleading nature of the

statements they planned to issue and of the role they played in each scheme to deceptively

promote opioids as appropriate for the treatment of chronic pain. The Manufacturing Defendants

and third parties nevertheless agreed to misrepresent the risks, benefits, and superiority of using

opioids to County patients and prescribers in return for increased pharmaceutical sales, financial

contributions, reputational enhancements, and other benefits.

       832.    The Manufacturing Defendants played an active role in determining the substance

of the misleading messages issued by KOLs and Front Groups, including by providing content

themselves, editing and approving content developed by their co-conspirators, and providing

slide decks for speaking engagements. The Defendants further ensured that these misstatements

were widely disseminated, by both distributing the misstatements themselves and providing their

co-conspirators with funding and other assistance with distribution. The result was an

unrelenting stream of misleading information about the risks, benefits, and superiority of using


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opioids to treat chronic pain from sources the Manufacturing Defendants knew were trusted by

prescribers. The Manufacturing Defendants exercised direct editorial control over most of these

statements. However, even if the Manufacturing Defendants did not directly disseminate or

control the content of these misleading statements, they are liable for conspiring with the third

parties who did.

       833.    The Defendants participated in unlawful acts or lawful acts in an unlawful manner

by, among other unlawful conduct:

           a. violating, aiding and abetting in the violation, or causing the violation of the
              Illinois’ consumer protection laws;

           b. perpetrating a public nuisance;

           c. committing common law unjust enrichment;

           d. common law fraud;

           e. negligence;

           f. negligent misrepresentation; and

           g. negligent marketing;

       834.    Defendants acted with a common understanding or design to commit unlawful

acts, as alleged herein, and acted purposely, without a reasonable or lawful excuse, which

directly caused the injuries alleged herein.

       835.    Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonable or lawful excuse.

       836.    Defendants conduct in furtherance of the conspiracy described herein was not

mere parallel conduct because each Defendant acted directly against their commercial interests in

not reporting the unlawful distribution practices of their competitors to the authorities, which

they had a legal duty to do. Each Defendant acted against their commercial interests in this



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regard due to an actual or tacit agreement between the Defendants that they would not report

each other to the authorities so they could all continue engaging in their unlawful conduct.

       837.    Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, caused the direct, foreseeable, and proximate injury to Plaintiff alleged herein.

       SEVENTH CAUSE OF ACTION: NEGLIGENCE

       838.    Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein

       839.    Distributor Defendants have a duty to exercise reasonable care in the distribution

of opioids.

       840.    Distributor Defendants breached this duty by failing to take any action to prevent

or reduce the distribution of the opioids.

       841.    As a proximate result, Distributor Defendants and its agents have caused

Plaintiff’s Municipality to incur excessive costs related to diagnosis, treatment, and cure of

addiction or risk of addiction to opioids, the Municipality has borne the massive costs of these

illnesses and conditions by having to provide necessary resources for care, treatment facilities,

and law enforcement services for the Municipality Residents and using the Municipality’s

resources in relation to opioid use and abuse.

       842.    Distributor Defendants were negligent in failing to monitor and guard against

third- party misconduct and participated and enabled such misconduct.

       843.    Distributor Defendants’ acts and omissions imposed an unreasonable risk of harm

to others separately and/or combined with the negligent and/or criminal acts of third parties.

       844.    Distributor Defendants are in a class of a limited number of parties that can

legally distribute opioids, which places it in a position of great trust by the Municipality.




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        845.       The trust placed in Distributor Defendants by Plaintiff through the license to

distribute opioids in its Municipality creates a duty on behalf of Distributor Defendants to

prevent diversion of the medications it supplies to illegal purposes.

        846.       A negligent and/or intentional violation of this trust poses distinctive and

significant dangers to the Municipality and its residents from the diversion of opioids for non-

legitimate medical purposes and addiction to the same by consumers.

        847.       Distributor Defendants were negligent in not acquiring and utilizing special

knowledge and special skills that relate to the dangerous activity in order to prevent and/or

ameliorate such distinctive and significant dangers.

        848.       Distributor Defendants are required to exercise a high degree of care and

diligence to prevent injury to the public from the diversion of opioids during distribution.

        849.       Distributor Defendants breached their duty to exercise the degree of care,

prudence, watchfulness, and vigilance commensurate to the dangers involved in the transaction

of its business.

        850.       Distributor Defendants are in exclusive control of the management of the opioids

it distributed to pharmacies and drug stores in Plaintiff’s community.

        851.       Plaintiff is without fault and the injuries to the Municipality and its residents

would not have occurred in the ordinary course of events had Distributor Defendants used due

care commensurate to the dangers involved in the distribution of opioids.

                   EIGHTH CAUSE OF ACTION: COMMON LAW FRAUD

        852.       Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.




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       853.    Manufacturing Defendants violated their duty not to actively deceive by

intentionally and unlawfully making knowingly false statements, and by intentionally and

unlawfully omitting and/or concealing information.

       854.    Specifically, the Manufacturing Defendants’ knowing deceptions during the

relevant period, which were intended to induce reliance, include but are not limited to:

           a. Manufacturer Defendants’ misrepresentations overstating the benefits of, and
              evidence for, the use of opioids for chronic pain;

           b. Manufacturer Defendants’ misrepresentations that the risks of long-term opioid
              use, especially the risk of addiction, were overblown;

           c. Manufacturer Defendants’ misrepresentations that opioid doses can be safely and
              effectively increased until pain relief is achieved;

           d. Manufacturer Defendants’ misrepresentations that signs of addiction were
              “pseudo addiction” and thus reflected undertreated pain, which should be
              responded to with more opioids;

           e. Manufacturer Defendants’ misrepresentations that screening tools effectively
              prevent addiction;

           f. Manufacturer Defendants’ misrepresentations concerning the comparative risks of
              NSAIDs and opioids;

           g. Manufacturer Defendants’ misrepresentations that opioids differ from NSAIDs in
              that opioids have no ceiling dose;

           h. Manufacturer Defendants’ misrepresentations that evidence supports the long-
              term use of opioids for chronic pain;

           i. Manufacturer Defendants’ misrepresentations that chronic opioid therapy would
              improve patients’ function and quality of life;

           j. Manufacturer Defendants’ false portrayal of their efforts and/or commitment to
              rein in the diversion and abuse of opioids;

           k. Manufacturer Defendants’ misrepresentations that withdrawal is easily managed;

           l. Purdue’s and Endo’s misrepresentations that alleged abuse-deterrent opioids
              reduce tampering and abuse;

           m. Purdue’s misrepresentations that OxyContin provides a full 12 hours of pain
              relief;

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           n. Purdue’s misrepresentations that it cooperates with and supports efforts to prevent
              opioid abuse and diversion;

           o. Mallinckrodt’s misrepresentations that it meets or exceeds legal requirements for
              controlling against diversion of controlled substances it has been entrusted to
              handle;

           p. Insys’s misrepresentations that Subsys was appropriate for treatment of non-
              cancer pain and its failure to disclose that Subsys was not approved for such use;

           q. Insys’s misrepresentations to third-party payors to secure approval for coverage;

           r. Insys’s use of speaker bureaus to disguise kickbacks to prescribers;

           s. Teva’s misrepresentations that Actiq and Fentora were appropriate for treatment
              of non-cancer pain and its failure to disclose that Actiq and Fentora were not
              approved for such use;

           t. Cephalon’s unsubstantiated claims that Actiq and Fentora were appropriate for
              treatment of non-cancer pain;

           u. Manufacturer Defendants’ use of front groups to misrepresent that the deceptive
              statements from the sources described in this Complaint came from objective,
              independent sources;

           v. Manufacturer Defendants’ creation of a body of deceptive, misleading and
              unsupported medical and popular literature, advertisements, training materials,
              and speaker presentations about opioids that (i) understated the risks and
              overstated the benefits of long-term use; (ii) appeared to be the result of
              independent, objective research; and (iii) was thus more likely to be relied upon
              by physicians, patients, and payors; and,

           w. Such other misrepresentations and deceptions outlined above.


       855.    By engaging in the acts and practices alleged herein, Manufacturer Defendants, in

the relevant time period, with the intent that others rely on their omissions or suppression of

information, omitted material facts that Manufacturer Defendants had a duty to disclose by virtue

of these Defendants’ other representations, including but not limited to:


           a. opioids are highly addictive and may result in overdose or death;



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           b. no credible scientific evidence supports the use of screening tools as a strategy for
              reducing abuse or diversion;

           c. high dose opioids subject the user to greater risks of addiction, other injury,
              and/or death;

           d. opioids present the risks of hyperalgesia, hormonal dysfunction, decline in
              immune function, mental clouding, confusion, dizziness, increased falls and
              fractures in the elderly, neonatal abstinence syndrome, and potentially fatal
              interactions with alcohol or benzodiazepines; these omissions were made while
              Defendants exaggerated the risks of competing products such as NSAIDs;

           e. claims regarding the benefits of chronic opioid therapy lacked scientific support
              or were contrary to the scientific evidence;

           f. Purdue’s 12-hour OxyContin fails to last a full twelve hours in many patients;

           g. Purdue’s and Endo’s abuse-deterrent formulations are not designed to address,
              and have no effect on, the common route of abuse (oral abuse), can be defeated
              with relative ease, and may increase overall abuse;

           h. Manufacturer and Distributor Defendants’ failure to report suspicious prescribers
              and/or orders;

           i. Insys’s use of kickback and insurance fraud schemes;

           j. Insys’s failure to disclose that Subsys was not approved for non-cancer pain;

           k. Cephalon’s failure to disclose that Actiq and Fentora were not approved for non-
              cancer pain;

           l. Defendants’ failure to disclose their financial ties to and role in connection with
              KOLs, front groups, and deceptive literature and materials, as more fully
              described above; and

           m. Such other omissions and concealments as described above.

       856.    In each of the circumstances described in inter alia the foregoing paragraph,

Defendants knew that their failure to disclose rendered their prior representations untrue or

misleading. Thus, Defendants had a duty not to deceive Plaintiff and its members.

       857.    In addition, and independently, Defendants had a duty not to deceive Plaintiff

because Defendants had in their possession unique material knowledge that was unknown, and



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not knowable, to the Plaintiff, Plaintiff’s agents, Plaintiff’s members and beneficiaries,

physicians, and the public.

        858.   These Defendants made these false representations and concealed facts with

knowledge of the falsity of their representations. These Defendants’ false representations and

concealed facts were material to the conduct and actions at issue.

        859.   Defendants intended and had reason to expect under the operative circumstances

that the Plaintiff, Plaintiff’s agents, Plaintiff’s members and beneficiaries, physicians, the public,

and persons on whom Plaintiff and its agents relied would be deceived by Defendants’

statements, concealments, and conduct as alleged herein and that Plaintiff would act or fail to act

in reasonable reliance thereon.

        860.   Defendants intended that Plaintiff, Plaintiff’s agents, Plaintiff’s members and

beneficiaries, physicians, the public, and persons on whom Plaintiff and its agents relied would

rely on these Defendants’ misrepresentations and omissions; Defendants intended and knew that

this reasonable and rightful reliance would be induced by these Defendants’ misrepresentations

and omissions; and, Defendants intended and knew that such reliance would cause Plaintiff to

suffer loss.

        861.   Plaintiff, Plaintiff’s agents, Plaintiff’s members and beneficiaries, the public,

physicians and persons on whom Plaintiff and its agents relied, did in fact rightfully, reasonably,

and justifiably rely on Defendants’ representations and/or concealments, both directly and

indirectly.

        862.   Defendants misstatements and omissions intentionally created the false narrative

that their opioids were safe for the treatment of non-chronic pain and were less addictive than

other treatments, which Defendants knew or should have known was false. This directly led to

the misuse and diversion of their opioids and the resulting addiction epidemic. Plaintiff and its


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members and beneficiaries were directly and proximately injured as a result of their reliance on

Defendants misstatements and omission and Plaintiff’s injuries were directly and proximately

caused by this reliance because Plaintiff had to pay for the increased costs, on behalf of its

members and beneficiaries, of both the improper opioid treatment and the results of the addiction

epidemic.

       863.    As a result of these representations and/or omissions, Plaintiff proceeded under

the misapprehension that the opioid crisis was simply a result of conduct by persons other than

Defendants. Consequently, these Defendants prevented Plaintiff from a more timely and

effective response to the opioid crisis.

       864.    By reason of its reliance on Defendants’ misrepresentations and omissions of

material fact, Plaintiff suffered damages.

       865.    Defendants’ misconduct alleged in this case is ongoing and persistent.

       866.    Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort that Plaintiff would reasonably expect to occur and is not part of

the normal and expected costs of Plaintiff’s existence. Plaintiff alleges wrongful acts which are

neither discrete nor of the sort that can reasonably be expected.

       867.    Plaintiff has incurred expenditures for special programs over and above Plaintiff’s

ordinary services.

       868.    These Defendants’ conduct was accompanied by wanton and willful disregard of

persons who foreseeably might be harmed by their acts and omissions.

       869.    Defendants’ actions demonstrated both malice and aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the

rights and safety of other persons, even though that conduct had a great probability of causing




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substantial harm. The Manufacturer Defendants’ fraudulent wrongdoing was done with a

particularly gross and conscious disregard.

           NINTH CAUSE OF ACTION: VIOLATIONS OF THE COMMON LAW
           PROHIBITION ON UNJUST ENRICHMENT

       870.    Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       871.    Defendants have knowingly and unjustly retained a benefit to McLean County’s

detriment, and the Defendants’ retention of the benefit violates the fundamental principles of

justice, equity, and good conscience.

       872.    By illegally and deceptively promoting opioids to treat chronic pain, directly,

through their control of third parties, and by acting in concert with third parties, Defendants have

unjustly enriched themselves at McLean County’s expense. McLean County has made payments

for opioid prescriptions, and Defendants benefited from those payments. Because of their

deceptive promotion of opioids, Defendants obtained enrichment they would not otherwise have

obtained. The enrichment was without justification and Plaintiff lacks a remedy provided by law.

       873.    In addition, and by reason of the foregoing, Plaintiff was injured and continues to

be injured in that Defendants’ ongoing concerted actions in illegally and deceptively marketing

opioids caused doctors and other health care providers to prescribe and Plaintiff to pay for long-

term opioid treatment using opioids manufactured by Defendants or by other drug makers,

Defendants caused and are responsible for those costs and claims. Plaintiff has suffered

additional damages for the costs of providing and using opioids long-term to treat chronic pain.

       874.    As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from the increase in the distribution and

purchase of opioids within Plaintiff’s Community, including from opioids foreseeably and

deliberately diverted within and among Plaintiff’s Community.

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        875.    Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

        876.    Plaintiff has expended substantial amounts of money in an effort to remedy or

mitigate the harms to its members and beneficiaries caused by Defendants’ conduct.

        877.    These expenditures include the provision of healthcare services and treatment

services to people who use opioids.

        878.    These expenditures have helped sustain Defendants’ businesses.

        879.    Plaintiff has conferred a benefit upon Defendants by paying for Defendants’

externalities: the cost of the harms caused by Defendants’ improper distribution practices.

        880.    Defendants were aware of these obvious benefits, and their retention of the

benefit is unjust.

        881.    Plaintiff has paid for the cost of Defendants’ externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products. Because of their conscious failure to exercise due diligence in

preventing diversion, Defendants obtained enrichment they would not otherwise have obtained.

The enrichment was without justification and Plaintiff lacks a remedy provided by law.

        882.    Defendants’ misconduct alleged in this case is ongoing and persistent.

        883.    Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort that Plaintiff would reasonably expect to occur and is not part of

the normal and expected costs of Plaintiff’s existence. Plaintiff alleges wrongful acts which are

neither discrete nor of the sort that can reasonably be expected.

        884.    Plaintiff has incurred expenditures for special programs over and above Plaintiff’s

ordinary services.




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       885.    The Purdue-Related Additional Defendants are liable not only for the unjust

enrichment of Purdue, but also for their own unjust enrichment, including, but not limited to, all

the distributions they have received, directly or indirectly, from Purdue or from any of Purdue-

related entities from the sale of opioids.

       RELIEF


       WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:


                   a. Entering Judgment in favor of the Plaintiff in a final order against each of
                      the Defendants;

                   b. Enjoining the Defendants and their employees, officers, directors, agents,
                      successors, assignees, merged or acquired predecessors, parent or
                      controlling entities, subsidiaries, and all other persons acting in concert or
                      participation with it, from engaging in unlawful sales of prescription
                      opioid pills and ordering temporary, preliminary or permanent injunction;

                    c. Order that Defendants compensate the Plaintiff for past and future costs to
                       abate the ongoing public nuisance caused by the opioid epidemic;

                   d. Order Defendants to fund an “abatement fund” for the purposes of abating
                      the opioid nuisance;

                    e. Awarding actual damages, treble damages, injunctive and equitable relief,
                       forfeiture as deemed proper by the Court, and attorney fees and all costs
                       and expenses of suit pursuant to Plaintiff’s racketeering claims;

                    f. Awarding the Plaintiff the damages caused by the opioid epidemic,
                       including:


                           1. costs for providing medical care, additional therapeutic and
                              prescription drug purchases, and other treatments for patients
                              suffering from opioid-related addiction or disease, including
                              overdoses and deaths;

                           2. costs for providing treatment, counseling, and rehabilitation
                              services;

                           3. costs for providing treatment of infants born with opioid-related
                              medical conditions;


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                         4. costs for providing care for children whose parents suffer from
                            opioid-related disability or incapacitation; and

                         5. costs associated with law enforcement and public safety relating to
                            the opioid epidemic.


                 g. Awarding judgment against the Defendants requiring Defendants to pay
                    punitive damages;

                 h. Granting the Plaintiff:

                         1. The cost of investigation, reasonable attorneys’ fees, and all costs
                            and expenses;

                         2. Pre-judgment and post-judgment interest; and,

                         3. All other relief as provided by law and/or as the Court deems
                            appropriate and just.

Dated: August 27, 2019
                                         Respectfully submitted,



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